Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 1 of
                                     203

                                                                   Page 1
                 UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA
                    WEST PALM BEACH DIVISION
                    CASE NO. 9:21-CV-81565-DMM
     ________________________________________
     WILLIAM DAVID WILCOX, JR. a/k/a
     DAVID WILCOX, an individual, and
     MEGAN DANIELLE LUCHEY, an individual,
                 Plaintiffs,
     vs.
     LA     PENSEE       CONDOMINIUM,
     ASSOCIATION, INC., a Florida Not-For-
     Profit Corporation, MARY McFADDEN, an
     individual,       MAC     RESIDENTIAL
     MANAGEMENT SERVICES, LLC, a Florida
     Limited Liability Company, and
     DAVID WOLFF a/k/a DAVID WOLF, an individual,
               Defendants.
     ________________________________________

                  VIDEOCONFERENCE DEPOSITION OF
                          VALERIE MANZO

     Taken on Behalf of the Defendants/Mary McFadden and
           MAC Residential Management Services, LLC

     DATE TAKEN: April 26, 2022
     TIME:         9:30 A.M. - 12:20 P.M.
                  12:55 P.M. - 3:10 P.M.

     PLACE:        REMOTELY

           Examination of the witness taken before:
      Laurie Susskind, Registered Professional Reporter
                    United Reporting, Inc.
                  1218 Southeast 3rd Avenue
                Fort Lauderdale, Florida 33316
                         954-525-2221


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 2 of
                                     203

                                                                   Page 2
                  APPEARANCES FOR THE PLAINTIFFS
     LUBLINER LAW,
     By: RICHARD S. LUBLINER, ESQ.
     1645 Palm Beach Lakes Boulevard, Suit 1200
     West Palm Beach, Florida 33401

      APPEARANCES FOR THE DEFENDANT/LA PENSEE CONDOMINIUM
               ASSOCIATION, INC. and DAVID WOLF

     MARSHALL, DENNEHEY, WARNER, COLEMAN & GOGGIN
     By: ANDREW JAMES MARCHESE, ESQ.
     100 Northeast 3rd Avenue, Suite 1100
     Fort Lauderdale, Florida 33301

     APPEARANCES FOR THE DEFENDANTS/MARY McFADDEN and MAC
     RESIDENTIAL MANAGEMENT SERVICES, LLC

     ISRAEL, ISRAEL & ASSOCIATES, P.A.
     By: DAVID B. ISRAEL, ESQ.
     6099 Stirling Road, Suite 211
     Davie, Florida 33314
     APPEARANCES FOR THE DEFENDANT/MAC RESIDENTIAL
     MANAGEMENT SERVICES, LLC

     LIEBLER, GONZALEZ & PORTUONDO
     By: MICHAEL D. STARKS, ESQ.
     44 West Flagler Street, 25th Floor
     Miami, Florida 33130
     ALSO PRESENT:
     WILLIAM DAVID WILCOX, JR.
     MEGAN DANIELLE LUCHEY
     DAVID WOLF
                              - - - - -




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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 3 of
                                     203

                                                                    Page 3
                                 INDEX


     WITNESS:                                               PAGE
     VALERIE MANZO
     Direct Examination by Mr. Israel:                        4


                                 - - -
                                EXHIBITS
     DEFENDANTS'                DESCRIPTION                 PAGE
        1                       SunBiz                       10
        2                      warranty deed                 12
     Comp. 3                Lepselter's production           26
        4                       complaint                    113




                                  - - -




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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 4 of
                                     203

                                                                    Page 4
  1 Thereupon:
  2                         VALERIE MANZO,
  3 a witness, remotely appeared before me and, being first
  4 duly sworn in the above-entitled cause, testified under
  5 oath as follows:
  6              THE WITNESS:     So help me God.
  7                      DIRECT EXAMINATION
  8        Q.    (By Mr. Israel) Good morning, Ms. Manzo.            My
  9 name is David Israel.        I represent Mary McFadden and
 10 MAC Residential Services in a federal lawsuit that has
 11 been filed, and I am here to ask you some deposition
 12 questions for discovery purposes.          So I know you are a
 13 lawyer, but I just want to make sure that it's based on
 14 the background and the rules for a deposition.
 15              I'm going to ask you a series of
 16 questions.     I need you to answer them audibly.          If
 17 you answer them, I will presume that you understood
 18 the question and will give me an answer to that
 19 question.
 20              Nods of the head the court reporter can't
 21 take down, especially in this virtual setting, so
 22 audible answers all the time.
 23              If you need a break, let us know.          As long
 24 as there is no question pending, taking a break is
 25 not a problem.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 5 of
                                     203

                                                                   Page 5
  1              Ever so often there will be objections.
  2 Let us lawyers work out the objections, and unless
  3 you are instructed not to answer by somebody, you
  4 are to answer.
  5              Are those rules clear?
  6        A.    Yes.
  7        Q.    One more thing.      If I ask you something
  8 that's not clear, please don't hesitate to ask me to
  9 rephrase it.
 10        A.    Yes.
 11        Q.    Can you give me a little bit of your
 12 background, where you went to law school?
 13        A.    Sure.   I went to St. John Law School,
 14 graduated in 1979.       I was admitted on March 19,
 15 1980.
 16        Q.    What kind of practice do you have?
 17        A.    Predominantly elder law, estate planning,
 18 real estate and small business representation for
 19 LLC, things like that.
 20        Q.    What did you do prior to --
 21              When did you set up your firm?
 22        A.    My firm?    Well, in 1983, I was an
 23 assistant town attorney in Smithtown, and that
 24 particular job permitted private practice.            Prior to
 25 that, I was a prosecutor, no private practice.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 6 of
                                     203

                                                                    Page 6
  1              So in 1980, I became a prosecutor.          In
  2 1980, I became a prosecutor in Suffolk County.             In
  3 1983, I became an assistant county attorney to the
  4 Town of Smithtown where I now live, and they let me
  5 set up a private practice.
  6        Q.    You were working as a town attorney and
  7 also had a private practice?
  8        A.    Yes.    Assistant county attorney, assistant
  9 to the county.
 10        Q.    And you had your own private practice?
 11        A.    Yes, small.     Yes.
 12        Q.    Which I presume is the same practice that
 13 you have today, more or less?
 14        A.    Yes.    Correct.   Now it is not -- now it is
 15 full-time.
 16        Q.    Okay.   You are familiar with legal
 17 proceedings, lawsuits, depositions, discovery and
 18 the like, correct?
 19              MR. LUBLINER:      Form.
 20        A.    More or less, yes.
 21        Q.    You've been involved in litigation prior
 22 to -- I'm not talking about as a party to a lawsuit.
 23 As a lawyer, you've been involved in litigation
 24 previously, right?
 25              MR. LUBLINER:      Form.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 7 of
                                     203

                                                                   Page 7
  1        A.    Yes.
  2        Q.    And have you ever sued anybody prior to
  3 these lawsuits associated with -- to this unit at
  4 La Pensee Condominium?
  5              MR. LUBLINER:     Form.
  6        A.    Once I sued someone who -- in small claim
  7 court.
  8        Q.    Was it a landlord/tenant matter?
  9        A.    No.    Never brought a landlord/tenant
 10 matter.
 11        Q.    I'm sorry?
 12        A.    I never brought as plaintiff a
 13 landlord/tenant matter.
 14        Q.    I'll presume as a lawyer, as a town
 15 attorney, you participated in lawsuits involving
 16 different issues, litigation of sorts in different
 17 courts?
 18              MR. MARCHESE:     Form.
 19        A.    That's correct.      I participated mostly --
 20 largely defending the Town of Smithtown.
 21        Q.    Prior to --
 22              Let me back up.      Other than in New York,
 23 do you hold any license in any other state?
 24        A.    No.
 25        Q.    You are not licensed in Florida to


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 8 of
                                     203

                                                                   Page 8
  1 practice law?
  2        A.    I am not.
  3        Q.    Okay.   So let's talk a little bit about
  4 La Pensee and La Pensee Realty, LLC.
  5              Let me share the screen.        Bear with me
  6 when I do this.
  7        A.    I'm going to grab a pen.
  8              What is that?
  9        Q.    Give me one second.       I'm having a little
 10 trouble sharing.
 11              MR. LUBLINER:     Going off?
 12              MR. ISRAEL:     I need a minute or two.
 13              MR. LUBLINER:     Okay.
 14        Q.    Everybody see that now?
 15        A.    Yes, I can see it.
 16        Q.    Okay.   Perfect.
 17              This has previously been marked as an
 18 exhibit to a deposition, but I want to show you a
 19 host of e-mails.       Before we do that --
 20              Do you remember setting up La Pensee 303,
 21 LLC?
 22        A.    Yes.
 23        Q.    And do you recall when that was set up,
 24 what year?
 25        A.    2018 I set up 303.      I believe it was prior


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 9 of
                                     203

                                                                   Page 9
  1 to purchase.
  2        Q.    Was there a particular reason that you
  3 purchased the property as an LLC as opposed to in
  4 your name?
  5        A.    There was no specific reason.         It was in
  6 part because it was 10/31, so I knew I would be
  7 renting, and that's, generally speaking, kind of
  8 acceptable practice.
  9        Q.    Did you purchase the property for
 10 investment purposes or to use it?
 11        A.    I purchased the property to retire and
 12 become a snowbird.
 13        Q.    That hasn't happened yet, correct?
 14        A.    It hasn't happened yet.       It hasn't
 15 happened that I have become a snowbird yet.
 16        Q.    The mailing address, the Smithtown
 17 address, that's your home address in New York listed
 18 on here?
 19        A.    De Mont Street is my home address.
 20        Q.    And you are the only member listed on
 21 this?
 22        A.    Yes.   Per the Federal rules, Section 1031,
 23 I had to be the sole member.
 24              MR. LUBLINER:     Let him finish asking his
 25        questions.


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                                                                 7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 10 of
                                      203

                                                                    Page 10
   1             THE WITNESS:     I'm sorry.
   2                 Is there another question?
   3        Q.   (By Mr. Israel) No, no.        It shows up as you
   4 as a member, and you are the only one other than the
   5 registered agent, correct
   6        A.   I am the sole member of La Pensee 303,
   7 LLC.
   8        Q.   So this document that was obtained from
   9 the Secretary State of Florida, Division of
 10 Corporations would be generally active as the
 11 information that's available publicly for La Pensee
 12 Realty?
 13              MR. LUBLINER:      Form.
 14         A.   I can't see the very bottom.
 15         Q.   Yes.
 16         A.   Yes.    It shows annual report, yes.        Yes.
 17              MR. ISRAEL:     Madam Court Reporter, let's
 18         mark this as Exhibit Number 1.
 19                  (Defendants' Exhibit 1 was marked for
 20           Identification.)
 21         Q.   Now, let me show you what we're going to
 22 mark as Exhibit 2.        It's a warranty deed.
 23              Does this document look familiar to you?
 24         A.   This document looks familiar to me.           It
 25 appears to be the deed from Allison Landon to me.


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 11 of
                                      203

                                                                  Page 11
   1        Q.   That's the purchase of the Unit 303 of
   2 La Pensee Condominium, correct?
   3        A.   Can't tell because I don't see the address
   4 of mine yet.
   5        Q.   Let's -- we'll scroll it down a little
   6 bit.
   7             There is a description of the legal
   8 address.
   9        A.   Thank you.
 10         Q.   Legal description.
 11         A.   Correct.     That appears to be the deed from
 12 Allison Landon for La Pensee 303, LLC.
 13         Q.   And the second page is a signature from
 14 Ms. Landon to transfer the property to you?
 15         A.   That's correct.      That appears to be Page 2
 16 of the deed.
 17         Q.   And the last page is La Pensee
 18 Condominiums Certificate of Approval for the
 19 purchase, correct?
 20         A.   I haven't looked at these for a while.
 21 Yes.    Yes.    This appears to be the last page.
 22 Robert Rosati seems to have signed for the board.
 23         Q.   Do you know Mr. Rosati?
 24         A.   He's a member of the board.         Mr. Rosati is
 25 a member of the board.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 12 of
                                      203

                                                                  Page 12
   1             MR. ISRAEL:     We're going to mark this as
   2       Exhibit 2, Madam Court Reporter.
   3                 (Defendants' Exhibit 2 was marked for
   4          Identification.)
   5       Q.    Now, this deed is dated the 30th day of
   6 April, 2018?
   7       A.    That's correct, dated April 30th.
   8       Q.    How is it that you arrived at La Pensee
   9 Condominium to purchase this unit?          How did you get
 10 to this particular property?
 11              MR. LUBLINER:      Form.
 12        A.    I got to the property with a realtor.
 13        Q.    Who was that?
 14        A.    Ed Lepselter.
 15        Q.    How did you meet Mr. Lepselter?
 16        A.    I met Mr. Lepselter through a mutual
 17 friend.
 18        Q.    That would have been when, in 2018?
 19        A.    Correct.     In 2018, I was introduced to Ed
 20 Lepselter, who works with his wife, Elly Lepselter.
 21        Q.    And how long had you been looking for a
 22 property prior to purchasing Unit 303 in La Pensee?
 23        A.    I'm not really certain, a few months, and
 24 then Ed was searching online for us; and then at one
 25 point, we went to Florida, and then we looked at


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 13 of
                                      203

                                                                  Page 13
   1 apartments with Ed.
   2       Q.    You actually came down and looked at the
   3 property yourself?
   4       A.    Correct, I did.      I came down to Florida
   5 with my husband, and we looked at apartments
   6 together with Ed.
   7       Q.    After you purchased the property, did you
   8 use it and come down from New York and visit South
   9 Florida or did you rent it?
 10        A.    After we purchased the property, we listed
 11 it for rent with Mr. Lepselter.
 12        Q.    How long after you purchased the property
 13 did you do that?
 14        A.    I believe it was within a month.
 15 Approximately.       I'm not certain, but shortly after
 16 the purchase, we told Mr. Lepselter that per the
 17 rules we had to rent it per -- I'm sorry, per the
 18 tax rules, we had to rent it.
 19        Q.    Do you recall who your first tenants were
 20 when you first rented this property?
 21        A.    My first -- my first tenants were Eva and
 22 Stefan Sigloch, S-I-G-L-O-C-H.
 23        Q.    And do you know who approved it from the
 24 Association?
 25        A.    Eva and Stefan Sigloch were approved by


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 14 of
                                      203

                                                                     Page 14
   1 the board for residence in La Pensee 303, LLC.
   2       Q.    Do you know when they moved into Unit 303
   3 at La Pensee Condominium?
   4       A.    I'm not great with the dates.         They moved
   5 in shortly after -- I think they moved in -- either
   6 in the summer or the fall that same year.            They
   7 moved in 2018.
   8       Q.    How long did they stay?
   9       A.    You know what, actually, they must have
 10 moved in earlier.       They moved in -- I'm sorry.          I
 11 think they must have moved in earlier than summer.
 12 They moved in, and then they left because they were
 13 having construction done.         So they moved in and -- I
 14 think in the spring, actually.
 15              What was the question, I'm sorry?
 16        Q.    How long did they stay?
 17        A.    They stayed until just before -- they
 18 stayed until October, and then they moved out, and
 19 then their temporary quarters were terminated, and
 20 they moved back in.
 21        Q.    They moved in in the spring, and they
 22 stayed until October --
 23        A.    Right.
 24        Q.    -- when they left?
 25        A.    And their builder --


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 15 of
                                      203

                                                                  Page 15
   1             The reason they were in the home was --
   2 they were constructing a brand new home, so they
   3 needed a temporary quarters, so they moved in.             And
   4 they moved out because their builder said we are
   5 almost there, move here, so they moved out; and then
   6 they weren't there, and they had to move back in.
   7 They came and went.
   8       Q.    How much longer did they stay after --
   9       A.    I believe they --
 10        Q.    -- they went away from the property?
 11        A.    A very short period of time.         About a
 12 month.      They were only away that month.
 13        Q.    And then they moved back in you said.           Do
 14 you recall until when they stayed at that time?
 15        A.    Yes.    They stayed until February.        So they
 16 basically -- we viewed it as a continuation of the
 17 same lease because no one else had moved in in the
 18 interim.     And we received a telephone call on
 19 Thanksgiving that they were homeless, so we got
 20 permission and let them move back in.
 21        Q.    And they moved back in.        Did you have to
 22 ask the Association for permission for them to move
 23 back in?
 24        A.    Yes, we did.     We had to ask permission
 25 from the board.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 16 of
                                      203

                                                                  Page 16
   1       Q.    Anybody at the Association object to them
   2 moving back in?
   3       A.    I wouldn't know.      I only know that they
   4 said it was all right for them to move back in.
   5 That's all I know.
   6       Q.    And they actually moved back in?
   7       A.    Yes, they did.
   8       Q.    Subsequent to Mr. and Mrs. Sigloch, did
   9 you rent the property again after they moved out in
 10 February of 2019?
 11        A.    Yes.
 12        Q.    Who did you rent the property at that time
 13 to?
 14        A.    Diane Hayes and Amy Lipfavitz.
 15        Q.    Say that one more time.
 16        A.    Diane Hayes and Amy Lipfavitz rented next.
 17        Q.    Do you recall when they moved in?
 18        A.    I'm not great with the dates.         Obviously,
 19 we tried to get people to move in right away because
 20 it is costly.
 21              Diane and Amy moved in -- they moved in
 22 probably sometime in 2019, and they, too, were
 23 having construction.
 24        Q.    Do you recall whether the unit remained
 25 empty after Mr. and Mrs. Sigloch moved out for a


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 17 of
                                      203

                                                                  Page 17
   1 period of time?
   2       A.    Yes.
   3       Q.    And how did you find Diane Hayes and Amy
   4 Lipfavitz to rent the unit?
   5       A.    We called Ed Lepselter to rent it for us,
   6 and he listed it, and that's how we found them.
   7       Q.    And do you recall how long Diane Hayes and
   8 Amy Lipfavitz stayed in the unit?
   9       A.    I think they stayed about seven or eight
 10 months.
 11        Q.    And then they moved out?
 12        A.    Yes.    Then their construction was
 13 completed, and they moved into their home.
 14        Q.    The Sigloch lease -- I presume you had a
 15 written lease with them, correct?
 16        A.    I had a written lease with the Siglochs,
 17 yes.
 18        Q.    That was a one-year lease?
 19        A.    I believe it was under a year because they
 20 wanted it to be as long as the construction were to
 21 take place.      I don't know when, but it was a little
 22 under a year.
 23        Q.    So it was less than a year lease?
 24        A.    Correct.
 25        Q.    And do you know if Diane Hayes and Amy


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 18 of
                                      203

                                                                  Page 18
   1 Lipfavitz's lease was for a year or less?
   2       A.    It was a little under as well.
   3       Q.    Also less than a year?
   4       A.    One year as well.
   5             Pardon me, sir?
   6       Q.    Also under a one-year lease, correct?
   7       A.    Correct.
   8       Q.    Is that a yes?
   9       A.    That's a yes.      Yes.
 10        Q.    Thank you.
 11              Do you recall the specific month that
 12 Diane Hayes and Amy Lipfavitz moved out?
 13        A.    I don't.     I do not recall the exact month
 14 they moved out.
 15        Q.    What happened after they moved out?
 16        A.    Once again, I listed it with Ed.
 17        Q.    Diane Hayes and Amy Lipfavitz had to be
 18 approved by the Association prior to them moving in?
 19        A.    Yes.    Yes.   Diane and Amy had to be and
 20 were approved.
 21        Q.    Do you remember any issues with the
 22 Association approving Diane Hayes or Amy Lipfavitz
 23 to move into the unit?
 24        A.    No one on the board ever spoke to me in
 25 any instance with Diane and Amy.           I always talked


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 19 of
                                      203

                                                                  Page 19
   1 with Mary, and if there were issues, they were not
   2 described to me.
   3       Q.    Did Mary ever describe any issues with
   4 either the Siglochs, the Hayes or Lipfavitz?
   5       A.    No.    No issues as far as them living
   6 there.     There was some -- there was a little bit of
   7 a discussion about whether or not the board would
   8 let them move back in.       It revolved around how long
   9 people were there and whether they should come back
 10 and whether that was permissible, but I don't recall
 11 Mary telling -- Mary telling me anything about the
 12 actual residence, the Siglochs and Diane Hayes and
 13 Amy Lipfavitz.
 14        Q.    Would you describe your relationship over
 15 the years that you dealt with Mary McFadden as
 16 business friendly?
 17        A.    Yes.
 18        Q.    She was always polite to you?
 19        A.    Yeah.    For the first few years, yes.
 20        Q.    And she was generally responsive to your
 21 requests?
 22        A.    In the beginning, yes, she was responsive.
 23        Q.    After Diane Hayes and Amy Lipfavitz moved
 24 out, you said you gave the property back for market
 25 rental once again, correct?


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 20 of
                                      203

                                                                  Page 20
   1       A.    That's correct.      Mr. Lepselter listed it
   2 once again for rental.
   3       Q.    And is that the time that he found
   4 Mr. Wilcox and Ms. Luchey, the tenants for the
   5 property?
   6       A.    Well, he actually found another person
   7 before he found Mr. Wilcox and Ms. Luchey.
   8       Q.    Tell me about that.
   9       A.    He found us a dentist who wanted to move
 10 in with his nine-year-old son.          He was newly
 11 divorced and needed a place to be with his son.              He
 12 seemed terrific, but we couldn't -- the board would
 13 not allow him to move upon his timetable.
 14        Q.    What was that?
 15        A.    The board -- someone on the board told me
 16 they discussed it, and Mary told me he can't move in
 17 when he needs to move in, so we lost him.
 18        Q.    Was it -- was it a timing issue?
 19        A.    Yes.
 20        Q.    Was the board's issue that you can only
 21 have one tenant per year?
 22        A.    I believe that was the board's issue, but,
 23 again, I only spoke to Mary, so Mary McFadden said
 24 to me he can't move in in December of 2020, and
 25 that's what he needed, so away he went.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 21 of
                                      203

                                                                  Page 21
   1       Q.    Was that because the year from the prior
   2 tenant had not -- even though they were not there,
   3 had not been completed?        Is that the reason they
   4 gave you?
   5       A.    That is what I understood to be the
   6 reason, yes.
   7       Q.    And you understood what Ms. McFadden was
   8 telling you, the information that she obtained from
   9 the board with regards to your request, right?
 10        A.    Don't know where she got the information.
 11 I can't speak for her.        I don't know what was in her
 12 mind.     All I know, she told me the dentist can't
 13 move in.
 14        Q.    Do you know if she was speaking for
 15 herself or giving you information that she had
 16 obtained from the board as to what?
 17              MR. LUBLINER:      Form.
 18        A.    I don't know.      I couldn't tell you,
 19 Mr. Israel, whether she conferred with the board or
 20 just had institutional memory.          I don't know.      She
 21 told me no.      She just told me no, and I accepted
 22 that as a fact.
 23        Q.    Did you ever ask to speak with anybody on
 24 the board with regard to the issue of the tenant
 25 moving in?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 22 of
                                      203

                                                                  Page 22
   1       A.    I did not ask to speak with anyone on the
   2 board.
   3       Q.    So the dentist, the prospective tenant --
   4 I don't know if you gave me the gentleman's name or
   5 not, but he didn't work out, so he went away,
   6 correct?
   7       A.    The dentist went away because he needed to
   8 move in in December, and Mary told me they can't
   9 move in until January 25th.
 10        Q.    So January 25th -- would it be fair to say
 11 that January 25th would have been the completion of
 12 the one-year period for the prior tenant?
 13              MR. LUBLINER:      Form.
 14        A.    I can't answer that question, Mr. Israel.
 15 I don't know what they were doing in terms of
 16 calculations.      I made a probably incorrect
 17 assumption that they knew what they were doing.
 18        Q.    You said that no conversations were had
 19 with anybody on the board regarding allowing an
 20 earlier move in time for the tenant?
 21        A.    You asked me if I had any conversations
 22 with anyone on the board, and I did not.
 23        Q.    Did anybody on your behalf have any
 24 conversations with any member on the board?
 25        A.    I believe my husband had a conversation


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 23 of
                                      203

                                                                  Page 23
   1 with Mr. Lawson, who was then the president of the
   2 board.
   3       Q.    And do you recall the extent of the
   4 conversation your husband relayed to you as to what
   5 was discussed with Mr. Lawson regarding an earlier
   6 move-in date?
   7       A.    I believe that Mr. Lawson said it wasn't
   8 up to the board, which I don't believe to be true,
   9 but I believe that Mr. Lawson said it is not up to
 10 the board, and there was some confusion because
 11 Mary -- so all we knew is that we kept getting no,
 12 no, no, no.
 13        Q.    Now, if there was a disagreement --
 14        A.    We don't know.      We just know we were not
 15 given a green light.
 16        Q.    You understand that Ms. McFadden works for
 17 the board of the Association, right?
 18        A.    It is my understanding that Ms. McFadden's
 19 company is hired by the board, and then she is the
 20 chief executive of MAC.         That's my understanding.
 21        Q.    And she works under -- she works for the
 22 company who has a contract with the Association,
 23 correct?
 24        A.    I'm not aware of that.        I can't answer
 25 that.     I never read her documents.        All I know is


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 24 of
                                      203

                                                                  Page 24
   1 that when we purchased, we were informed by our
   2 realtor and by Allison Landon that we were to deal
   3 with Mary McFadden.
   4       Q.    You do understand that Ms. McFadden
   5 doesn't make decisions on behalf of the board and
   6 that the board is the one that makes the decisions?
   7       A.    I don't understand the relationship
   8 between Mary McFadden and the board because I'm not
   9 privy to the contract between Mary and the board.
 10 What the board lets her do on her own and what she
 11 actually does on her own, I'm not advised.             I
 12 haven't read their contract.          I don't know what she
 13 does that's permitted or not permitted.            I can't
 14 answer that question.
 15        Q.    You have no understanding as to what the
 16 parameters are of management responsibility for
 17 Ms. McFadden or her company and the board of the
 18 Association?
 19        A.    I didn't read the contract, so I don't
 20 know what sort of latitude she has and whether or
 21 not she agrees or disagrees with what it says in the
 22 contract.      I don't know the answer to that.
 23        Q.    When the respective tenant who was a
 24 dentist didn't move in, I guess Mr. Lepselter
 25 continued to market the property; is that accurate?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 25 of
                                      203

                                                                  Page 25
   1       A.    Yes, I would assume so.        We instructed him
   2 to keep looking because --
   3       Q.    Do you know how long after that Mr. Wilcox
   4 arrived at the scene for the purpose of renting the
   5 property?
   6       A.    I would say at some point in the latter
   7 part of December.      Well, he started looking --
   8             I'm sorry.     Can you repeat the question?
   9       Q.    Do you know --
 10              MR. ISRAEL:     Madam Court Reporter, can you
 11        just reread the question?
 12                 (The pending question was read by the
 13        reporter as recorded above.)
 14        A.    No, I don't know when Mr. Wilcox arrived
 15 on the scene because I know he was working with his
 16 own realtor, I was working with Ed, and the point
 17 of -- which point he first contacted Roy Gelber, I
 18 don't know where exactly.         I don't know.
 19        Q.    Okay.
 20        A.    At some point.
 21        Q.    Did you have any contact with Mr. Gelber
 22 once Mr. Wilcox came on the scene or was all the
 23 communication through Mr. Lepselter?
 24        A.    There may have been one e-mail with
 25 Mr. Gelber.      I was working with Mr. Lepselter and


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 26 of
                                      203

                                                                  Page 26
   1 only Mr. Lepselter.       I worked with Ed.      Mr. Wilcox
   2 dealt with Mr. Gelber.
   3       Q.    Let's look at what we're going to mark as
   4 Composite Exhibit 3, and I want to go through some
   5 e-mails on this exhibit.        I'll tell you these
   6 e-mails came from Mr. Lepselter.
   7             Let's start with this e-mail from -- it
   8 starts on Page 22.       Is that e-mail address,
   9 valmanzo@aol.com, your e-mail address?
 10        A.    Valmanzo@aol.com is my e-mail address,
 11 yes.
 12        Q.    Did you send an e-mail to -- do you
 13 recognize that as Mary McFadden's e-mail?
 14        A.    Yes.    That's Mary McFadden's e-mail.
 15                  (Defendants' Composite Exhibit 3 was
 16           marked for Identification.)
 17        Q.    The cc e-mails, is that your husband's
 18 e-mail?
 19        A.    Tdemarinis is my husband's e-mail, and
 20 elelep@aol.com is Ed Lepselter's e-mail.
 21        Q.    So do you recall what this e-mail dated
 22 December 8th, 2020, 9:49 a.m. was about?
 23        A.    It would be helpful to see what she sent
 24 me.
 25        Q.    We can go further down.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 27 of
                                      203

                                                                  Page 27
   1       A.    She gave me that date.        Yeah, your husband
   2 spoke to --
   3             I'm sorry, what is the question?
   4       Q.    I guess the e-mails, the last one is on
   5 the top.
   6       A.    Right.
   7       Q.    9:47.    Just later produced --
   8       A.    I understand.      I didn't know -- yeah.
   9       Q.    So this is Ms. McFadden writing to you on
 10 December 8th at 9:47 a.m. saying that your husband
 11 spoke to John Lawson and he was told that the unit
 12 could not be occupied until January 25th?
 13        A.    Yes.    I had been previously informed there
 14 was a conversation between my husband and
 15 Mr. Lawson.      We were told January 25th.
 16        Q.    So the next e-mail from 9:49 a.m. that
 17 same day, you heard from Mary?
 18        A.    Correct.     Reconfirming that's the best
 19 they can do for us.
 20        Q.    This was a previous e-mail from you to I
 21 guess Mary at 9:31 a.m.?
 22        A.    Uh-huh.
 23        Q.    I guess this is the first of the grouping
 24 of the e-mails?
 25        A.    This is us saying -- me saying to Mary


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 28 of
                                      203

                                                                  Page 28
   1 McFadden that now we have a new candidate, and
   2 unless and until we get an exact fee, we don't know
   3 if we can satisfy this candidate.
   4        Q.   But you -- you received that information
   5 on the same date you asked for it?
   6        A.   Looks that way.      Looks like Mary answered
   7 me as to the date after she spoke to Mr. Lawson I
   8 would imagine.      I don't know.     I don't know what she
   9 did.
 10              MR. LUBLINER:      David, just for the record,
 11         I apologize.    When you say from Ed Lepselter,
 12         for record clarification, you are referring to
 13         this composite exhibit that was produced by
 14         Mr. Lepselter as part of the document
 15         production, correct?
 16              MR. ISRAEL:     That is correct.      I think it
 17         was marked at his deposition, the original
 18         deposition, the first one --
 19              MR. LUBLINER:      Yes.
 20              MR. ISRAEL:     -- as Exhibit 15.       We're
 21         going to mark it Composite Exhibit 3 for our
 22         purposes today.     At the bottom, they are marked
 23         Edward Lepselter.
 24              MR. LUBLINER:      I wanted to clarify it for
 25         the record.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 29 of
                                      203

                                                                  Page 29
   1             MR. ISRAEL:     Thank you.     Everybody should
   2       I presume have this.
   3             MR. LUBLINER:      There we go.
   4       A.    Okay.
   5       Q.    (By Mr. Israel) So 9:31 a.m. on December 8th,
   6 you asked Mary McFadden a question, and by 9:47 a.m. on
   7 December 8th, Ms. McFadden had responded to you the
   8 earliest possible date, correct?
   9       A.    Yes, that's correct.
 10        Q.    By the way, a question, Ms. Manzo; is your
 11 husband a lawyer also?
 12        A.    He's not, no.      He's a retired senior vice
 13 president of a cable company.
 14        Q.    On December 8th at 6:46 p.m., your husband
 15 wrote and copied you I guess, Ms. McFadden and
 16 Mr. Lawson.
 17              Are you familiar with this particular
 18 e-mail?
 19              I'll let you read it.       Just tell me when
 20 you are finished.
 21        A.    I'm still reading.
 22              Okay.    Yes.   This is Tom explaining his
 23 conversation with Mr. Lawson and the rather
 24 interesting situation that each of them said it was
 25 up to the other, which really didn't make a whole


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 30 of
                                      203

                                                                  Page 30
   1 lot of sense then and doesn't make a whole lot of
   2 sense now to me.
   3       Q.    Okay.    So does this e-mail seem to suggest
   4 that Mr. Lawson, John, indicated that he would not
   5 have been the decision-maker?
   6       A.    Yes, which I find rather incredible given
   7 that he was the president of the board.
   8       Q.    Did he indicate who the decision-maker
   9 would have been as to a move-in date?
 10        A.    I truly only recall this e-mail.          I don't
 11 recall any private conversations about this subject.
 12 So it looks to me like he didn't indicate anything
 13 other than bill the management.          My husband is a
 14 very thorough individual.         If he knew more, he
 15 probably would have put more in there at that point.
 16        Q.    According to this e-mail, Mr. Lawson
 17 supposedly said that the building's board of
 18 directors couldn't decide to make an exception as to
 19 when this type of tenant could move in and only
 20 building management could approve this?
 21        A.    I believe that's what he was stating.
 22 That's what he is saying.         That's what he said to
 23 everyone involved, that it is up to management, it's
 24 not up to the board.
 25        Q.    Was the date ever changed from the 25th to


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 31 of
                                      203

                                                                  Page 31
   1 any earlier date or the 25th was the final date that
   2 permission was given for the new tenant to move in?
   3       A.    That was the final date, January 25th.
   4       Q.    Eventually, Mr. Wilcox and Ms. Luchey did
   5 move in on January 25th, correct?
   6       A.    Mr. Wilcox and Ms. Luchey moved in on
   7 January 25th.
   8       Q.    Now, during this time, you were in the
   9 process of negotiating lease terms with Mr. Wilcox,
 10 is that correct, January 2021?
 11        A.    That's correct.
 12        Q.    Here is an e-mail, Page 27 of this
 13 composite, from Mr. Lepselter to you and your
 14 husband, and there are some handwritten notes.
 15              Do you know whose handwriting that is?
 16        A.    That's my handwriting.
 17        Q.    Would you go through what was being
 18 discussed?
 19              And I think that was January 4th, 2021; is
 20 that correct?
 21        A.    Looks that way.      Looks like on
 22 January 4th, 2021, I was attempting to respond to an
 23 e-mail from Mr. Lepselter to both Tom and myself.
 24 And I was instructing him to get additional security
 25 if they smoke and advising him to tell them they can


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 32 of
                                      203

                                                                   Page 32
   1 only smoke on the balcony, which was irrelevant
   2 because they don't smoke; and then I wanted
   3 security -- dog security, but I later found out it's
   4 not permitted when it is a service animal.            I was
   5 instructed that the laws do not permit security for
   6 a service animal.
   7             "Here are our thoughts."
   8       Q.    Can you read what is the handwriting here
   9 to make sure we have are here?
 10        A.    "Here are our thoughts.        See annotations.
 11 Tom had to run out; I am here.          But -- but with two
 12 staffers who work part-time.          Call Tom in his car.
 13 Okay, Val."
 14        Q.    You were speaking to Mr. Lepselter about
 15 additional terms or conditions regarding the lease,
 16 the final lease that was going to be entered into
 17 eventually for this property, correct?
 18        A.    This was early on in the discussions, yes.
 19        Q.    I guess Mr. Lepselter had prepared what is
 20 called a contract to lease.          It is a form that
 21 realtors use.      Basically, it is a contract to enter
 22 into a lease agreement; is that correct?
 23        A.    That is the case.       It looks like
 24 Mr. Lepselter created what Florida Realtors created
 25 initially and sent it to me.


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 33 of
                                      203

                                                                  Page 33
   1             I lost my reading glasses.         Just give me
   2 one second.
   3       Q.    Sure.    No problem.
   4       A.    I see the Florida Realtors --
   5       Q.    Tell me if I should move it up or down.
   6       A.    Depends on what the question is.          I don't
   7 know what I'm looking for.
   8       Q.    Okay.    So you recall this document
   9 prepared by Mr. Lepselter as a form realtors use,
 10 correct?
 11              MR. LUBLINER:      Form.
 12        A.    To be truthful, I don't actually remember
 13 seeing this, but, obviously, I did.
 14        Q.    Well, let's look to see.        Do you know
 15 whose handwriting that is on --
 16        A.    That's my handwriting.        I'm sorry.    Yes,
 17 that's my handwriting next to Number 8 on balcony
 18 change here.
 19        Q.    Those are your initials at the bottom with
 20 respect to landlord?
 21        A.    That is correct.      Those are my initials.
 22        Q.    And next to it, the last where it says
 23 respective tenant, do you recognize that to be
 24 Mr. Wilcox's initials?
 25        A.    No.   I actually do not recognize those to


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 34 of
                                      203

                                                                    Page 34
   1 be his initials.      They are so tiny.      I don't know.
   2             This was done, the document.         We never --
   3 this never became a document we relied on.
   4       Q.    I'm just curious.       On the next page, do
   5 you recognize that to be Mr. Wilcox's signature?
   6       A.    Actually, not his signature.         That's an
   7 electronic signature that was created by
   8 Mr. Lepselter's firm, and I assume realtors in
   9 general in Florida use electronic signatures.             So
 10 that's an electronic signature, but mine is an
 11 actual signature.
 12        Q.    That's your signature there?
 13        A.    That's correct.
 14        Q.    You don't have any reason to believe that
 15 Mr. Lepselter -- that it wasn't Mr. Wilcox who
 16 electronically signed this document, correct?
 17        A.    I don't know.      I didn't know it wasn't
 18 him.
 19        Q.    So let's look at what generally this
 20 document -- I guess this was the starting point of
 21 the negotiations.       Is that a fair statement?
 22        A.    I would say that this was an offer by
 23 Mr. Wilcox to realtor, to La Pensee 303, LLC.
 24        Q.    Ms. Luchey's name is not on this document,
 25 correct?


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 35 of
                                      203

                                                                  Page 35
   1       A.    Correct.     Ms. Luchey is not part of this
   2 particular document, that is correct.
   3       Q.    And she did not sign this document?
   4       A.    That's correct.      Ms. Luchey did not sign.
   5       Q.    And the term of this lease was from
   6 January 25th, 2021 to January 24, 2022, correct?
   7       A.    That's the first offer.
   8             MR. LUBLINER:      Form.   Sorry.
   9       A.    These terms was the opening discussion.
 10        Q.    Would have been for a one-year lease,
 11 correct?
 12              MR. LUBLINER:      Form.
 13        A.    Yes, it would have been for a one-year
 14 lease.
 15        Q.    Were any of your prior tenants there in
 16 your leases for more?
 17        A.    No, they were not, but -- well, they were
 18 not.
 19        Q.    And the money for the occupancy was
 20 $50,700 in Paragraph 1, correct?
 21              MR. LUBLINER:      Form.
 22        A.    That was for -- yes, the 50,700 income
 23 offered by Mr. Wilcox was for the initial one year,
 24 and it included 3900 in security deposits for
 25 himself and later himself and Ms. Luchey.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 36 of
                                      203

                                                                  Page 36
   1       Q.    I'm sorry.     What was the last thing that
   2 you said?
   3       A.    The 3900 was the security deposit
   4 initially offered by him to me for himself, and
   5 later that security deposit was offered to me, to my
   6 corporation, from him and Luchey, yes.
   7       Q.    Do you know what Page 30 of this composite
   8 exhibit is?
   9       A.    Certificate of authenticity.         It appears
 10 to be a document saying that Roy is the owner of a
 11 company, Value Realty, and that his connection to
 12 this deal is through David.
 13              I don't really remember this document, to
 14 be honest with you.
 15        Q.    If I were to tell you that it's a
 16 confirmation of Mr. Wilcox's electronic signature
 17 and it provides the time and other confirmation --
 18              MR. LUBLINER:      Objection.
 19        A.    Yes.
 20        Q.    -- do you understand it to be an accurate
 21 statement?
 22              MR. LUBLINER:      Form.
 23        A.    No, I don't actually have any knowledge of
 24 what it is, but it appears to be what you just
 25 described.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 37 of
                                      203

                                                                  Page 37
   1             Can I see the whole thing?
   2       Q.    Absolutely.     Tell me so I can --
   3       A.    You can scroll.
   4       Q.    The signer information, it gives you the
   5 date and time and IP address where the computer was
   6 signed and so on?
   7       A.    Yes.
   8       Q.    You see that?
   9       A.    I see that.
 10        Q.    You have no reason to state that this is
 11 not a confirmation of Mr. Wilcox's electronic
 12 signature, correct?
 13              MR. LUBLINER:      Form.
 14        A.    I have no information about this form.           To
 15 be honest with you, I'm not familiar with this form,
 16 but it appears to indicate that there was
 17 communication between Mr. Wilcox and Mr. Gelber.              It
 18 seems to be a form created by someone in Florida to
 19 indicate to the reader that someone needs an
 20 electronic signature and gives a date.
 21              I'm just reading it the way any layperson
 22 would read it.
 23        Q.    Understood.
 24              Do you recall whether that was the
 25 proposal to lease contract when you received it and


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 38 of
                                      203

                                                                  Page 38
   1 signed it?
   2       A.    No, I did not recall it at all.          It is
   3 interesting.     It may have been, but I don't remember
   4 that -- seeing that.       Perhaps that was --
   5             How did you get this?       Was this
   6 Lepselter's package or Mr. Gelber's package?
   7       Q.    These documents came from Mr. Lepselter.
   8       A.    Oh, maybe I saw it then.        I really don't
   9 know.    I don't remember, to be honest.
 10              I had dealt with Mr. Lepselter, you know.
 11        Q.    This e-mail is on Page 33.         Is that an
 12 e-mail from you -- that's that your e-mail address,
 13 right?
 14        A.    This appears to be an e-mail from Val to
 15 Mary wishing her happy New Year and asking her a
 16 question.
 17        Q.    Is there a particular reason that you were
 18 wishing her a happy New Year?
 19        A.    I always wished her a happy New Year.            It
 20 was a time -- we just had Christmas, but, you know,
 21 circumstances changed.
 22              "Sorry to be late.       Tom and I were working
 23 with Ed."
 24              I was expressing to her -- You can scroll
 25 up.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 39 of
                                      203

                                                                  Page 39
   1             What date?     This is on New Year's Eve,
   2 okay.    We are still looking, right.        This is --
   3 yeah.    I remember this.
   4       Q.    Tell me about this e-mail.         Why -- what
   5 was the reason of asking --
   6             First of all, you didn't have a set of
   7 rules and regulations, bylaws with the Association?
   8       A.    I did.
   9             MR. LUBLINER:      Val, let him finish the
 10        question.
 11        A.    I'm sorry.     He said you didn't have the
 12 rules, and I said, no, we did have the rules.
 13              I said in this e-mail that the rules that
 14 I had I received when I purchased in 2018, and on
 15 them was the date 2015, and they were provided to me
 16 by Ms. McFadden prior to purchase.           And I was asking
 17 Ms. McFadden to share with me the most recent
 18 version so that I could share it with my prospective
 19 tenant.     No surprises, a fee or rules about pets and
 20 other matters.
 21              So this e-mail was an effort to be a
 22 responsible landlord and get the latest rules and
 23 regs so that a prospective tenant wouldn't be
 24 shocked by something that he could not do after they
 25 signed the lease.       It's my obligation to know what


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 40 of
                                      203

                                                                  Page 40
   1 the current rules -- to get in my hand current
   2 rules, give them to Ed and let him deal with it.
   3       Q.    You wanted to know if there had been
   4 updates since 2018?
   5       A.    Yes, correct.
   6       Q.    And were you given any updates?
   7       A.    Yes, I believe I was given paperwork.
   8       Q.    You provided that to Mr. Lepselter to
   9 provide it to the prospective tenant?
 10        A.    Yes.
 11              Wait.
 12        Q.    Tell me when you are done.
 13              You stated there were some new updates,
 14 rules and regulations that you were provided to
 15 provide to Mr. Lepselter and the prospective tenant?
 16        A.    I don't know when I got them.         I expect in
 17 advance I think.       I don't know.
 18        Q.    You eventually -- did you eventually get
 19 updated rules?
 20        A.    I believe I did.      I believe I got what
 21 Mary told me were updated rules.           I don't know
 22 whether they were, but I got them.
 23        Q.    You got something from Mary as updated
 24 rules?
 25        A.    I got something.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 41 of
                                      203

                                                                  Page 41
   1       Q.    Would that be a fair statement?
   2       A.    I got something from Mary that she stated
   3 were updated rules, that is correct.
   4       Q.    Do you have any reason to believe that
   5 those were not updated rules?
   6       A.    There were a lot --
   7             MR. LUBLINER:      Form.
   8       A.    -- and I'm not really certain what were --
   9 they weren't all dated.        Looked suspicious, all the
 10 rules and regs.       They were probably gotten -- I did
 11 receive something from her, yes.
 12        Q.    Did you question the rules that you
 13 received as to whether they were properly by the
 14 board?
 15              MR. LUBLINER:      Form.
 16        A.    I don't know if I did at that time.
 17        Q.    You say "at that time."        Did you ever do
 18 that?
 19        A.    I find some of the rules -- some of the --
 20 at this time, I'm not certain that all of the rule
 21 changes were properly adopted, and I'm not -- that
 22 every time there is a new rule making it has been
 23 properly done, because in my experience, there is
 24 still a lot of things done that may or may not be
 25 per the rules -- per, actually, the bylaws.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 42 of
                                      203

                                                                  Page 42
   1             So, right now, I can't say with
   2 100 percent certainty what Mary gave me in January
   3 '21 were, in fact, rules that were properly adopted.
   4 I can't say that.      I don't know.      Properly adopted,
   5 I cannot say they were.
   6       Q.    Did you receive the rules from Mary
   7 that --
   8             I want to make sure I understand.          Did you
   9 receive rules from Mary after requesting updated --
 10 whatever updates were available?
 11        A.    I'm sorry?
 12        Q.    You can't confirm whether they were
 13 properly adopted or not?
 14        A.    That is correct.      I received an e-mail,
 15 which I believe I forwarded.
 16        Q.    Did you respond to Ms. McFadden and ask if
 17 those rules were properly adopted?
 18        A.    I don't know.      I don't remember if I asked
 19 that question.
 20        Q.    Did she forward those rules to
 21 Mr. Lepselter to provide to the prospective tenant,
 22 Mr. Wilcox?
 23        A.    Yes.    I absolutely am certain that I
 24 consider it my duty and always give the rules and
 25 regulations as I understand them to any prospective


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 43 of
                                      203

                                                                  Page 43
   1 tenant so that they can see the limitations while
   2 living there before they sign the lease.            That's my
   3 custom.    I believe that was the case.
   4       Q.    Do you know whose job it was to adopt the
   5 new rules and regulations?        Was it Mary McFadden and
   6 her company or was it the board of directors?
   7             MR. LUBLINER:      Form.
   8       A.    I think it was the board's obligation to
   9 adopt new rules and hold a meeting, and you have to
 10 have 14 days after notifying all the owners that you
 11 are going to adopt new rules so that if they want to
 12 confirm them, they can confirm them.            I am not
 13 100 percent sure of that.         I'm pretty sure it is up
 14 to the board of directors.
 15        Q.    You are not saying that Mary did anything
 16 improper with regards to new rules and regulations
 17 that she provided to you, correct?
 18        A.    I don't know.      She might have done
 19 something improper.
 20        Q.    What is that?
 21        A.    Well --
 22              MR. LUBLINER:      Form.
 23        A.    -- I got a lot of information that seems a
 24 little concerning, rules and regs that were
 25 purported to be enclosed that had no date, so it


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 44 of
                                      203

                                                                  Page 44
   1 made me now suspicious.        Maybe in January it wasn't.
   2       Q.    Are you just basing your suspicions on
   3 things that have transpired since January 2021 or on
   4 some actual factual information you have that raises
   5 that suspicion?
   6             MR. LUBLINER:      Form.
   7       A.    From January of '21 to now, there have
   8 been a number of sets of rules and regs circulated,
   9 and I'm not certain which were in place when right
 10 now.    Was not being clear -- wasn't made clear upon
 11 adoption when they were adopted.           So I'm not certain
 12 that what Mary was telling me was accurate because
 13 things were not dated always.           Things were not
 14 always dated.
 15        Q.    In your mind, the fact that rules may not
 16 have had a date next to them was suspicious as to
 17 their validity?
 18              MR. LUBLINER:      Form.
 19        A.    Correct.     I find it compounding to read
 20 the rules that have no date on them.            No -- you
 21 should study them.        The point being when somebody
 22 gives you rules, it has no date, you don't know if
 23 they are from the board or not.          You can't make a
 24 decision, so I find them suspicious.
 25        Q.    And you testified you never expressed that


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 45 of
                                      203

                                                                  Page 45
   1 to anybody either at the Association or to
   2 Ms. McFadden that you did not believe the rules were
   3 properly adopted?
   4       A.    I learned a lot this past year.
   5       Q.    Are you basing your suspicion of the rules
   6 that Ms. McFadden provided to you based on what has
   7 transpired among some of these parties since
   8 Mr. Wilcox rented the unit or are you basing it on
   9 actual information that you know that meetings were
 10 not properly called or rules were not properly
 11 followed?
 12              MR. LUBLINER:      Form.
 13        A.    I don't know if meetings were properly
 14 called.     We are not -- as an owner, we are not
 15 always informed, so we are not always advised.              So
 16 now I have become suspicious of rule making rules
 17 that may have been done without proper authority,
 18 without notice.       I can't tell you this rule making
 19 was not properly done, but I have asked the current
 20 manager, Ms. Childrey, about this question, and I
 21 never received an answer.         I don't know when rules
 22 were properly adopted and when they were improperly
 23 adopted.
 24        Q.    Are you saying that you are not getting
 25 notices to meetings or meetings are not being


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 46 of
                                      203

                                                                  Page 46
   1 noticed?
   2       A.    I'm saying that if we were to go back in
   3 time to every set of rules, I don't know that they
   4 were properly adopted per the bylaws -- the
   5 declaration and bylaws in the State of Florida.             I
   6 don't know that.      I would love to see that
   7 information.
   8       Q.    Are you alluding to Ms. McFadden having
   9 done something wrong with regards to these new rules
 10 and regulations or is this something that was --
 11              MR. LUBLINER:      Form.
 12        A.    Could not tell you whose responsibility it
 13 is.    All I know is that there seems to be things
 14 going on that may not be authorized.            Whether it is
 15 the board doing it, whether it was Mary doing it, I
 16 don't know.
 17        Q.    Can you give me an example more
 18 specifically of what you are referring to, things
 19 that were not authorized?
 20              MR. LUBLINER:      I'm going to object for the
 21        record.    While Ms. Manzo is an attorney, she is
 22        a third-party lay witness, and she is a fact
 23        witness and not testifying with respect to
 24        whether or not something was or was not
 25        noticed.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 47 of
                                      203

                                                                  Page 47
   1              MR. ISRAEL:    I'm not asking her as an
   2       expert whether things were properly passed or
   3       not.    I'm asking what her factual knowledge is.
   4       She is suspicious of the rule.         I'm trying to
   5       figure out which ones, which ones she believes
   6       are problematic.
   7              MR. LUBLINER:     She said she couldn't point
   8       to any of them.
   9       Q.     (By Mr. Israel) Is that your testimony,
 10 Ms. Manzo?      So you can't pinpoint to any particular
 11 rule or regulation that you now find to be in your mind
 12 problematic in how they may have been passed?
 13        A.     I can't point to any specific rule or
 14 regulation that wasn't properly authorized.
 15 Information is not always shared.           Whether or not
 16 they were properly adopted would require some
 17 background documentation, and I have not seen, so I
 18 can't point and say these were not done properly or
 19 these were done properly.
 20        Q.     As we sit here today -- Sorry.         Go ahead.
 21        A.     Because I don't have the background
 22 information, so I don't know.          All I'm saying is
 23 that I'm suspicious and it bears further research.
 24        Q.     As we sit here today, you have a hunch
 25 that some of the rules may not be proper, but you


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 48 of
                                      203

                                                                  Page 48
   1 don't have any specific information or instances to
   2 provide us with any specific rule that you believe
   3 or know factually to be not properly passed?
   4             MR. LUBLINER:      Form.
   5        A.   I can't point to a specific thing because
   6 the board and Mary had all the information, and I do
   7 not.   They would know.      They or maybe Donna
   8 Childrey, the new manager, might know.           When I
   9 asked, I didn't get it, so I don't know.
 10         Q.   So did you make a formal request for
 11 documents to the new property management company?
 12         A.   I did.    I did.
 13         Q.   You did?
 14         A.   Yes.
 15         Q.   Okay.    You didn't get a response?        This is
 16 your position?
 17         A.   Not to that part of my question.
 18         Q.   Okay.
 19         A.   I can't see you anymore.        I'm still
 20 looking at your screen, but I can't see people.
 21              MR. LUBLINER:      When it is appropriate, I
 22         don't want to interrupt your questioning, but
 23         can we take a five-minute bathroom break?
 24              MR. ISRAEL:     Absolutely.     Just do it now.
 25         Be back in five minutes.        Thank you.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 49 of
                                      203

                                                                  Page 49
   1             (Recess taken from 10:48 a.m. until 10:57
   2       a.m.)
   3       Q.    (By Mr. Israel) Ms. Manzo, are you ready?
   4       A.    Yes.
   5       Q.    Let me ask you a question.         I should have
   6 asked you earlier.       What did you do to prepare for
   7 this deposition?
   8       A.    I spoke to my lawyer and --
   9       Q.    Who's that?
 10              MR. LUBLINER:      Val, I instruct you not to
 11        answer the question.
 12              MR. ISRAEL:     I don't want to know what you
 13        spoke about.     She spoke to her lawyer.
 14        A.    Yeah, Mr. Lubliner.
 15        Q.    (By Mr. Israel) You spoke to Mr. Lubliner.
 16 Don't tell me what you said.          I'm not asking you that.
 17 Anything else?
 18        A.    I looked through some of the e-mails.
 19        Q.    So let's go on.      I think we discussed the
 20 issue of the rules, if I understood your testimony
 21 correctly, that you have some issues with some of
 22 the rules and whether they are outdated or properly
 23 passed or not.
 24        A.    Yes.
 25        Q.    Would that be accurate?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 50 of
                                      203

                                                                  Page 50
   1       A.    Yes.
   2       Q.    Now, on January 4th, I guess your
   3 husband -- his name is Tom?         Is that his name?
   4       A.    Yes, Tom.
   5       Q.    Is it okay if I call him Tom?
   6       A.    Okay with me.
   7       Q.    Tom wrote to Mr. Lepselter.         I guess you
   8 were negotiating with Mr. Wilcox the lease terms.
   9 Is that what this e-mail would be about?
 10        A.    This was a very early on negotiation, yes.
 11        Q.    And in this negotiation, there was a
 12 discussion, number three, for renewal option,
 13 correct?
 14        A.    Correct, which was changed at the time we
 15 were discussing this.
 16        Q.    Say that one more time.
 17        A.    Number three and number four were early
 18 iterations of the negotiation.
 19        Q.    Those eventually changed, correct?
 20        A.    Correct.
 21        Q.    Did you -- since you testified earlier
 22 that you never had a two-year lease, did you ever
 23 ask anybody at the Association whether two-year
 24 leases were permitted?
 25        A.    I never -- I only spoke to Mary about


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 51 of
                                      203

                                                                  Page 51
   1 anything.
   2       Q.    Did you ever ask Ms. McFadden whether
   3 two-year leases were permitted?
   4       A.    I did not ask May that, no, as I recall.
   5       Q.    Some of these items later on changed,
   6 right?
   7       A.    Correct.     They changed later on.
   8       Q.    Were you concerned about an early
   9 termination by the tenant?
 10        A.    No.
 11        Q.    Was there any suggestion that he was only
 12 going to be there for a limited period of time?
 13        A.    No, there was no concern.
 14        Q.    Why was four being discussed?
 15        A.    In the past when I was a landlord in other
 16 cases, at times we negotiated the tenant's time for
 17 a mutually agreeable early termination option.              That
 18 did not become the case here where either could
 19 terminate on 90 days' notice because things happen.
 20 And although it might be unusual, it was always my
 21 belief that as long as you work together, sometimes
 22 the tenant can get out, sometimes the landlord needs
 23 to get out for good reasons, so perhaps that's a
 24 negotiated item that the tenant can get out.             He
 25 gives me 90 days, I find the next tenant, he can get


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 52 of
                                      203

                                                                  Page 52
   1 out.   If I need to sell, I give him 90 days' notice
   2 to find a new place to live, I can get out.
   3             So in the past, I built in 90-day outs
   4 because I thought that was fair.          As long as it was
   5 negotiated, it was fair for both sides.
   6        Q.   Such as was your experience as a landlord?
   7        A.   That's correct.
   8        Q.   To have that kind of language in the
   9 lease, correct?
 10         A.   That is correct.
 11         Q.   And here there is a note I guess we
 12 alluded to about service dogs couldn't -- you
 13 couldn't charge a deposit for a service animal?
 14         A.   It was Tom who found out that there are
 15 special rules about service animals and fees.
 16         Q.   When did you first find out that
 17 Mr. Wilcox had an animal or dog with him?
 18         A.   I believe I found out quite early in the
 19 negotiation that he had a service animal because he
 20 had that service animal before he became interested
 21 in 303.
 22         Q.   And do you know what Mr. Wilcox's service
 23 animal does for him?
 24         A.   No, I don't.
 25         Q.   Did you ever ask?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 53 of
                                      203

                                                                  Page 53
   1       A.    No.   I don't know if it is lawful to ask.
   2       Q.    Do you know what to this day the service
   3 animal does for Mr. Wilcox?
   4       A.    I still do not know what the service
   5 animal does.
   6       Q.    And this is a service animal, emotional
   7 animal?
   8       A.    That's correct.
   9       Q.    Do you know, were you ever told what
 10 training this animal had in order to assist
 11 Mr. Wilcox?
 12        A.    I know that Mr. Wilcox still does 14-page
 13 documents detailing everything and submitted it.
 14 You know, I believe he submitted it in advance, and
 15 it was -- I was told by Mary that it was approved,
 16 and I was also told by Mary that it would be better
 17 by a lawyer of her choosing or the board's choosing.
 18 I didn't know which, and I left it in their hands.
 19        Q.    So in your mind, you knew that there would
 20 be an animal and as long as the Association approved
 21 it, you didn't object to the animal?
 22        A.    It is unlawful to object.
 23        Q.    I'm sorry?
 24        A.    It would have been unlawful for me to
 25 object to a tenant service animal.           It would have


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 54 of
                                      203

                                                                  Page 54
   1 been a violation of federal law, so I didn't.             Once
   2 he got permission, he was good to go.
   3       Q.    And that animal didn't -- did Mary --
   4             Did you have a conversation with Mary
   5 where Mary advised you that the Association's
   6 attorney was reviewing the service animal
   7 obligation?
   8       A.    There were many e-mails back and forth
   9 about the animal.      Many.    And I'm sure you have them
 10 all.
 11        Q.    And you recall where you were told that
 12 the association's attorney was doing that?
 13        A.    When we found out that Mr. Wilcox had a
 14 service animal, I informed Mary.           That was -- it was
 15 my duty to inform Mary.         I did not speak with anyone
 16 on the board about the animal.          I informed her and
 17 said to her in many e-mails what do you need from me
 18 for Mr. Wilcox, and on many instances there was
 19 discussion back and forth almost always in e-mail
 20 about the animal, about what it meant, and there was
 21 one -- it was either a phone call or e-mail where
 22 she said to me there is a process.           We have a
 23 lawyer.     We will speak to the lawyer.         He
 24 investigates and then he reports to us.
 25              Again, I don't know who reported to Mary,


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 55 of
                                      203

                                                                  Page 55
   1 who reported to the board.        I wasn't involved in
   2 that level of discussion.        He lets us know that this
   3 is a legitimate service animal, and then will tell
   4 you he may -- your tenant, your prospective tenant
   5 may have the animal.
   6       Q.    There is an e-mail from Mary to you?
   7       A.    I didn't say it was in an e-mail.          It
   8 could have been a phone call.         I could look at my
   9 e-mails.    You have my e-mails to Mary.         We produced
 10 them.     You got the production.
 11              It could have been a phone call.          It could
 12 have been an e-mail, but she told me about the
 13 process, and they followed the process.
 14        Q.    On January 5th, you got a confirmation.
 15 This is an e-mail I guess from Roy Gelber to
 16 Lepselter where they confirmed that neither
 17 Mr. Wilcox nor Ms. Luchey are smokers, don't plan to
 18 smoke in the unit, correct?
 19        A.    That's correct.
 20        Q.    That was taken off the negotiations?
 21        A.    Uh-huh, yes.
 22        Q.    That was on or about January 5th, 2021,
 23 correct?
 24        A.    Correct.
 25        Q.    Now, up until January 5th, 2021, the


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 56 of
                                      203

                                                                  Page 56
   1 starting date for Mr. Wilcox to move in is
   2 January 25th, but there is no signed lease up to
   3 that point, right?
   4       A.    There could be no signed lease because we
   5 still didn't know about the dog.
   6       Q.    You are still negotiating, correct?
   7       A.    And we were still negotiating, that's
   8 correct.
   9       Q.    Okay.    So here is an e-mail in the morning
 10 of 9:48 a.m. from you to Mr. Lepselter.
 11              Who is mmpfeiff?
 12        A.    That's my of counsel.
 13        Q.    That's a lawyer in your firm?
 14        A.    She is in her firm.       She is of counsel to
 15 me.
 16        Q.    She was helping you with this transaction
 17 or this lease?
 18        A.    On occasion, she was consulted.
 19        Q.    And this is to advise Mr. Lepselter how
 20 payments were going to be made, correct?
 21        A.    Yeah.    I wanted to assure him that he
 22 would be paid.
 23        Q.    The money was -- Mr. Wilcox was paying
 24 under the lease, it was coming to La Pensee 303,
 25 LLC, and La Pensee was going to make payment to the


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 57 of
                                      203

                                                                  Page 57
   1 realtor?
   2       A.    That's correct.
   3       Q.    Going to an escrow account?
   4       A.    Yes.
   5       Q.    Was Ms. Luchey going to be a tenant under
   6 the lease or was she just going to be a guest of
   7 Mr. Wilcox?
   8       A.    Initially, I was under the impression she
   9 would be a tenant.       It later became that she was not
 10 a tenant, but she was a legal resident because she
 11 submitted an application, she paid the $150 fee.
 12 She was given a pool pass, a parking pass, all the
 13 authority of a resident.         She was never a guest.
 14 She was also never a tenant.
 15        Q.    She was not a party to the lease?
 16        A.    That's correct.
 17        Q.    And why was Ms. Luchey not a party of the
 18 lease?
 19        A.    I don't know.
 20        Q.    Is that something that was requested by
 21 your side or something that was requested by
 22 Wilcox's side?
 23        A.    I would -- I requested that she sign, and
 24 she did not.      What -- how it came to be, I don't
 25 know.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 58 of
                                      203

                                                                  Page 58
   1       Q.    You would have preferred Ms. Luchey sign
   2 on the lease if she was going to be residing in the
   3 unit, correct?
   4       A.    Yes.
   5       Q.    That's not what eventually happened?
   6       A.    That is correct.
   7       Q.    But as of January 5th, 2021 when
   8 negotiations were going on regarding the lease, you
   9 expected Ms. Luchey to be a tenant under the lease?
 10        A.    Yes, that is correct.       That's correct.      I
 11 expected in the process, yes, to be a tenant.
 12        Q.    Were you also asking for Ms. Luchey's
 13 current address prior to La Pensee?
 14        A.    Current -- I don't follow you.
 15        Q.    There is an e-mail here from January 5th.
 16        A.    Right.
 17        Q.    Last name and address as well.
 18        A.    Correct.
 19        Q.    Was there a reason you needed Ms. Luchey's
 20 then current address?
 21        A.    Well, on January 5th, I thought she was a
 22 tenant.     I still thought that, so I would have put
 23 her in the tenant space, her name and address.
 24        Q.    On January 5th, you were asking for an
 25 application for Mr. Wilcox and Ms. Luchey to fill


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 59 of
                                      203

                                                                  Page 59
   1 out to move into -- to be approved to move into
   2 La Pensee Condominium?
   3       A.    Yes.
   4       Q.    And you eventually did receive that from
   5 Ms. McFadden?
   6       A.    No.
   7       Q.    You never received the application?
   8       A.    Eventually, I did, but I believe the blank
   9 one, which is what we were looking for, was given
 10 either to Mr. Gelber or directed to Mr. Wilcox.              I
 11 don't know how he got it, but we got it and he
 12 filled it out.       Eventually, I did receive a filled
 13 out one.
 14        Q.    Let me show you --
 15        A.    Must have put her address.         I thought she
 16 would --
 17              I'm sorry.     You don't have a question for
 18 me.
 19        Q.    This is -- it is called Standard Lease
 20 Agreement.
 21        A.    Yes.
 22        Q.    And was this an iteration of a lease that
 23 was prepared for the 303 condominium unit with
 24 Mr. Wilcox?
 25              MR. LUBLINER:      Show us the whole document,


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 60 of
                                      203

                                                                  Page 60
   1       please.
   2       A.    Up until that point, it is an early
   3 unsigned version of the lease.
   4       Q.    This was prepared by you or your office?
   5       A.    That is correct.
   6       Q.    This was sent to Mr. Lepselter, and he
   7 sent it over to Mr. Gelber for Mr. Wilcox to review,
   8 correct?
   9       A.    I assume that's what it is.         I don't know
 10 for a fact, but it ended up in the hands of
 11 Mr. Wilcox I would imagine.
 12        Q.    It is an early draft document, and every
 13 page seems to be in this draft lease, correct?
 14        A.    Correct.     It seems to be, yes.
 15        Q.    This is dated January 25th, 2021, and it
 16 has La Pensee 303 as the landlord and Mr. Wilcox and
 17 Ms. Luchey as tenants, correct?
 18        A.    Correct.
 19        Q.    In this iteration, there is a
 20 January 25th, 2021 start date and an end date of
 21 January 24th, 2022, correct?
 22        A.    Correct.
 23        Q.    And the total amount for this lease paid
 24 January 15 -- by January 15, 2021 was $46,800 plus
 25 $3,900, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 61 of
                                      203

                                                                    Page 61
   1       A.    Correct.
   2       Q.    Now, this particular document was not
   3 actually signed, correct?
   4       A.    That's correct.
   5       Q.    There were further negotiations and
   6 changes, right?
   7       A.    That's correct.
   8       Q.    And you had an early termination provision
   9 in here?
 10        A.    Yes, that's correct.
 11        Q.    I highlighted it.
 12              In any event, early termination talks
 13 about domestic violence.
 14              Why would you have domestic violence?           Is
 15 there a reason why you have domestic violence, early
 16 termination by one of the tenants?
 17        A.    Not for these two.       Just in general.      I
 18 think in New York State you have to let a tenant out
 19 if they have been subject to domestic violence.              So
 20 I think this is just as a matter of routine I put it
 21 into all of my leases, and I certainly would let a
 22 victim of domestic violence out of a lease she had
 23 with me or he.       So I think I just include that all
 24 the time.
 25        Q.    It wasn't in -- I'm sorry.         Go ahead.


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 62 of
                                      203

                                                                  Page 62
   1       A.    I think in New York it might be required,
   2 and that is why I put it in.
   3       Q.    It wasn't anything in particular that you
   4 suspected or knew at the time you put this in?
   5       A.    Oh, no.    No, no.    Nothing -- I knew
   6 nothing to make me put that in.         I would imagine if
   7 I look at the other two leases, it probably has
   8 that, too.     I don't know.
   9       Q.    Do you know if there's any domestic
 10 violence issues between Ms. Luchey and Mr. Wilcox?
 11        A.    No.   None at all.
 12        Q.    Nobody has informed you of any such thing,
 13 correct?
 14        A.    No, no.    Definitely not.
 15        Q.    This version of the lease has a provision
 16 for renewal?
 17              MR. LUBLINER:      Form.
 18        A.    I don't -- I don't know.        I have to look.
 19 I'm sorry, I have to look at it again.            I don't
 20 remember.
 21        Q.    I was looking for it, too.
 22        A.    I was always interested in keeping the
 23 same tenant, but I don't remember if this particular
 24 iteration provided such.
 25        Q.    I'm going to scroll down slowly, and you


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 63 of
                                      203

                                                                  Page 63
   1 tell me --
   2       A.    I think it might be above.         You scrolled a
   3 little too quickly.
   4             Oh, this provides for possible extension,
   5 which this paragraph got changed completely.            But,
   6 initially, we offered to extend it, the option of
   7 both.
   8       Q.    So the lease contemplated a possible
   9 extension at or before the conclusion of this term,
 10 the current term?
 11        A.    Yes.
 12        Q.    That was eventually negotiated
 13 differently, right?
 14              MR. LUBLINER:      Form.
 15        A.    It was negotiated to end in a different
 16 fashion.
 17        Q.    Were any of these terms reviewed by the
 18 Association prior to execution of the lease?
 19              MR. LUBLINER:      Form.
 20        A.    I wouldn't know the answer to that.
 21        Q.    Do you know if --
 22        A.    Oh, wait a minute.       I do know the answer.
 23 I think Mr. Rosati may have had a copy of it when he
 24 met with Mr. Wilcox, but I don't know.            You have to
 25 ask Mr. Rosati.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 64 of
                                      203

                                                                  Page 64
   1       Q.    Do you know what version Mr. Rosati would
   2 have had --
   3       A.    No.
   4       Q.    -- before he met Mr. Wilcox?
   5       A.    No, I would not know.
   6       Q.    You weren't at that meeting?
   7       A.    No, I wasn't involved at all.
   8       Q.    There is a retaliation provision in this
   9 lease.     Can you tell me why you put that in the
 10 lease, what for?
 11        A.    I think this is standard information for
 12 me.    You know, I've been practicing 42 years.            You
 13 end up with paragraphs from -- as you well know,
 14 from all kinds of agreements, and, you know, other
 15 lawyers' documents and so on.          There wasn't anything
 16 anticipated that would make me put that in.             For me,
 17 that was a standard paragraph.
 18        Q.    You weren't expecting to decrease or
 19 cancel services?
 20        A.    No.   I have never done that.        I've been a
 21 landlord since 1985, and I've never ever done that.
 22 And I have a hunch this is also a requirement in New
 23 York that you are not permitted to do retaliatory
 24 things, utilities increasing, failure to repair.              I
 25 believe that this is probably a New York thing.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 65 of
                                      203

                                                                  Page 65
   1       Q.    You didn't expect that you were going to
   2 do that?
   3       A.    No.    I certainly wouldn't do that, no.
   4       Q.    And Mr. Wilcox, did he ask you to put this
   5 provision in?
   6       A.    No, he did not.
   7       Q.    There is this thing in here, and it is in
   8 bold.    I presume this was added by you?
   9       A.    Yes.
 10        Q.    "Mary McFadden will, per La Pensee rules,
 11 submit medical records provided by tenant
 12 establishing need for this animal to be a service
 13 animal to a lawyer hired by the board for
 14 confirmation of same."
 15        A.    There is no question.       What is the
 16 question?
 17        Q.    What was the reason to add this in?
 18        A.    This was to clarify what I had been told
 19 by Ms. McFadden that she told me per the rules --
 20 again, I don't know if she was right or wrong, but
 21 she had told me per the rules she was to submit
 22 whatever Mr. Wilcox gave her to an attorney of the
 23 choosing of the board or our choosing, I don't know
 24 who, to establish the need for the animal and that
 25 she would let me know the end result.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 66 of
                                      203

                                                                  Page 66
   1             I was telling -- I put it in there so he
   2 would know there is a process of which I'm not
   3 involved.     It involves the board and Mary and a
   4 lawyer, not me.
   5       Q.    You said the board and Mr. Wilcox filled
   6 out an application for the service animal.            Do you
   7 know if he provided medical records also?
   8       A.    You have to ask him that, but I believe
   9 so.   I believe he did.      Although I have since
 10 learned that inquiring as to the medical needs may
 11 be prohibited by federal law, but I don't know.              I'm
 12 not an expert in this area, so I don't know if he
 13 did or he didn't.       I think he did.      You have to ask
 14 him.
 15        Q.    Whatever he provided, the Association
 16 eventually approved the animal, correct?
 17        A.    Yes.
 18        Q.    So on January 6, the tenant's application
 19 was obtained and sent by your husband, Tom, to
 20 Mr. Lepselter, correct?         Is that what this is?
 21        A.    This appears to be so, yes.         This appears
 22 to be Tom assisting Ed by forwarding a better
 23 version of the renter's application, which I believe
 24 was generated by La Pensee.
 25        Q.    So by January -- it appears on January 5th


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 67 of
                                      203

                                                                  Page 67
   1 your application has been requested.           By January 6,
   2 you have obtained a copy of the application,
   3 correct?
   4       A.    Yeah.    That is why I remember it, because
   5 Tom did it, yeah.
   6       Q.    And do you recall whether this is an
   7 accurate copy of the application that was found in
   8 Mr. Lepselter's files, production?
   9       A.    I couldn't tell you what was in
 10 Mr. Lepselter's file.        It appears to be the one
 11 that -- that much later, we did get a copy of it
 12 filled out, but, initially, once we forwarded it
 13 empty, we sent it to Ed and didn't ask for it back
 14 because it was meant to go to the Association -- to
 15 Mary.     It was meant to go to Mary McFadden.
 16        Q.    You did not see the filled out application
 17 at the time, but later on you received a copy of it,
 18 the filled out application?
 19        A.    Yeah.    I believe I had it at some point.
 20 Not on January 6th, 7th or 8th, but at some point it
 21 comes to us.      I couldn't tell you when.        I don't
 22 remember when.
 23        Q.    Do you recall having to sign the last page
 24 of the application?
 25        A.    No, I don't, but I'm sure if Ed told me to


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 68 of
                                      203

                                                                  Page 68
   1 do it, I did it.
   2       Q.    You would have done that and confirmed it?
   3       A.    Yes.
   4       Q.    Here is the signature page; is that
   5 correct?
   6       A.    Yes.
   7       Q.    And just the application, was Mr. Wilcox
   8 and Ms. Luchey's names on it, correct?
   9       A.    Correct.     Correct.
 10        Q.    That is your signature, right?
 11        A.    Yes.    That is my signature and Mr. Wilcox.
 12        Q.    This application, it doesn't have a
 13 signature for Ms. Luchey, correct?
 14        A.    Correct.
 15              Well, I believe they each signed a
 16 separate one perhaps.        There is only room for one
 17 signature here.       Maybe she filled out a different
 18 one.
 19        Q.    Do you recall signing her application as
 20 well?
 21        A.    No, I don't recall, but I know she paid a
 22 separate fee.       They each paid a fee.
 23        Q.    Those fees were paid directly by
 24 Mr. Wilcox and Ms. Luchey?
 25        A.    That's correct.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 69 of
                                      203

                                                                   Page 69
   1       Q.    How do you know they paid a fee?
   2       A.    I think I saw checks, and I was told by
   3 Mary they paid.
   4       Q.    On January 6, I guess you were back and
   5 forth with Mr. Lepselter regarding some changes to
   6 the draft lease, correct?
   7       A.    Right.    Yes.   I remember this.
   8       Q.    Tell me about this.
   9       A.    Well, Mr. Wilcox, as it says here, he
 10 wanted a guarantee that the rent would stay at four,
 11 and I said, well, if that's what he wants, it can't
 12 be that optional.       If it were strictly an option to
 13 renew, then I would maybe raise the rent.             So I said
 14 if he wants the rental at a rate to remain fixed, he
 15 has to sign a two-year lease and then forget the
 16 90-day out.
 17              So if he wants the current rate -- and it
 18 could have gone the other way.          When you exercise an
 19 option to renew, the new rate applies then.
 20              So he wanted security, I wanted a longer
 21 term.     Knowing this one-year rule, I didn't want to
 22 get caught up again with the one-year rule.             So I
 23 figured it is cheaper for me to just go two years.
 24        Q.    At this time, you did not have a
 25 conversation with anybody at the Association


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 70 of
                                      203

                                                                  Page 70
   1 regarding the two-year lease, right?
   2       A.    No, I did not.      I never talked to the
   3 Association.     I mean --
   4             You mean the board or who do you mean?
   5       Q.    Let's start with did you ever talk to --
   6             You said most of your conversations were
   7 with Mary McFadden.       Did you ever speak to Mary
   8 McFadden about how long the term could be for this
   9 lease?
 10        A.    I don't think I did.
 11        Q.    Did you ever read the Association's rules
 12 and regulations or bylaws dealing with rentals?
 13        A.    I did.
 14        Q.    Prior to the execution of the final lease
 15 agreement with this unit with Mr. Wilcox?
 16        A.    I reviewed the rules and regs when I
 17 purchased in great detail.         If I got new ones from
 18 Mary, each time I got new ones, I read them.
 19              Did I memorize the rules?        No, probably
 20 not.
 21              I never saw the limitation, and you can't
 22 have a two-year lease, ever.
 23        Q.    Do you recall seeing anything regarding --
 24        A.    Just the once a year part.         I remember
 25 seeing that.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 71 of
                                      203

                                                                   Page 71
   1             I think right now there is no limitation
   2 on two-year leases.
   3       Q.    Did you ever find that out with either
   4 Ms. McFadden or anyone on the board?
   5       A.    Did I ever think it?       No, no, because I
   6 never paid attention.       Why would they care?
   7             I think they would like the stability of
   8 the person that sticks around instead of having
   9 transients.     That's the whole point of the one-year
 10 lease.      It's not an airbnb.      You don't have
 11 transients coming and going, which nobody likes.
 12              Me as an owner, I still live there.           I
 13 don't want transients coming and going.            So I am an
 14 owner.      I am going to live there after we rent.            So
 15 I was all for the no transient idea.            To me, two
 16 years is stability.        That's the same person for two
 17 years as an owner and as a landlady.            As an owner,
 18 that's a good thing in my opinion.
 19        Q.    That's your opinion, correct?
 20        A.    That's my opinion.
 21        Q.    Your view?
 22        A.    My view.
 23        Q.    Never --
 24        A.    As a landlord.
 25        Q.    I'm sorry?


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 72 of
                                      203

                                                                  Page 72
   1       A.    My view as a landlord in a multiple
   2 dwelling is stability.       It is better than
   3 transients.     My personal opinion.
   4       Q.    You never verified, though, whether the
   5 board allowed your lease; would that be a fair
   6 statement?
   7       A.    It would a fair statement that I have
   8 never seen a limitation in any of the iterations of
   9 rules and regs that have ever been sent.            Never been
 10 a rule that says you can't have a two-year lease.
 11 There was no lease requirement.
 12        Q.    So is it your position that the lease
 13 could be indefinite or five years maybe?
 14        A.    Is it my position now?        I think, yeah.     I
 15 think so.      I think if I can find somebody that
 16 wanted a five-year lease, they checked out and I
 17 vetted them, I would sign them because the rules
 18 don't say that.
 19        Q.    You just said it's your position now.
 20 What was your position in early January of --
 21        A.    The same.
 22        Q.    -- of 2021?
 23        A.    Yes.    I'm sorry.    What was my position as
 24 to --
 25        Q.    On January 5th or 6th of 2021, the same?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 73 of
                                      203

                                                                  Page 73
   1       A.    The same.
   2       Q.    No limitations?
   3       A.    No limitations.
   4       Q.    Once the Association approved the tenant,
   5 whether a term -- you and the tenant, you as
   6 landlord and the tenant decided that's what the
   7 tenant would stay, that's your position?
   8       A.    That's my position.
   9       Q.    Do you recall this e-mail to Ed -- I
 10 believe it's the same one we just looked at,
 11 correct?
 12        A.    A little different, but I do recall having
 13 a further conversation.         There was a lot of
 14 conversations back and forth in e-mail, yes.
 15        Q.    There was a lot of negotiating going on
 16 regarding the term, the renewal, the price and so
 17 on, correct?
 18        A.    You are correct.
 19        Q.    The Association or Mary McFadden were not
 20 involved in any negotiation or changes to the lease
 21 or terms that were changed or moved or modified
 22 between you and Mr. Wilcox, correct?
 23              MR. LUBLINER:      Form.
 24        A.    I don't know what the board knew or what
 25 Mary knew, because this was a third lease with


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 74 of
                                      203

                                                                  Page 74
   1 Mr. Lepselter, and all of my discussions were had
   2 with Mr. Lepselter.       He then conveyed this
   3 presumably, and I don't know this, to Gelber and
   4 then to Mr. Wilcox.       I only spoke with Mary and Ed
   5 and her.
   6       Q.    Did she ever have a conversation with Mary
   7 McFadden regarding the terms of the lease that were
   8 being discussed with Mr. Wilcox?
   9       A.    I don't remember a specific conversation
 10 with Mary, and I don't think I saw an e-mail -- I
 11 produced all the e-mails -- as to the term, but I
 12 thought she had -- she had the lease, so she would
 13 know.
 14        Q.    She had -- she eventually had the lease,
 15 but not while when you and Mr. Wilcox were
 16 negotiating, correct?
 17              MR. LUBLINER:      Form.
 18        A.    I don't know when she first got the lease.
 19 Right this second, I couldn't tell you when she
 20 first got it, but clearly she should have had it by
 21 the time he got the key because she gave me the
 22 green light to let him move in.          At some point
 23 between January 5th and January 25th, Mary McFadden
 24 had the lease because she said green light, your guy
 25 can move in.      Pool passes.     He got the whole


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 75 of
                                      203

                                                                  Page 75
   1 enchilada.     Everything he had to get.        Two tenants
   2 living there.
   3       Q.    At some point between the 5th, as you say,
   4 and the 25th, Ms. McFadden would have received a
   5 lease --
   6       A.    Correct.
   7       Q.    -- correct?
   8       A.    Correct.
   9       Q.    But between the beginning of January 2021
 10 and the execution of the final lease, Ms. McFadden
 11 was not given a copy of the different iterations of
 12 the lease, the changes and provisions of the lease;
 13 is that correct?
 14        A.    I don't know that.       I don't know that.      I
 15 don't know what she was getting.           I didn't --
 16        Q.    Were you sending her copies of the lease?
 17        A.    No.   I wasn't sending her.        Ed was.
 18        Q.    She was not --
 19        A.    Not from me, but you said she wasn't
 20 getting it.      I can't say that.      She dealt with other
 21 people.
 22        Q.    Other people would have been Ed Lepselter?
 23        A.    Ed, Roy, David.      You asked me today if she
 24 never got it.      I don't know that she never got it.
 25        Q.    From you?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 76 of
                                      203

                                                                    Page 76
   1       A.    No.   Not from me, no.
   2       Q.    She never got the different iterations of
   3 the lease from you?
   4       A.    Correct.
   5       Q.    You didn't think it was necessary to
   6 include either Ms. McFadden or the board in your
   7 negotiations with Mr. Wilcox; would that be an
   8 accurate statement?
   9       A.    I was told by Mary McFadden that he had
 10 his application waiting on his residence and his
 11 animal, and he would be -- and he and she would be
 12 investigated.      The credit would be pulled, the
 13 animal would be researched, and then they would let
 14 me know if he could move in -- if they could move in
 15 if they were accepted.
 16              And at that point, Ms. McFadden would have
 17 a lease that was signed by both signers.             When all
 18 of those things cleared, he moved in, end.
 19        Q.    My question was a little bit different.
 20        A.    Okay.    What is the question?
 21        Q.    I asked whether you were negotiating with
 22 Mr. Wilcox, you, not -- I'm not asking what
 23 Mr. Lepselter was doing.         I'm not asking what the
 24 lawyer was doing or what Mr. Wilcox was doing.              I
 25 asked a different time.


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 77 of
                                      203

                                                                  Page 77
   1             What I'm asking you is you were not
   2 talking to Mary McFadden or the board with different
   3 iterations of negotiations of the lease that
   4 eventually was signed by you and the tenant?
   5       A.    Correct.     I never sent anything directly
   6 to the board.     I had been instructed with the other
   7 two tenants that my dealings were through Mary
   8 McFadden.     She is the one to send it to, not John
   9 Lawson, not Mr. Rosati or anybody else on the board.
 10 Deal with Mary.       She is our -- she runs the
 11 building.      You deal with Mary.      I was told that from
 12 2018.
 13        Q.    Okay.    Who told you that, to deal with
 14 Mary McFadden?
 15        A.    Mr. Lepselter in relation to the purchase
 16 said to move, that Alison Landon told Ed that Mary
 17 McFadden was the one who would give me all the
 18 documentation that I was requesting in my due
 19 diligence search to determine whether or not this
 20 was the building that I was buying.           So Ed told me
 21 Mary McFadden has all the documentation that you
 22 need while you are doing your due diligence to
 23 purchase.      That's who --
 24        Q.    Ms. McFadden was not making any decisions?
 25        A.    No.   No.    All I know is that he told me


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 78 of
                                      203

                                                                  Page 78
   1 that this is the person you deal with now.            You talk
   2 to Mary or -- whatever.        You talk to Mary McFadden.
   3 You want financials, you want the bylaws, you want
   4 the declaration, you want to know this or that or
   5 the other thing, rules and regs, you talk to Mary,
   6 and that never changed.
   7       Q.    But Mr. Lepselter never told you if you
   8 want someone to make a decision, only go to
   9 Ms. McFadden to make the decision regarding the
 10 lease?
 11        A.    I didn't even know who ran the place.           Who
 12 else am I going to talk to?          Every decision was
 13 conveyed to me by Mary.         I never -- I didn't chat
 14 with John Lawson.       I didn't chat with Mr. Rosati.          I
 15 only ever spoke to Mary.
 16              I remember --
 17        Q.    And --
 18        A.    -- I was not invited to reach out to the
 19 board.
 20        Q.    I'm sorry?
 21        A.    I was not invited to reach out to the
 22 board.      The one time I recall doing it is when we
 23 had a problem with the date, and Tom spoke directly
 24 with Mr. Lawson, who basically didn't say anything.
 25 He punted it back to Mary.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 79 of
                                      203

                                                                  Page 79
   1       Q.    Since you bought the unit in April of
   2 2018, did you ever attend any board meeting?
   3       A.    Yes.    If I knew about them, I attended
   4 them.    I think I pretty much attended them all.
   5 Whenever they were properly noticed, I would go.
   6 It's my habit.
   7       Q.    Did you ever bring up any issues with
   8 communication with the board at any of those
   9 meetings?
 10        A.    No.
 11        Q.    Did you bring up any concerns that you
 12 had, what was going on in the building, how the
 13 Association was being run at any of those meetings?
 14        A.    No.
 15        Q.    Did you ever volunteer to run for the
 16 board --
 17        A.    No.
 18        Q.    -- when you purchased the unit?
 19        A.    No.    No.   I thought about it.
 20        Q.    I'm sorry?
 21        A.    I thought about it, but I didn't.
 22        Q.    You didn't do it.
 23              So this is I guess an e-mail from
 24 January 7 while you guys are still continuing to
 25 finalize --


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 80 of
                                      203

                                                                  Page 80
   1       A.    Yes.
   2       Q.    -- your --
   3       A.    Still negotiating.
   4       Q.    -- your lease with Mr. Wilcox.          Your
   5 husband to Ed copying you.
   6             Can you tell me a little bit about what
   7 this e-mail is talking about?
   8       A.    This is Tom DeMarinis making it clear this
   9 is a two-year lease and saying to -- I believe to
 10 Mary -- I don't know, saying to Ed -- saying to Ed
 11 and copying me, okay.
 12        Q.    Mary is not in this e-mail, correct?
 13        A.    No.    Mary is not.     Apparently, Mary is not
 14 copied.
 15              So we are dealing through our agent who we
 16 hired, Ed.      It's been perfectly fine the first two
 17 times, so we had no reason not to deal directly
 18 through him.       Once you give us the green light, they
 19 would sign off the initial document, I will -- I
 20 will contact -- he will contact Mary and give her
 21 Mr. Wilcox's name and phone number so she can call
 22 him to schedule the interview, which we were aware
 23 of, and his girlfriend.         I was provided with a copy
 24 of the signed lease, didn't have one yet, along with
 25 the first amendment.        I will not be sending the


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 81 of
                                      203

                                                                  Page 81
   1 second -- the private document.
   2       Q.    What was the second -- what was the second
   3 document?
   4       A.    I don't even remember at this point what
   5 it was about, but it was something -- it had to do
   6 with him -- the signing the lease through his
   7 corporation, and then he said forget it, we don't
   8 want to cause any delay, we are waiting long enough.
   9 Let's just move forward with that.          So we never did
 10 that.
 11              It is important that we get a copy of
 12 the -- oh, right -- service dog certification so
 13 that could be forwarded.
 14              But before his approval, David and Megan's
 15 approval, I don't believe I got the service dog --
 16 they got it, but I didn't get it.
 17        Q.    Okay.    You were not involved.       That was
 18 something between them?
 19        A.    Yes.    He did it directly with Mary, with
 20 possibly the board.        I don't know.     I was
 21 uninvolved.      I just kept waiting for an answer.
 22              The previous e-mail noted that the
 23 certification was attached.          I don't have a copy
 24 yet.
 25              Can you scroll up?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 82 of
                                      203

                                                                  Page 82
   1             I will wait to hear from you in the
   2 meantime.     So, you know, we have a history with Ed.
   3 This is the third time around, and that's that.
   4       Q.    At this point on January 7th, though,
   5 there was no signed lease agreement on that date?
   6       A.    I didn't give Mary the lease, ever, in
   7 history since 2018.       This was why I hired Ed.
   8       Q.    There was no signed lease agreement?
   9       A.    No.   No.    We were still negotiating.        No,
 10 we were still negotiating.         Work in progress on
 11 January 7th I think.
 12        Q.    So according to this e-mail from
 13 Mr. Lepselter, January 7, his understanding was that
 14 Mr. Gelber was sending it?
 15        A.    Okay.    That could be.     Again, once I
 16 gave -- once I did with Ed, I left it in his hands.
 17 So the other realtor was sending everything to Mary.
 18 That was Ed's view on January 7th.
 19              What about Megan signing the lease?
 20              Yeah, which now happened.        Okay.
 21              Sending that to Mary, right.
 22        Q.    The application -- the tenancy and the
 23 application for the service dog was sent directly by
 24 Mr. Wilcox or his realtor to Mary McFadden, not to
 25 you?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 83 of
                                      203

                                                                  Page 83
   1       A.    It appears that way.       I don't really know
   2 that to be so.      It appears from the e-mail.
   3       Q.    You don't have any recollection to say
   4 otherwise?
   5       A.    I don't have any information.
   6       Q.    This e-mail is regarding the service
   7 animal, right?
   8             You had signatures.       It says, by the way,
   9 note to David.      This is what I was referencing,
 10 talking to the doc -- I presume it's doctor -- when
 11 I mentioned medical records.
 12              What does that mean?
 13        A.    Mary was of the impression that it would
 14 be unlawful for her lawyer or the board's lawyer to
 15 have a conversation with David's physician regarding
 16 his need for a service animal.          I since learned that
 17 there are -- there are lots of constraints as to how
 18 you can investigate.        Certain things are allowed,
 19 certain things are not allowed.          I'm not an expert,
 20 but I was repeating what Mary said to me, which is a
 21 lawyer would talk to his physician, meaning David's
 22 physician, regarding the need for a service animal.
 23 I was just repeating what I was told.
 24        Q.    That was a conversation, phone
 25 conversation, that you had with Ms. McFadden, that


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 84 of
                                      203

                                                                  Page 84
   1 the Association was speaking to Mr. Wilcox's doctor
   2 to confirm the need for a service animal?
   3             Is that a yes?
   4       A.    Yes.
   5       Q.    Do you recall when you had that
   6 conversation with Ms. McFadden?
   7       A.    As soon as I said there was a service
   8 animal, this gentleman had a service animal, I was
   9 told, okay, Val, this is the process, from Mary.
 10 We're going to do A, B, C and then we are going to
 11 let you know.
 12        Q.    This was not an e-mail, it was an actual
 13 call?
 14        A.    I think it was a call.        You have all the
 15 e-mails between us from the documentation drop.              I'm
 16 pretty sure this was a phone call when she described
 17 to me what was about to happen.
 18        Q.    And it would have been at or around this
 19 sixth or seventh day of January when the call would
 20 have taken place, right?
 21        A.    I don't know when the call was right now.
 22 I don't remember.
 23        Q.    In your review of e-mails, you did not
 24 find an e-mail to Mary or from Mary regarding the
 25 Association's lawyers speaking to Mr. Wilcox's


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 85 of
                                      203

                                                                  Page 85
   1 doctor, correct?
   2       A.    I don't know if there have been any
   3 e-mails sort of weekly mentioning it.           I know that I
   4 had asked several times in e-mails if the process
   5 had been completed because we still didn't know if
   6 we had a tenant, and the 25th was fast approaching,
   7 so I know there were flurry, do you have everything,
   8 do you need anything, Val, to Mary's e-mail.
   9             Mary, you have everything you need?           Just
 10 tell me what you need.        Tell me what you still need.
 11              There were several, several e-mails
 12 between us because I didn't know if Mr. Wilcox could
 13 be my tenant and Ms. Luchey.          Time was wasting.
 14        Q.    So on January 8th, there is an e-mail here
 15 from Ms. McFadden to you, and it says, "Service
 16 animal application is attached and must have his
 17 doctor fill out some information on it.            This must
 18 be approved before move in."
 19              Do you recall that?
 20        A.    Yes.
 21        Q.    It doesn't say anything about his lawyer
 22 reviewing this or discussing anything regarding it.
 23        A.    Okay.    Then you might be missing
 24 something.      I don't know.
 25              Yes.    There is me talking about -- I


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 86 of
                                      203

                                                                  Page 86
   1 wouldn't have made it up.        I know you need to
   2 contact a lawyer about looking at the service dog
   3 proof because she told me that.
   4             She said, no, I don't need to contact a
   5 lawyer.    She told me that, and I put it in an e-mail
   6 on January 7th.
   7       Q.    This is your response to an e-mail?
   8       A.    Yes.    It looks like I was responding.
   9 And, again, my effort was to get them everything
 10 they wanted, everything they could possibly want on
 11 this gentleman and his girlfriend, so that he could
 12 be approved in a timely way and use the 25th as his
 13 move-in date or to move on, go to the next step,
 14 so --
 15        Q.    Do you know if ultimately the
 16 Association's lawyer did not look at the service dog
 17 application?
 18        A.    I don't know because I wasn't involved in
 19 it.    Mary didn't tell me, yes, she made a call; yes,
 20 she read the documents.         I don't know what happened
 21 after that.      All I know is I got the green light.
 22 Eventually, I got the green light that he could move
 23 in.
 24        Q.    This is the application that was sent that
 25 eventually made its way to Mr. Wilcox for Mr. Wilcox


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 87 of
                                      203

                                                                  Page 87
   1 to complete, correct?
   2       A.    That appears to be the documentation that
   3 he filled out and submitted.         I have been told this
   4 was a 14-page document.
   5       Q.    And this document did not go to you?
   6       A.    Not at all.     No, didn't go to me at all,
   7 except to provide a blank.        Looks like she sent it
   8 to us.     Maybe we sent it to Ed.      I don't even know.
   9       Q.    This could have been sent to you from Mary
 10 for the prospective tenant to complete and you would
 11 have sent it to Lepselter to pass on to Roy Gelber?
 12        A.    Correct.
 13        Q.    You were not passing it on directly to
 14 Mr. Gelber?
 15        A.    Oh, no, no.
 16        Q.    Here is an e-mail from you to Ms. McFadden
 17 thanking her for helping you with the necessary
 18 steps to get the dog approved, correct?
 19        A.    Correct.
 20        Q.    And then you sent the form to the realtor
 21 and then, as we discussed, Ed Lepselter?
 22        A.    Yes.    Mr. Lepselter took it from there.
 23 Once I gave him anything that was required, I -- all
 24 I did is ask what happened, and occasionally he told
 25 me what happened.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 88 of
                                      203

                                                                  Page 88
   1       Q.    And then you were asking how she got the
   2 application directly from Mr. Wilcox?
   3       A.    Yes.    From I guess the 5th to the 25th, I
   4 kept asking what is happening, where are we, you
   5 know.    I was afraid we were going to lose this
   6 tenant, too, and meanwhile we are paying, you know,
   7 thousands of dollars.
   8       Q.    Do you know whether Mr. Wilcox and
   9 Ms. Luchey could move in on the 25th?
 10        A.    Very close to it.       It was a very, very
 11 long time of not being -- me not being told that he
 12 could move in.       I don't remember exactly when we
 13 found out, but it was -- it was well into January
 14 before we got the green light.
 15        Q.    Go to the bottom.
 16              This is an e-mail we saw before.          You were
 17 asking Mary if she got the application, and
 18 Mr. Lepselter says that he sent it off over to the
 19 other realtor, and he was going to send it to
 20 Mr. Wilcox, correct?
 21        A.    Yes.
 22        Q.    Then you state to Mr. Lepselter, thanks,
 23 Mary is all over it.        All over what?
 24        A.    I was assuming that she was going to do
 25 what she told me she was going to do and talk to a


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 89 of
                                      203

                                                                  Page 89
   1 lawyer and get paperwork she needed and have him
   2 conduct an investigation into the animal and give me
   3 a green light if a green light was appropriate.             She
   4 was collecting paperwork in my humble opinion, what
   5 she was actually doing.        Maybe nothing.     But I was
   6 led to believe she was looking into the animal.
   7       Q.    Eventually, Mr. Wilcox was allowed to move
   8 in with the animal, correct?
   9       A.    That is correct.
 10        Q.    And so the paperwork must have gotten
 11 processed somehow for him to eventually move in by
 12 the 25th, correct?
 13        A.    Yeah, but then all of a sudden, they told
 14 me it wasn't legit, the dog -- in the middle of July
 15 started telling me he fabricated the paperwork.              And
 16 I'm thinking how is that possible?           There was a
 17 lawyer involved.       What are you talking about?
 18        Q.    You don't know if there was a lawyer
 19 involved.      He doesn't identify --
 20        A.    What are you talking about?
 21        Q.    You don't know if there is a lawyer.           You
 22 presumed there was a lawyer?
 23        A.    That's what Mary told me.        Mary told me
 24 this is what we're going to do, Val.
 25        Q.    You don't know if that's exactly what


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 90 of
                                      203

                                                                  Page 90
   1 happened?
   2       A.    No.   I don't know exactly what happened.
   3 She told me these are the steps -- you have to go --
   4 Mr. Wilcox has to go through.         You have to wait, and
   5 that's what is going to happen.         And all of a sudden
   6 he's okay, and six months later, oh, he made
   7 everything up.
   8             How is that possible?
   9       Q.    Once they approved the dog, is it your
 10 position that the Association did not ask for any
 11 updates on the condition that the dog is supposed to
 12 be helping Mr. Wilcox with?
 13        A.    They were saying this was never good to
 14 begin with in the middle of July.           After they
 15 decided that they didn't like him, they said, oh, he
 16 made up everything about the animal.            There was no
 17 service animal all of a sudden.
 18        Q.    And who wrote that letter?
 19        A.    I don't remember who wrote the letter.
 20        Q.    It wasn't Mary McFadden?
 21        A.    Maybe it was JoAnn Burnett.
 22        Q.    Who does JoAnn Burnett represent?
 23              She is a lawyer, right?
 24        A.    JoAnn Burnett is a lawyer, yes.
 25        Q.    Do you know who she represents?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 91 of
                                      203

                                                                  Page 91
   1        A.   I think I thought she represented the
   2 Association, the board.
   3        Q.   She doesn't represent Mary McFadden, does
   4 she?
   5        A.   No.
   6        Q.   Doesn't represent MAC Residential
   7 Services?
   8        A.   No.   That I know of, no.
   9             Do you?
 10         Q.   So --
 11         A.   Do you represent MAC, Mr. Israel?
 12         Q.   I represent Mary McFadden and MAC
 13 Residential Services and Michael.
 14         A.   I didn't hear that.       Would you repeat
 15 that?
 16              MR. LUBLINER:      Michael Sparks and
 17         Mr. Israel represent MAC.
 18              MR. ISRAEL:     I said it at the beginning,
 19         but no problem.
 20              THE WITNESS:     He did.
 21         Q.   (By Mr. Israel) I represent Mary McFadden and
 22 MAC Residential.
 23         A.   Okay, both.
 24         Q.   And my co-counsel represents MAC
 25 Residential.       It is Michael Sparks, okay, in this


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 92 of
                                      203

                                                                  Page 92
   1 particular case.
   2        A.   Okay.    Understood.     Okay.
   3             Go ahead.
   4        Q.   New question.      I'm sorry?
   5        A.   Nothing.
   6        Q.   Is there somebody else in the room with
   7 you?
   8        A.   No.
   9             MR. MARCHESE:      I'm getting feedback before
 10         she responds.
 11         A.   There was no one here.
 12              MR. MARCHESE:      Anyone else getting that
 13         same feedback?
 14              THE WITNESS:     Could be my pearls making
 15         noise.
 16              MR. SPARKS:     Still going on.
 17              MR. LUBLINER:      I don't hear it.
 18              MR. MARCHESE:      I heard some.
 19              MR. ISRAEL:     I heard some noise.       The
 20         other people are on mute.
 21              MR. SPARKS:     Sounds like a kitchen faucet.
 22
 23              THE WITNESS:     No kitchen faucet.
 24              MR. MARCHESE:      Seemed to be stuff with
 25         last iteration.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 93 of
                                      203

                                                                   Page 93
   1       Q.    (By Mr. Israel) Okay.
   2       A.    I don't hear anything.
   3       Q.    Let's go back to -- the next line here on
   4 this e-mail says, "Any word on Megan?"
   5             What does that mean?       What did you mean by
   6 that?
   7       A.    Whether or not Megan would sign.
   8       Q.    You were still unsure whether Ms. Luchey
   9 was going to sign the lease or not?
 10        A.    Correct.
 11        Q.    This is midmorning or afternoon,
 12 basically, early afternoon, January 8th, 2021?
 13        A.    Correct.
 14        Q.    So it wasn't only, as you first stated, an
 15 issue that the Association was taking whatever time
 16 to process the paperwork; you at that point on
 17 January 8th did not have a signed lease, right?
 18        A.    I don't think I had a signed lease.           I
 19 just sent it on I believe the 6th.
 20        Q.    You could have had a signed lease subject
 21 to Mr. Wilcox and Ms. Luchey being approved,
 22 correct?
 23        A.    Yes.
 24        Q.    You did not have to wait until he got
 25 approved to get the lease signed?


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 94 of
                                      203

                                                                  Page 94
   1       A.    I don't think so, but until they were
   2 approved, they couldn't move in.
   3       Q.    Those are two different things, correct?
   4       A.    Yes.
   5       Q.    By January 8th, there was no signed lease?
   6       A.    I think that's correct.
   7       Q.    Do you know if any doctor signed off on
   8 Mr. Wilcox's service animal application?
   9       A.    What sort -- I don't understand your
 10 question, any doctor.
 11        Q.    I guess this is an e-mail from January
 12 10th from Mr. Lepselter to you?
 13        A.    Uh-huh.
 14        Q.    And he's talking about the service animal
 15 application, and he says, "I did forward the dog
 16 application paperwork to the other realtor when I
 17 received it, which I think was only on Friday, if I
 18 remember correctly, so the chances of all that being
 19 filled out and to Mary at this point, I am only
 20 guessing probably not happened yet, especially if
 21 the doctor needs to sign off on it."
 22              Do you know if any doctor signed off on
 23 the application?
 24        A.    No.    It sounds like Ed thought -- and,
 25 again, I can't get into Ed's mind.           It looks like he


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 95 of
                                      203

                                                                  Page 95
   1 thinks Mr. Wilcox needed to reach out to his own
   2 doctor to fill out part of this.          I don't know if
   3 that's true, but it looks like Ed thinks it has to
   4 go through him before it gets back to Mary.            I think
   5 what he's saying here, I don't think it got back to
   6 her that fast if someone else had to sign off on it.
   7 I don't know if that's true he signed off on it.             I
   8 don't know who's correct.
   9       Q.    Okay.    But did you ever see any doctor's
 10 note or sign off on a letter or affidavit or
 11 anything notating the service dog application?
 12        A.    I didn't see anything to do with the
 13 service dog application until long after they moved
 14 in.
 15        Q.    So the first time you saw the complete
 16 application was after they had moved in.             You said
 17 long after they moved in, not before?
 18        A.    I don't remember when.        Yeah, I did see it
 19 eventually.
 20        Q.    Would it be fair to say you really weren't
 21 too concerned about the service dog application as
 22 long as Mr. Wilcox completed it and the Association
 23 approved it?
 24        A.    Yes, that would be a fair statement.
 25        Q.    So this is you responding to


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 96 of
                                      203

                                                                   Page 96
   1 Mr. Lepselter?
   2       A.    Yes.
   3       Q.    Let's go back because I believe it starts
   4 earlier on January 10th further down.
   5             Here we go.
   6             Mr. Lepselter sends you an e-mail on
   7 January 10th at 8:45 a.m. that says, "Good morning,
   8 Tom and Val.     In setting up your file for the
   9 office, it appears Page 2 is missing from the lease.
 10 If you can forward that page, we would appreciate
 11 it.    Have a wonderful day.       Mary may require it
 12 also."
 13              Do you remember that?
 14        A.    Uh-huh.
 15        Q.    That was on the 10th of January.
 16              So then you responded when you were at
 17 your home office and said don't have a hard copy?
 18        A.    Correct.
 19        Q.    So far, you have not sent Mary the lease.
 20 She hasn't asked for it, correct?
 21        A.    Correct.
 22        Q.    So at this point, the application for the
 23 tenancy was in.       The dog application was in.        Not
 24 the lease, correct?
 25        A.    I don't know if the lease was in because


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 97 of
                                      203

                                                                   Page 97
   1 all I have --
   2       Q.    As of January 10th, you had not sent it to
   3 Mary and she hasn't asked for it?
   4       A.    No, I hadn't sent it.
   5       Q.    Correct.
   6       A.    He sent it because I don't send it.           I
   7 don't ever send it.       It is always sent by the
   8 realtor or by the tenant.
   9       Q.    The realtor is telling you that he is
 10 missing Page 2.
 11        A.    That is correct.      That is correct.
 12        Q.    And Mary may require it also?
 13        A.    Correct.
 14        Q.    Did you send Mr. Lepselter at that
 15 point --
 16              When you respond, you say so far we have
 17 not sent it to Mary -- did not send Mary the lease
 18 and she hasn't asked for it.
 19        A.    Correct.     So I answered you.
 20        Q.    The only thing that Mary would have at
 21 that point is a tenant application and probably the
 22 dog application?
 23        A.    No, that's not correct.
 24        Q.    What else would she have had?
 25        A.    She could have had the lease from someone


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 98 of
                                      203

                                                                  Page 98
   1 else.    I never give her the lease, ever.          This is my
   2 third time, and it's not my job to give her the
   3 lease.
   4       Q.    You don't know whether Mr. Lepselter, who
   5 did not have a complete lease, missing Page 2, had
   6 provided Ms. McFadden a copy of the lease?
   7             MR. LUBLINER:      Form.
   8       A.    He testified in the date -- I don't
   9 remember what he said, but all I know is that he had
 10 it minus the missing page, and it was his job to get
 11 it to -- either to Roy or to Mary.           But, ultimately,
 12 the realtors give Mary the lease, and that has been
 13 the practice -- that has been their practice, Ed's
 14 practice in the past two cases.          I have no reason to
 15 think he wouldn't give it to Mary now.            I assumed he
 16 gave it to her.       He gave her everything she needed,
 17 but we acknowledged that it was a standing error and
 18 Page 2 did not go through.         It had blank documents,
 19 and then I sent him the whole thing.            I expected him
 20 to give it to Mary, like he had done in every other
 21 case.
 22        Q.    Let me make sure I understand.          You don't
 23 send Mary or any property manager the lease because
 24 that's the realtor's job?
 25        A.    That is correct.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 99 of
                                      203

                                                                  Page 99
   1       Q.    Mary did not ask you for a copy of the
   2 lease, correct?
   3       A.    Had she asked me, I would have sent it.
   4       Q.    She was -- you were expecting one or both
   5 of the realtors getting a copy of the lease to Mary
   6 as part of their job?
   7       A.    Correct.
   8       Q.    As of January 10th -- was there a signed
   9 lease as of January 10th, do you recall?
 10        A.    I think, yes.      I have to look.
 11        Q.    We're going to look at the lease a little
 12 bit later.      We can verify that date.
 13        A.    I think both of us -- I think both of us
 14 had signed -- I don't know.          We have to look at the
 15 actual documents.
 16              I beg your pardon?
 17              MR. LUBLINER:      I was going to ask from a
 18        housekeeping perspective.        I want to ask when
 19        we can take a break for lunch.
 20              THE WITNESS:     Whatever you-all decide.        I
 21        don't care.     I'm fine.
 22              MR. LUBLINER:      I expect --
 23              MR. ISRAEL:     I don't know.      I mean, we can
 24        take a break.      It is not a problem.       It's going
 25        to take me -- I'm still not finished, and I


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 100 of
                                      203

                                                                 Page 100
   1        have more stuff, more e-mails to go through,
   2        but I need to be finished around 3:30 because I
   3        have to take my daughter to an important
   4        doctor's appointment.
   5              THE WITNESS:     Why don't we break now?
   6              MR. LUBLINER:     I don't know if Andrew is
   7        asking questions or if co-counsel is.
   8              MR. ISRAEL:     I think everybody is going
   9        to.   We can go off.     We can break.
  10              MR. LUBLINER:     Half hour, is that okay?
  11              THE WITNESS:     That's fine with me.
  12              MR. ISRAEL:     Can we take -- let's take a
  13        half hour.    And then -- is that okay with
  14        everybody?
  15              MR. LUBLINER:     Fine with me.
  16              THE WITNESS:     Yes.
  17              MR. ISRAEL:     Then we'll come back and
  18        we'll continue.
  19              THE WITNESS:     Return at 12:45?
  20              MR. ISRAEL:     Thank you.
  21                 (A luncheon recess was taken at 12:20
  22          p.m., and the deposition resumed at 1:00 p.m.)
  23
  24
  25


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 101 of
                                      203

                                                                 Page 101
   1                     AFTERNOON SESSION
   2        Q.    (By Mr. Israel) Ready, Ms. Manzo?
   3        A.    Yes.
   4        Q.    We were discussing --
   5              MR. ISRAEL:     Back on the record?
   6              THE REPORTER:     Yes.
   7        Q.    (By Mr. Israel) Ms. Manzo, so we were talking
   8 about this e-mail, an exchange with Mr. Lepselter on
   9 January 10th, 2021.       I think you told me a couple of
  10 things.     I wanted to make sure that we are all on the
  11 same page.
  12              So it was your testimony, if I understood
  13 it correctly, that you would not have sent a lease
  14 to the Association for their records; that was the
  15 realtor's job to do, correct?
  16        A.    Correct.
  17        Q.    And that in the past Mr. Lepselter had
  18 sent copies of the lease to the Association for the
  19 prior tenants that you had in the unit; is that
  20 correct?
  21        A.    Correct.    That is correct.
  22        Q.    And on January 10th, the previous e-mail,
  23 Mr. Lepselter is telling you that he is missing
  24 Page 2 from the lease and asking you to forward it
  25 to him, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 102 of
                                      203

                                                                 Page 102
   1        A.    Yes, which I did.
   2        Q.    In your e-mail response, it does provide
   3 that you had not sent it to Mary and she has not
   4 asked you for it, correct?
   5        A.    That's correct.
   6        Q.    But I think you also testified that as of
   7 January 10, it may have been signed, the lease
   8 already?
   9        A.    Yes, I think it was, but to the degree
  10 that we were still discussing things, we crossed
  11 things out, and, you know -- and also, I didn't --
  12 it was subject to approval of the animal by the
  13 board.
  14        Q.    Okay.
  15        A.    Whether they had done it --
  16        Q.    This e-mail says you are going to send it
  17 back, the page that's missing from the lease?
  18        A.    I sent him the whole thing.        I didn't just
  19 send him one page.
  20        Q.    I'm sorry?
  21        A.    I sent him the whole thing.
  22        Q.    You sent him the whole thing, and you have
  23 an e-mail showing that you sent him the whole thing?
  24        A.    Yes, and you have it -- you-all have it.
  25        Q.    Mr. Lepselter doesn't seem to have an


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 103 of
                                      203

                                                                 Page 103
   1 e-mail of receiving a copy.
   2        A.    Is that so?     He doesn't have an e-mail of
   3 receiving it?
   4        Q.    Not according to what he produced.
   5              Also, this e-mail from Mr. Lepselter makes
   6 inquiry about Mr. Wilcox having filled out the dog
   7 application and sending it back to Ms. McFadden for
   8 lawyer review.       That's correct, right?
   9        A.    There is a reference to that, yes.
  10        Q.    And you are asking again if Mr. Luchey is
  11 going to sign the lease and that the board is going
  12 to require that, and that's going to create a delay,
  13 correct?
  14        A.    No, I wasn't concerned about delay.          The
  15 delay I was concerned about was for a different
  16 reason.     I didn't know if the board cared whether
  17 Ms. Luchey signed or not.         I didn't have an opinion.
  18        Q.    Okay.   But you state here in this
  19 e-mail --
  20        A.    If it is the board's policy and she is not
  21 going to do so, then we'll cross that bridge.
  22        Q.    What it actually says if it is required by
  23 board policy and she is not doing it, we may have an
  24 issue?
  25        A.    Yes.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 104 of
                                      203

                                                                 Page 104
   1        Q.    If the board had required Ms. Luchey to
   2 sign the lease and you couldn't get her to sign,
   3 then that would have been an issue with regard to
   4 Mr. Wilcox having tenancy, right?
   5              MR. LUBLINER:     Form.
   6        A.    Could have been.      Could have been an
   7 issue, but it was not.
   8        Q.    Right.    It actually wasn't.
   9              The requirement was that he signed on the
  10 lease, right?
  11        A.    Well, all I know is he was approved to
  12 move in and so was she.
  13        Q.    Eventually, on January 25th, Mr. Wilcox
  14 and Ms. Luchey were approved, and they moved into
  15 the unit, correct?
  16        A.    Correct.
  17        Q.    They did not prevent them from moving in?
  18        A.    Did not prevent them from moving in.
  19        Q.    Ms. McFadden did not do anything to
  20 prevent them from moving in, correct?
  21        A.    She did not.
  22        Q.    In fact, she provided them with whatever
  23 passes or security cards, the pool, the parking
  24 garage, all the other facilities of the unit,
  25 correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 105 of
                                      203

                                                                 Page 105
   1        A.    Correct, which is why I assumed she had
   2 the entire lease, because she facilitated the
   3 movement.
   4              So if she didn't have the entire lease,
   5 what did she do?       I don't understand.
   6        Q.    Okay.   You left it upon Mr. Lepselter to
   7 make sure she had the lease.         You presumed she had
   8 the lease.     Then nobody verified whether she had the
   9 lease or not?
  10              MR. LUBLINER:     Form.
  11        A.    But as you can see in our previous e-mail
  12 communication, we were cordial.          If she needed
  13 something from me -- and you'll see in later
  14 e-mails, I kept saying do you need anything, do you
  15 need anything, what do you need over and over again,
  16 so I could move it along and make it happen.
  17              She never ever said to me I need Page 2.
  18 She never ever said to me I don't have the lease.
  19 And then she gave them the key or she authorized
  20 that he get it.
  21        Q.    It's possible that Mr. Lepselter gave her
  22 a copy of the lease with Page 2 missing and she did
  23 not have it?
  24        A.    She never pursued it.       He had the full
  25 lease, and they spoke directly to one another at


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 106 of
                                      203

                                                                 Page 106
   1 various points, as he had done in the past for me
   2 with the other two tenants.
   3        Q.    Okay.    But at some point, at least as of
   4 January 10th, Mr. Lepselter did not have a complete
   5 lease?
   6        A.    He got it on the 19th, the complete lease.
   7 Not just Page 2, the entire lease.           The one
   8 that's --
   9        Q.    Do you know whether he forwarded that
  10 completed lease?
  11        A.    Go ahead.
  12        Q.    Do you know whether --
  13              You weren't involved in the process of
  14 providing the lease on the 19th when you say he had
  15 the complete full lease, provided that lease to
  16 Ms. McFadden?
  17        A.    I don't know that, but I do know she got
  18 it in July.
  19        Q.    On January 19, there's an e-mail to
  20 Mr. Lepselter from Eleanor Lepselter asking
  21 Ms. McFadden for a certificate of approval?
  22        A.    Right.
  23        Q.    And she states that they don't issue
  24 approval letters, they provide a certificate of
  25 approval, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 107 of
                                      203

                                                                   Page 107
   1        A.    That's what she said.
   2        Q.    There is nothing in here about sending a
   3 complete lease by Mr. Lepselter, correct?
   4        A.    No.    No communication, no mention.        No
   5 mention of anything missing either.
   6        Q.    There is no e-mail so far that you have
   7 seen, as I'm scrolling down, from Lepselter's
   8 production that states here is the signed lease?
   9        A.    That is correct, but Mr. Lepselter isn't
  10 the only person who could have given the complete
  11 lease.      He could have given it to Roy.        He could
  12 have given it to Engram.        Any one of the three could
  13 have given it to Mary, which I would assume when
  14 they gave David the green light.
  15              Mr. Lepselter doesn't own there at all.
  16        Q.    Roy Gelber doesn't own there either?
  17        A.    No.    Only --
  18        Q.    The only entity that owns Unit 303 of
  19 La Pensee Condominium is La Pensee Realty, LLC?
  20        A.    Yes.
  21        Q.    Of which you are the only member, correct?
  22        A.    Correct.
  23        Q.    You as the owner of the unit did not
  24 provide the Association and did not ensure that a
  25 fully executed lease had been provided to Mary?


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 108 of
                                      203

                                                                 Page 108
   1        A.    I hired an agent, and I paid him.          I also
   2 paid a second agent.        Their job was to get Mary
   3 everything that was required and get them through
   4 the process.      That's their job.
   5        Q.    As you sit here today, you don't know
   6 whether they did that because you told me you don't
   7 know whether Mr. Lepselter eventually, ultimately,
   8 provided a fully signed lease to Mary McFadden,
   9 correct?
  10        A.    That's correct.
  11              Why did Mary tell me it was approved?           I
  12 don't understand why she would say green light, Val,
  13 he's okay, he can move in.         If she is missing
  14 something, all she had is to do was send me an
  15 e-mail.     At that time, everything was very cordial.
  16              Val, I need a full copy of the lease, Val,
  17 I need Page 2.      Nothing.    Had nothing.
  18        Q.    You don't know that she didn't get a lease
  19 without Page 2?
  20        A.    I don't know what she did.        All I know --
  21        Q.    You don't know what she did.
  22        A.    I don't know what she did, because in
  23 July, she was still looking for a lease.
  24        Q.    Right.    You don't know what she did or
  25 what she didn't do, and you are just speculating as


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 109 of
                                      203

                                                                  Page 109
   1 to what she should have done or could have done,
   2 that she may or may not have done?
   3              MR. LUBLINER:     Form.
   4        A.    She was the manager.       She was -- I was
   5 instructed to deal with her.         I had been dealing
   6 with her for three solid years.          There was no reason
   7 for me to know she wasn't going to do her job this
   8 time, as she did the last two times.
   9        Q.    So all along, you were instructed to deal
  10 with her except when it came time to provide a copy
  11 of the full lease, that you relied on somebody else?
  12        A.    That wasn't my job to provide it.          That
  13 was the realtor's job and she.
  14        Q.    You are the owner.
  15        A.    She had -- I'm sorry.
  16        Q.    You are the owner of the unit, not the
  17 realtor.
  18              MR. LUBLINER:     Objection.
  19        A.    I'm the owner of the unit, that's correct.
  20        Q.    All right.     This is an e-mail from
  21 January 10th from you to Mr. Lepselter.            You are
  22 still as of January 10th discussing terms of the
  23 lease?
  24        A.    Yes.
  25        Q.    Are you sure that as of January 10th a


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 110 of
                                      203

                                                                  Page 110
   1 lease had been signed?
   2        A.    Am I sure?     No.   You have to look at the
   3 documents.
   4        Q.    We're going to look at the leases in a
   5 little bit so we are not guessing.
   6        A.    Right.
   7        Q.    Okay.    Friday, January 22nd, there is an
   8 e-mail here.       I guess you are not copied on it.
   9              Did you eventually receive before
  10 Mr. Wilcox moved in a check for $50,700?
  11        A.    I did.
  12        Q.    Was that in the form of a cashier's check?
  13        A.    Yes.
  14        Q.    That paid for one year's worth of rent,
  15 correct?
  16        A.    Twelve months plus security.
  17        Q.    How come you only got the first year
  18 up-front, not the two years?
  19        A.    Nobody offered me two years.         If I had
  20 been offered two years up-front, I would have taken
  21 it in a hot second.
  22        Q.    It wasn't part of the negotiation?
  23        A.    No.
  24        Q.    You didn't ask for it?
  25        A.    I did not ask for two years up-front, no.


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 111 of
                                      203

                                                                 Page 111
   1 That would have been an extraordinary amount of
   2 money.      100,000 up-front, no.      I thought I was doing
   3 well getting 50 up-front, but -- 50,700.
   4        Q.    Did you ever receive any of the
   5 information for Zeus, the dog?
   6        A.    Yes.
   7        Q.    At the time of -- before Mr. Wilcox moved
   8 in or later on?
   9        A.    Some of it came to me before and some of
  10 it came to me later.
  11              I did see this.      I saw a picture of Zeus.
  12 I actually met Zeus, had a FaceTime interview with
  13 him.    I met the whole family.
  14        Q.    Okay.   And --
  15        A.    I saw these two.
  16        Q.    You saw the registration card?
  17        A.    Yes.    Beforehand, yes.
  18        Q.    Did you ask when these registration cards
  19 were obtained?
  20        A.    No, I did not.
  21        Q.    Do you know if they were obtained from
  22 some other source?
  23        A.    I didn't ask any questions.        I didn't feel
  24 it was my place to question it because if it was a
  25 lawful service animal, they would let him move in.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 112 of
                                      203

                                                                 Page 112
   1        Q.    How do you know it was a lawful service
   2 animal?
   3        A.    If he was -- I said if he was a lawful
   4 service animal, then he would be able to rent, and
   5 the board said it was.        So I left it to them.       They
   6 were supposed -- Mary or Ed together, they were
   7 supposed to conduct research and find out if he was
   8 a legal service animal.
   9        Q.    You left it up to the Association to
  10 determine whether there was proof for the service
  11 animal?
  12        A.    And Mary's, yeah.      The only person I ever
  13 talked to was Mary.       Never talked to the
  14 Association.      Mary told me the process.        She never
  15 changed her song about the process or her
  16 statements, her initial statements to me, and I
  17 assumed it was followed.
  18        Q.    So let's look at a letter.
  19              Actually, let's look at the complaint that
  20 was filed in the state court proceeding by
  21 Ms. Burnett and attached our multiple iterations of
  22 leases.     I want to ask you some questions about it,
  23 okay?
  24        A.    Okay.   Tell me when you get there.         You
  25 are making me dizzy.


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 113 of
                                      203

                                                                 Page 113
   1              MR. LUBLINER:     David, for the record, can
   2        you say which iteration it was?
   3              MR. ISRAEL:     I think the one that I had.
   4        I'll give you the date in a minute.
   5                 Is this the original complaint?
   6              MR. LUBLINER:     Probably.
   7                 Scroll down.      You can probably see.
   8          That's the original.
   9              MR. ISRAEL:     Yes.   Is that the original?
  10              MR. LUBLINER:     I believe so, yes.
  11              MR. ISRAEL:     We are going to mark it as
  12        Composite Exhibit 4.
  13        A.    This is the first lawsuit, Mr. Israel?
  14              MR. MARCHESE:     This is the original
  15        lawsuit.
  16        A.    She kept changing it.
  17              This is the first version?
  18        Q.    (By Mr. Israel) Correct.
  19              So attached to this is a standard lease
  20 agreement.     You see that?
  21        A.    I see it.
  22                 (Defendants' Exhibit 4 was marked for
  23          Identification.)
  24        Q.    At the top, it says begins 1/25/2021, ends
  25 7/24/2021.     Do you know who wrote that?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 114 of
                                      203

                                                                 Page 114
   1        A.    I'm betting it was Mary McFadden because
   2 it wasn't me.
   3        Q.    How do you know it was Mary McFadden?           You
   4 recognize her handwriting?
   5        A.    I don't recognize her handwriting.          She
   6 was the one who was in possession of the document.
   7        Q.    Okay.    So you believe without really
   8 knowing, but it is your belief this was written by
   9 Mary McFadden, correct?
  10        A.    Yes.    Someday we're going to find out who
  11 wrote it.
  12        Q.    Okay.    That's not my question.
  13              My question is:      It is your belief that
  14 this was written by Ms. McFadden?
  15        A.    Yes, it is.
  16        Q.    Did you have a conversation with
  17 Ms. McFadden where you told her the lease was from
  18 January 25th, 2021 and would end July 24th, 2021?
  19        A.    No, I did not.     I never -- it was never a
  20 six-month lease.       Never had such a conversation.
  21        Q.    You never had a conversation with Mary
  22 where you stated that this was a six-month lease?
  23              MR. LUBLINER:     Asked and answered.
  24        A.    Never.    Totally fabricated.
  25              Why would I say that?       The man gave me


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 115 of
                                      203

                                                                 Page 115
   1 $50,000.
   2        Q.    I'm just trying to get your testimony.
   3        A.    Okay.    That's my testimony.      We never -- I
   4 never wrote that.
   5        Q.    Listen to my question.       My question was
   6 just to be make sure the record is clear.
   7              We know you said you didn't write this.
   8        A.    Right.
   9        Q.    The question was:      Did you ever have a
  10 conversation with Ms. McFadden where you told her
  11 this was a six-month lease?
  12        A.    No.
  13        Q.    So this agreement is dated January 5th,
  14 2021 by La Pensee 303, LLC and Mr. Wilcox and
  15 Ms. Luchey, correct?
  16        A.    That's correct.
  17        Q.    Do you know who initialed at the bottom of
  18 this Page 1?
  19        A.    Those are my initials and David's
  20 initials.     The letters at the top had to have been
  21 added after the fact because they were not there
  22 when he and I -- they were not there when I signed
  23 it, those handwritten things at the top.
  24        Q.    This document and all these things for
  25 that matter were signed in separate places, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 116 of
                                      203

                                                                 Page 116
   1              Mr. Wilcox would have signed someplace in
   2 Florida and you signed them in New York and sent
   3 them back, correct?
   4        A.    That's correct.
   5        Q.    You were not in the same room when these
   6 were signed?
   7        A.    That is correct.      I was not in the same
   8 room with David, no.
   9        Q.    This is Page 1, correct?
  10        A.    Correct.
  11        Q.    Now, this says -- there's some writing on
  12 the side.     Can you tell me whose initials those are
  13 to start with?
  14        A.    VSM is me.
  15              The top left-hand margin, I would presume
  16 David, although I don't know his writing well enough
  17 to say that it is his; but he is the only other
  18 person who wrote on the document except for the
  19 mystery person that wrote on Page 1.
  20        Q.    You initialed this, correct?
  21        A.    I initialed this.      So I'm assuming that
  22 means I saw that he added it, and I can't even
  23 really tell you what it says.
  24              At times I was saying to him I see that
  25 because he wrote something.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 117 of
                                      203

                                                                 Page 117
   1        Q.    Did you understand what it was when you
   2 initialed it?
   3        A.    I'm sure I did.      I can't read it right
   4 now.    Can you?
   5        Q.    I think it says one of the units --
   6        A.    To be -- unit needs to be professionally
   7 cleaned, and I agreed to that, and we did that.
   8        Q.    You had somebody come in before he moved
   9 in to clean it?
  10        A.    Yes.
  11        Q.    Okay.   So if you go to the bottom, there
  12 are a few check marks on here.
  13              Do you know who made those check marks?
  14        A.    Not me.
  15        Q.    And right next to Page 3, is that your
  16 initials and Mr. Wilcox's initials, can you tell?
  17        A.    Yes.    I believe so.     Yes, definitely, and
  18 I think it is David's.
  19        Q.    This particular iteration starts from
  20 Page 1 to Page 3, right?
  21        A.    It looks that way.
  22        Q.    So the next page here also had some line
  23 through it and some writing on the side, and it has
  24 your -- your initials.
  25              Are those your initials?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 118 of
                                      203

                                                                 Page 118
   1        A.    Yes.
   2        Q.    It has some check marks.        Do you know who
   3 made those?
   4        A.    No.    I assume it was David.
   5        Q.    And who put proof of negative COVID test
   6 within 72 hours?       I can't tell the last few words --
   7 the last word.
   8        A.    Per something.     I can't read the last word
   9 either.     "Performed."     I think it is "performed."
  10        Q.    It talks about whoever is going to enter
  11 is going to have a COVID test, right?
  12        A.    Well, yes.     He added that to right of
  13 entry because I was reserving the landlord's right
  14 to enter during normal working hours with notice to
  15 make repairs, alterations, improvements or to supply
  16 services.     Mr. Wilcox mentally was concerned about
  17 COVID, so he wanted to make it my obligation that if
  18 anyone was to enter the unit while he was at home or
  19 maybe even when he wasn't home -- well, no, he
  20 shouldn't -- anyway, that I would require service
  21 people and myself to prove negative for COVID, and I
  22 said fine.     I initialed it.      Yes, initials.
  23        Q.    There are some more check marks here.
  24 Those are not yours, correct?
  25        A.    Correct.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 119 of
                                      203

                                                                 Page 119
   1        Q.    At the bottom Page 4 --
   2              We have Page 1, Page 3 and Page 4, and
   3 those seem to be yours and Mr. Wilcox's initials,
   4 correct?
   5        A.    Correct.    That's correct.
   6        Q.    Now we have the next page.        Also some
   7 writing on the side here.         Your initials?
   8        A.    Federal registration attached.
   9        Q.    That's about the dog, right?
  10        A.    That's correct.      That's about the dog.
  11        Q.    There's some more check marks.         That's not
  12 yours, right?
  13        A.    That's correct.
  14        Q.    Were those check marks, if you recall,
  15 there on this lease when it was initialed by you,
  16 every page?
  17        A.    Yes.
  18        Q.    Check marks were there?
  19        A.    The check marks were there.
  20        Q.    And at the bottom of Page 5, there are
  21 your initials and Mr. Wilcox's initials?
  22        A.    Yes.
  23        Q.    There is one correction on this Page 6,
  24 COVID negative test in 72 hours, your initials and
  25 his initials at the bottom?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 120 of
                                      203

                                                                 Page 120
   1        A.    Yes, I agreed to it.       Yes.
   2        Q.    Page 7, only your initials and
   3 Mr. Wilcox's, no changes?
   4        A.    Correct.
   5        Q.    Now, on Page 8, there is a change to a
   6 paragraph that says Mary McFadden will, per
   7 La Pensee's rules, submit, and something is crossed
   8 out, records.       And then it says service animal, and
   9 it is initialed by you.
  10              Is that accurate as to the change?
  11        A.    Yes.
  12        Q.    And then further down, again, it requires
  13 a 72-hour COVID test, and your initials are next to
  14 it?
  15        A.    Right.
  16        Q.    This version also lined through the
  17 security deposit disclosure.
  18              Was there a reason for that?
  19        A.    I don't know why it is crossed out.
  20        Q.    And your initials are next to that
  21 crossed-out paragraph?
  22        A.    Yeah.
  23        Q.    Further down, next to Page 8, your
  24 initials and seem to be Mr. Wilcox's, correct?
  25        A.    Yes.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 121 of
                                      203

                                                                 Page 121
   1        Q.    Do you recall whether you signed first or
   2 Mr. Wilcox signed first?
   3        A.    No.
   4        Q.    Next page, it's just a calculation of the
   5 different deposits blanked through and your
   6 initials, correct?
   7              I'm sorry, is that correct?
   8        A.    Yes, that's correct.
   9        Q.    And then at the bottom of Page 9, it has
  10 your initials and Mr. Wilcox's initials?
  11        A.    Uh-huh, right, and I referenced that the
  12 rules would be provided by Mary.          I don't know if
  13 they were, but they were supposed to be provided.
  14 I'm not sure if they were.
  15        Q.    Weren't you providing the rules or did you
  16 provide them to the realtor?
  17        A.    I think I gave him a set of rules, but I'm
  18 not sure if I gave him the ones that I had from
  19 before or if Mary gave me new ones.           I'm not really
  20 sure how it went, but I know I asked for them.
  21        Q.    When you received them, did you give them
  22 to the realtor?
  23        A.    I gave them to Ed.      I didn't deal directly
  24 with Mr. Wilcox yet.        I was dealing through Ed.        I
  25 had an agent and did everything through Ed.             If I


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 122 of
                                      203

                                                                 Page 122
   1 had them, I forwarded them to Ed, whichever
   2 iteration, whichever version I had my hands on; and
   3 he would have given them to Roy, who would have
   4 given them to David I would assume.
   5        Q.    Then January 7th, this lease, 2021,
   6 correct?
   7        A.    Correct.
   8        Q.    That's your signature on January 7, 2021?
   9        A.    Correct.
  10        Q.    That's Mr. Wilcox's signature as well?
  11        A.    Uh-huh, yes.
  12        Q.    Ms. Luchey did not sign, correct?
  13        A.    Correct.
  14        Q.    Then there is a first amendment.         It talks
  15 about moving in by the 25th if they are approved by
  16 the Association?
  17        A.    Yes.
  18        Q.    As of January 7, you had a signed lease?
  19        A.    It looks that way, uh-huh, but still
  20 subject to, it's in there, all approvals from the
  21 board.      In other words --
  22        Q.    You couldn't sign the lease?
  23        A.    Right.    It was a signed document, but we
  24 were still discussing things because we didn't know
  25 yet if the dog was approved.         All the other checks,


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 123 of
                                      203

                                                                 Page 123
   1 I don't know if it was done yet.          It was like the
   2 first album.
   3        Q.    You signed the lease subject to the
   4 Association's approval?
   5        A.    I believe so.
   6        Q.    Okay.   And the approval was as to
   7 Mr. Wilcox, Ms. Luchey and the dog, correct?
   8        A.    Correct.    Yes.
   9        Q.    Once that was approved, this lease should
  10 have been in play; would that be a fair statement?
  11        A.    No.   This isn't the actual lease.         This is
  12 just a mock-up of the lease.         That is still based on
  13 this lease, but this is not the lease.
  14        Q.    So this document -- it's your testimony --
  15 let me make sure I get this straight because there
  16 seems to be some confusion which lease is which.
  17              But this document that, as you saw before,
  18 is missing Page 2 on the initial by you and
  19 Mr. Wilcox, modified in certain areas and signed by
  20 both you and Mr. Wilcox, including an attachment of
  21 an amendment, you are saying it is not the final
  22 lease, it's just prior to signing a type of lease?
  23        A.    Oh, no.    Actually signed.      It is a
  24 combination.       Part of my actual lease, and I drafted
  25 and he signed and I signed, and parts of it are made


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 124 of
                                      203

                                                                 Page 124
   1 up.    The writing at the top of Page 1 is made up.
   2 Page 2, there is -- I didn't see a Page 2 at all
   3 yet.
   4        Q.    This document -- this document --
   5        A.    I don't know what this is.        They sued me
   6 based on this document, but this is not my document.
   7        Q.    You are saying that this is not your
   8 document, even though it contains your initials?
   9              I understand you are saying handwriting on
  10 the first page is not yours, okay.
  11        A.    Correct.
  12        Q.    I understand it says it is missing Page 2.
  13        A.    Right.
  14        Q.    Otherwise, I think the rest of the
  15 document contains your initials and Mr. Wilcox's
  16 initials?
  17              MR. LUBLINER:     Wait.    Why don't you show
  18        her the document?      She can answer that.
  19              MR. ISRAEL:     I already went through the
  20        document.    I went through every page.
  21        A.    That's every page of the document?
  22        Q.    (By Mr. Israel) There is an addendum, if I'm
  23 not mistaken.
  24              MR. LUBLINER:     Go further up.      Do what you
  25        need to do.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 125 of
                                      203

                                                                  Page 125
   1              MR. ISRAEL:     I showed the whole thing.        We
   2        already --
   3        A.    Exhibit B.     What is Exhibit B?
   4        Q.    Don't worry about Exhibit B.         I'll show
   5 you B when the time comes.         I'm asking -- you
   6 answered the question.        Answer with all due respect.
   7        A.    Wait a second.     Please, what happened to
   8 the lettering on the front?
   9        Q.    Let's go back.     Let's go back.      We can
  10 spend time on this so we can get it straight.
  11              We have a document here.        We went through
  12 it before, and you testified it has your signature
  13 and Mr. Wilcox's signature.
  14              Start from the beginning.        We'll move it
  15 down.    It has your initials and Mr. Wilcox's
  16 initials, but you claim this is not the right lease
  17 because you did not arrive -- you don't know who
  18 wrote -- you presume Mary wrote that this was a
  19 six-month lease beginning January 25th, 2021 and
  20 ends July 24th, 2021 --
  21              MR. LUBLINER:     Form.
  22        Q.    -- correct?
  23        A.    I believe so.     This is not my document.
  24 This is not the final document that was agreed to
  25 between the parties.


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 126 of
                                      203

                                                                 Page 126
   1        Q.    Even though this is a signed document, it
   2 is not the final document?
   3        A.    That's correct.
   4        Q.    It was a subsequent document that you
   5 agreed to?
   6        A.    Yes.
   7        Q.    Different from these documents?
   8        A.    That was my document I gave Ed.
   9        Q.    This is not --
  10              Who do you think put together this lease?
  11 It looks like your format.
  12        A.    I'm not saying I didn't write some of
  13 this.    What I'm saying is it's mish-mosh.          It is not
  14 the final document.       It is pieces of my own document
  15 in this.     This isn't mine.      And it's not an accurate
  16 reflection of the lease I entered into with
  17 Mr. Wilcox.
  18              You asked did I draft it?        Well, I drafted
  19 some of it, but some of it isn't right.            Some of it
  20 is not in the agreement.
  21        Q.    Okay.   So if we take that handwriting that
  22 we are looking at right now out of this agreement,
  23 what else is not in the final agreement?
  24        A.    Well, Page 2 is missing with how long.           I
  25 mean, I would have to --


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 127 of
                                      203

                                                                 Page 127
   1        Q.    I can scroll down for you.
   2        A.    I would have to put them side by side to
   3 tell you what was changed because we -- I believe we
   4 kept talking.
   5        Q.    Even though this document was signed on
   6 January 7th?
   7              MR. LUBLINER:     Form.    Asked and answered
   8        five times now.
   9              MR. ISRAEL:     I don't think she answered
  10        that because she keeps running --
  11              MR. LUBLINER:     She said that's not her
  12        document even though it is mishmash.          Here are
  13        the things that she drafted.
  14              MR. ISRAEL:     I'm asking her -- Let's go
  15        back.   Let's ask her stuff.
  16              MR. LUBLINER:     She testified that's true,
  17        but go ahead.
  18              MR. ISRAEL:     I understand it is missing
  19        Page 2.    She can show me all the differences
  20        she finds.    That's fine.
  21        Q.    (By Mr. Israel) Ms. Manzo, are those your
  22 initials at the bottom of this document?
  23        A.    This page, yes.
  24        Q.    And those are your initials next to some
  25 revision on the next page?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 128 of
                                      203

                                                                  Page 128
   1        A.    Yes.   I okayed those revisions.
   2              MR. LUBLINER:     Objection.
   3        Q.    At the bottom of Page 3, are those your
   4 initials as well?
   5        A.    Yes.
   6        Q.    Are those your initials next to pets, some
   7 handwriting on the next page?
   8        A.    Yes, I approved the COVID test.
   9        Q.    So at the bottom of Page 4, those are your
  10 initials?
  11        A.    Yes.
  12        Q.    And the next page, are those your initials
  13 next to pet, some handwriting as well?
  14        A.    Yes.
  15        Q.    At the bottom of Page 5, are those your
  16 initials?
  17        A.    We went through the whole thing.         Yes,
  18 those are all my initials.         All I'm saying, it is
  19 like cut-and-paste.       She cut-and-paste the whole
  20 document.
  21              MR. LUBLINER:     Let him go through it.        He
  22        wants to clear the record.
  23        Q.    At the bottom of Page 6 and revision on
  24 Page 6, those are your initials as well, correct?
  25        A.    Yes.


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 129 of
                                      203

                                                                 Page 129
   1        Q.    And every page is like that, would you
   2 agree, based on what you testified to earlier?
   3        A.    Yes.
   4        Q.    And on Page 10, January 7, 2021, it is
   5 signed by you, correct?
   6        A.    Correct.
   7        Q.    On behalf of La Pensee 303, LLC?
   8        A.    That's correct.
   9        Q.    Further down, that's Mr. Wilcox's
  10 signature, as you know?
  11        A.    As I know, yes.
  12        Q.    So this document was signed by you and
  13 Mr. Wilcox on January 7, 2021, correct?
  14              MR. LUBLINER:     Form.
  15        A.    It's not the complete document.         I had a
  16 checklist attached, so this is not the final
  17 iteration.     First of all, it is a cut-and-paste job.
  18              Second of all --
  19        Q.    What do you mean by a cut-and-paste job?
  20        A.    I'm not sure that this is the final
  21 version because I don't know -- so far, you asked me
  22 about each handwritten change, did I approve it.
  23 Yes, I approved the handwritten changes on this
  24 document.     But unless I was looking at -- I was
  25 looking at it side by side, I can't say this is


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 130 of
                                      203

                                                                  Page 130
   1 mine.
   2              For one thing, the walk-through checklist
   3 is not attached.       I know for a fact I included one,
   4 and Mr. Wilcox engaged in taking the time to sign
   5 one.    The final version has this checklist.           He
   6 checked off if anything was broken; I wanted to know
   7 in advance.
   8        Q.    This is the final signed lease going to
   9 the realtors, and the realtors finalized the lease,
  10 not you?
  11        A.    The realtors did the checklist.
  12 Mr. Lepselter did the checklist with Mr. Wilcox.
  13 When he had the final, final, final version, then
  14 the checklist was filled out when he was physically
  15 present in the apartment, Mr. Wilcox and Lepselter.
  16        Q.    Okay.   So far, what you are telling me is
  17 this document, even though there are some changes
  18 and it has your initials next to it, it has your
  19 initials at the bottom of each page, and it has your
  20 signature and Mr. Wilcox's, you know it is him, is
  21 not your document because it's got handwriting on
  22 the first page that's not yours, missing the second
  23 page, and doesn't have the checklist attached to the
  24 lease; is that correct?
  25        A.    That's correct.


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 131 of
                                      203

                                                                  Page 131
   1        Q.    Is there anything else that is not
   2 accurate about this document?
   3              MR. LUBLINER:     Can you show her the
   4        entirety of it?
   5              MR. ISRAEL:     I think we've looked at it
   6        like three times already.
   7              MR. LUBLINER:     I know you went up.       I
   8        meant down.
   9              MR. ISRAEL:     Keep going.     I did it back
  10        and forth.
  11        Q.    (By Mr. Israel) We saw your signature before.
  12        A.    Yeah.
  13        Q.    We saw the first amendment where it is
  14 subject to the Association's approval?
  15        A.    Right.    That was part of it, yes.
  16        Q.    Then there is a portion of a lease, the
  17 application?
  18        A.    It appears to be so, yes.        Portion of the
  19 application.
  20        Q.    That's the end of the document.
  21        A.    That's the end of the document, yes.
  22        Q.    But you are saying that this document is
  23 not your document because the handwriting on the
  24 first page is not yours, missing the second page,
  25 and missing the checklist?


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 132 of
                                      203

                                                                 Page 132
   1        A.    Yes.
   2        Q.    Otherwise, initials, the signatures and
   3 the changes, the revisions are yours or Mr. Wilcox's
   4 and agreed to by both?
   5        A.    Yes.
   6        Q.    Do you know who --
   7              How do you know this was put together by
   8 kind of cut and pasted?
   9        A.    Because it is not my document.
  10        Q.    I'm sorry.     Say that again.
  11        A.    Because it's not my document.
  12        Q.    It's not your document because of those
  13 things that we discussed?
  14        A.    Correct.
  15        Q.    Otherwise, it is your document, right?
  16              MR. LUBLINER:     Asked and answered.
  17        Q.    You can answer that.
  18        A.    Yes.   Otherwise, it doesn't appear to be
  19 my document.      I'd much rather be looking at my
  20 actual document.       There is a chance I forgot some
  21 changes he made along the way.          For example, Megan
  22 never signed.       I don't know.    Anyway --
  23        Q.    Let's look at Exhibit B to this document.
  24 It is another iteration of this lease.            It also has
  25 the handwriting on the front, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 133 of
                                      203

                                                                 Page 133
   1        A.    Correct.
   2        Q.    You are claiming that's not yours?
   3        A.    No.
   4        Q.    This is also dated January 25th, 2021,
   5 Mr. Wilcox and Ms. Luchey, correct?
   6        A.    Correct.
   7        Q.    It has your initials at the bottom?
   8        A.    It has a gold border, which I don't know
   9 why.    Mine didn't have a border.
  10        Q.    Okay.
  11        A.    Somebody --
  12        Q.    Could that be a copy of a copy?
  13        A.    I don't know.     You tell me that's the
  14 thing.
  15        Q.    Huh?
  16        A.    Please repeat the question.
  17        Q.    The border or whatever that is is not all
  18 around.     I can see the way it was copied.         Is that
  19 possible?
  20              MR. LUBLINER:     Form.
  21        A.    I can't say what is possible.         All I can
  22 say is that mine did not have a gold border around
  23 it.    That's how I know it is not my document, among
  24 other reasons.
  25        Q.    Okay.   You don't know if this was a copy,


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 134 of
                                      203

                                                                 Page 134
   1 and when it was copied, the border was created as a
   2 result of that copy job?
   3        A.    I don't know what it is.
   4        Q.    So this one also has --
   5              Are those your initials?        Some of those
   6 are revisions?
   7        A.    Yes, those are my initials approving the
   8 professional clean -- professional cleaning that I
   9 promised to do.
  10        Q.    This also has Page 2 missing?
  11        A.    Yes.   Yeah.    Another version.
  12        Q.    And those are your initials at the bottom?
  13        A.    That's correct.
  14        Q.    And here is another revision with your
  15 initials as well?
  16        A.    Correct.
  17        Q.    Go to the bottom of Page 4.        It has your
  18 initials at the bottom?
  19        A.    Correct.
  20        Q.    Here is another revision with your
  21 initials also on the left side of the document,
  22 right?
  23        A.    Correct.
  24        Q.    And your initials at the bottom where it
  25 says Page 5?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 135 of
                                      203

                                                                 Page 135
   1        A.    Correct.    My initials.
   2        Q.    And once again, small revision, your
   3 initials and your initials at the bottom?
   4        A.    That's correct.
   5        Q.    Page 7 at the bottom has your initials as
   6 well, correct?
   7        A.    Correct.
   8        Q.    And this document also has more revisions
   9 and your initials next to those revisions, correct?
  10        A.    Right.    Yes.   Correct.
  11        Q.    And your initials at the bottom of Page 8?
  12        A.    Yes.
  13        Q.    And at the bottom of Page 9, your initials
  14 as well?
  15        A.    That's correct.
  16        Q.    And this is also dated January 7, 2021.
  17 That's your signature?
  18        A.    That's my signature, yes.
  19        Q.    That's Mr. Wilcox's signature, as you know
  20 him?
  21        A.    Yes, sir.
  22        Q.    And Page 10 has your initials also at the
  23 bottom, correct?
  24        A.    Correct.
  25        Q.    There is a first -- I'm sorry.         Go ahead.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 136 of
                                      203

                                                                 Page 136
   1        A.    That particular page has a gold border.           I
   2 don't know where that came from.
   3        Q.    You mentioned that.
   4        A.    Yes.
   5        Q.    This is the first amendment?
   6        A.    Correct.
   7        Q.    Subjecting the lease to the Association's
   8 approval, right?
   9        A.    Correct.
  10        Q.    And your initials at the bottom, correct?
  11        A.    Correct.    Correct.
  12        Q.    And this is your signature on January 7th,
  13 2021 and Mr. Wilcox's signature as you know it to be
  14 on January 6, 2021, correct?
  15        A.    That's correct.
  16        Q.    And then it looks like a page with a
  17 La Pensee Condominium Association application?
  18        A.    I would say, yes, that's probably so.
  19        Q.    And also your signature at the bottom and
  20 Ms. Luchey's signature at the bottom?
  21        A.    Yes.
  22              Oh, this one is -- just go up.         See this
  23 is just Ms. Luchey signing, and then there was a
  24 different one, just Mr. Wilcox signing.
  25        Q.    Okay.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 137 of
                                      203

                                                                 Page 137
   1        A.    This is her separate application to be a
   2 resident for the 150 fee, and then there's a
   3 separate -- an identical page for Mr. Wilcox's check
   4 presumably and signature.
   5        Q.    And then further there is a page that
   6 starts with lease term.        A different writing
   7 altogether?
   8        A.    Yeah.
   9        Q.    Not like the others?
  10        A.    This is definitely not my final document.
  11 This is -- during the negotiations, this came into
  12 somebody's hands, and this is not the final
  13 document.     It was 22.
  14        Q.    But you would agree that this -- whatever
  15 this document is, it starts with lease terms, and
  16 that the lease term on this document is
  17 January 25th, 2021 through January 24th, 2022.
  18 That's what it states, correct?
  19        A.    Yes.    This was an earlier iteration during
  20 negotiation when we were still talking about a
  21 renewal option, which we ditched and just made it a
  22 two-year lease.      So this is -- somebody grabbed an
  23 earlier version and slapped it on the back of a
  24 lease.      I don't know who.
  25        Q.    Okay.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 138 of
                                      203

                                                                 Page 138
   1        A.    Not me.
   2        Q.    This is not something that you prepared,
   3 correct?
   4        A.    No.    That's not my testimony, no.
   5        Q.    That's not your testimony?
   6        A.    What I'm saying is this is not my lease.
   7 This is a version before we negotiated continuously
   8 until we reached the point we had a two-year lease.
   9 So this was like the first elbow.
  10              You are familiar with lease negotiations
  11 I'm sure.     You start somewhere and end.
  12        Q.    Who prepared this document?
  13        A.    I prepared it, but then we kept talking,
  14 so this was an older version of something that was
  15 in motion.
  16        Q.    So you prepared this particular document
  17 with this form that starts with lease term as an
  18 early version for negotiation purposes?
  19        A.    Yes.   Then --
  20        Q.    I am sorry.     Go ahead.
  21        A.    Next question.     Sorry.    Go ahead.
  22        Q.    This was just -- this was prepared by you
  23 actually as you stated.        I want to make sure I
  24 understand correctly.
  25              It was an earlier version of the


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 139 of
                                      203

                                                                 Page 139
   1 negotiating document that continues to evolve?
   2        A.    Correct.
   3        Q.    Even though this document is substantially
   4 different in font and look from the other leases
   5 that were prepared --
   6        A.    Yes.
   7        Q.    -- your testimony is that you prepared
   8 this document?
   9        A.    Yes, early on.
  10        Q.    This it says Page 2 at the bottom?
  11        A.    Yes.   That's not my final page.
  12              Why would you have Page 2 in the middle of
  13 a document?     That is why I'm saying somebody slapped
  14 this together.
  15        Q.    That wasn't you?
  16        A.    Not me.    Certainly not me.
  17        Q.    Exhibit C to this lease, it's another
  18 standard lease agreement.         You see that?
  19        A.    I see that.
  20        Q.    Is this -- the leases that are styled
  21 standard lease agreement, is that a lease that you
  22 prepared?
  23        A.    You know, I don't know why it said
  24 standard lease agreement.         Somewhere along the way I
  25 got a model, and that's what it called itself, and


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 140 of
                                      203

                                                                 Page 140
   1 that's what I called it.
   2        Q.    This is something you prepared, correct?
   3        A.    Yes.
   4        Q.    This particular version, which is similar
   5 to the ones we saw earlier, doesn't have the
   6 handwriting on the top, right?
   7        A.    That's correct.      That's correct.     No
   8 handwriting on the top.
   9        Q.    But, otherwise -- and I'm not saying it is
  10 the same thing.      It looks -- and it has the same
  11 type of font and title as the ones we saw earlier,
  12 correct?
  13        A.    Yes.
  14        Q.    And it is dated January 5th, 2021,
  15 La Pensee and Mr. Wilcox and Ms. Luchey, correct?
  16        A.    Yes.
  17        Q.    Were you reading the lease?
  18        A.    I was reading it, yes.
  19        Q.    Okay.   No problem.     Take your time.
  20        A.    I'm waiting for a question.
  21        Q.    Okay.   I didn't know whether you were
  22 reading it.     So I can ask you a question?
  23        A.    No, that's okay.
  24        Q.    Take your time.      Not a problem.
  25              I'm going to scroll down a little bit.           At


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 141 of
                                      203

                                                                 Page 141
   1 the bottom of this Page 1, those are I presume your
   2 initials and what you know to be Mr. Wilcox's
   3 initials?
   4        A.    That's correct.
   5        Q.    Then this one starts the next page with
   6 lease term, correct?
   7        A.    Correct.
   8        Q.    And the lease term was originally
   9 January 25th, 2021, ending on January 24th, 2022,
  10 and there is a line through it and it says 2023, so
  11 it -- and it has your initials next to it, correct?
  12        A.    That's correct.       That's my handwriting and
  13 that's my initials.
  14        Q.    2023 is your handwriting?
  15        A.    I'm sorry.     Yes.   The numbers at the top
  16 of the page 2023 and VSM, that's me.
  17              On the right, those letters after 24, 23,
  18 that's me.     On the left is Mr. Wilcox.         The
  19 handwriting on the left margin, that's Mr. Wilcox.
  20 Handwriting on the right margin, the top paragraph,
  21 that's mine.
  22        Q.    Is the last handwriting, almost in the
  23 circle that says something about amendment
  24 attachment I believe, second amendment and
  25 attachment --


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 142 of
                                      203

                                                                 Page 142
   1        A.    Yes.
   2        Q.    -- that's Mr. Wilcox?
   3        A.    Yes.   Never did the second amendment.          He
   4 wrote that.
   5        Q.    So there is no second amendment?
   6        A.    No.    There isn't a second amendment.
   7        Q.    That was supposed to be transferring the
   8 lease from Wilcox to his company; am I correct?
   9        A.    Yes.
  10        Q.    But that never materialized?
  11        A.    But that never materialized.
  12        Q.    Who lined through where it starts with an
  13 option to renew, mutually exercised by landlord and
  14 tenant, should both be in agreement, said option, if
  15 exercised by both, to extend one year from
  16 termination of this lease term?
  17        A.    Me.
  18        Q.    That was you?
  19        A.    We put a line through from 2022 to the end
  20 of the sentence as we negotiated a straight two-year
  21 lease.      You are going to give me -- you are going to
  22 pay me for the first year up-front.           You'll decide
  23 if you want to pay me all up-front this year or pay
  24 me monthly.     You pay monthly, and we didn't need any
  25 of that.     That was the rubbish, as we say.         I'm


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 143 of
                                      203

                                                                 Page 143
   1 pretty sure we made it -- crossed that out.
   2        Q.    So let me ask you this:       This lease
   3 contemplates a two-year term through January 24th,
   4 2023, correct?
   5        A.    Uh-huh, yes.
   6        Q.    Did it also contemplate the possibility of
   7 extending or an option to go beyond 2023?
   8        A.    It doesn't, but if they wanted to stay, I
   9 would have investigated the possibility of having
  10 them stay.
  11        Q.    So what happens on January 24th, 2023 in
  12 your mind?     Does this end or a new lease is entered
  13 into or does the lease continue?
  14        A.    Well, if prior to then, it would be my
  15 obligation and Mr. Wilcox's obligation to discuss
  16 his plan to remain or to leave.          If he intended to
  17 leave at the end of the term, I would call Ed again
  18 if I didn't -- and ask him to relist it, and then
  19 Mr. Wilcox would cooperate, and he would cooperate
  20 with it being shown, and then I would go through the
  21 same motion as I went through the last three times
  22 to get the new people approved.
  23              If he intended to stay, it would be my
  24 obligation to find out from the board through Mary,
  25 now Donna, what are the -- what are my options as


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 144 of
                                      203

                                                                 Page 144
   1 far as renewal; can I renew or do we have to do the
   2 whole lease or what do we have to do.
   3        Q.    And then you said you wrote out here
   4 January 24th, 2023?
   5        A.    Pardon me?
   6        Q.    On the right-hand side after January 24,
   7 2023, that's your --
   8        A.    Yes, that's my handwriting.        "The parties
   9 hereby acknowledge that there will only be an
  10 extension if acknowledged in writing with both
  11 parties upon mutually agreed upon rent."
  12              Yes, because then we would discuss new
  13 rent.
  14        Q.    So after January 24th, 2023, it would be a
  15 whole new agreement?
  16        A.    I think so.
  17        Q.    At least as to many terms?
  18        A.    Correct.    As to the material terms, yes.
  19        Q.    Further down, January 15 is crossed out
  20 and 25th is put in.       That was you, your initials are
  21 next to it?
  22        A.    No.   That 25 is not me.
  23        Q.    Do you know who it is?
  24        A.    I assume it's David.       I don't know for
  25 sure, but he's the only other one that was


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 145 of
                                      203

                                                                   Page 145
   1 negotiating, so I think it was probably David.
   2        Q.    I did not see Mr. Wilcox's initials as
   3 opposed to the other exhibit next to any revision.
   4        A.    Yeah, that's true.      That's correct.      I
   5 don't know.
   6        Q.    Probably your initials, correct?
   7        A.    Those are my initials, yes, sir.
   8        Q.    There is something added to here I presume
   9 because your initials are there.          I don't see
  10 Mr. Wilcox's initials.        Following La Pensee bond
  11 approval and prior to --
  12        A.    Board.    That's board.
  13              La Pensee's board approval, right, and
  14 prior to tenancy.
  15        Q.    And that you wrote in and initialed,
  16 correct?
  17        A.    No, I did not write.       That's not my
  18 writing.
  19        Q.    That's your writing?
  20        A.    No.
  21        Q.    Do you know whose writing that is?
  22        A.    I don't know, but I believe David.
  23        Q.    His initials are not next to that either.
  24        A.    No.   I missed it I guess.
  25        Q.    But the line that starts maybe more than


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 146 of
                                      203

                                                                 Page 146
   1 4,000 a month, no less than 4,000 a month, somebody
   2 wrote will be 4,000.
   3              I think those are your initials
   4 underneath; is that correct?
   5        A.    We were talking about the second year of
   6 the two-year lease, what would happen.            This
   7 paragraph is reflecting you've already paid me for
   8 year one.     What happens in year two?        Well, if you
   9 pay me monthly, it is 3900.         If you pay me up-front,
  10 I mean -- it's the other way around.
  11              If you pay me for the whole year, it is
  12 3900 a month.      If you pay me monthly, it is 4,000 a
  13 month for the second year of the two-year term.
  14        Q.    To clarify this 4,000 per month, you
  15 changed that and put the 4,000 and initials?
  16        A.    Right, which Mr. Wilcox agreed to.
  17        Q.    Right.    He did not have a problem?
  18        A.    He didn't.     He certainly was aware.
  19        Q.    On the left side, your initials are kind
  20 of like floating there.        I'm not sure.
  21              What do those initials go to?         This one.
  22        A.    Just because there were so many lines, you
  23 know -- the underlining, I don't usually underline.
  24 He underlined, and I think I put a line through it.
  25 Maybe it wouldn't work out.         I think I was just


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 147 of
                                      203

                                                                 Page 147
   1 showing him I noticed everything that he did.
   2        Q.    So do you know what this initial was for?
   3        A.    On the left?
   4        Q.    Yes.
   5        A.    No.    I thought we just talked about that.
   6 I was just expressing that I see everything.             I see
   7 your changes and you see mine, and we are good.
   8        Q.    But Mr. Wilcox's initials are not next to
   9 any of these changes, correct?
  10        A.    Correct, but he never objected to anything
  11 as far as our agreement as to the second year, 3900
  12 versus 4,000.       He's paying me 4,000 a month right
  13 now.
  14        Q.    He's paying you monthly right now?
  15        A.    He's paying me monthly on time, no
  16 problem, and he decided not to pay for the full
  17 year.
  18        Q.    On the bottom -- this is Page 2 -- there
  19 are some initials there, and one is yours and the
  20 other one you know to be Mr. Wilcox's?
  21        A.    That's correct.
  22        Q.    The next page says changes, which I
  23 believe are similar to the changes that we saw on
  24 the previous iterations of the lease.           Is that
  25 correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 148 of
                                      203

                                                                 Page 148
   1        A.    Yeah.
   2        Q.    With your initials next to it?
   3        A.    Yeah.    Seems to be, yes.      Yes.
   4        Q.    And then this is Page 3, and it contains
   5 your initials and Mr. Wilcox's initials?
   6        A.    Yes.
   7        Q.    Now, this change also seems to have been
   8 in one of the prior iterations we saw, also
   9 initialed by you, correct, the COVID test for
  10 entering the property?
  11        A.    Right.
  12        Q.    It looks like it was one on the prior --
  13 one in the prior iterations, correct?
  14        A.    Yes, I think so.
  15        Q.    At the bottom -- these check marks you
  16 said earlier were, at least on the other iterations,
  17 you are not sure whose check marks those are?
  18        A.    I think it was Mr. Wilcox, but they are
  19 not mine.     That's all I can say for sure.
  20        Q.    Page 4 at the bottom has your initials,
  21 and would you believe -- or noted to be Mr. Wilcox's
  22 initials?
  23        A.    Correct.
  24        Q.    There is also your initials next to a
  25 handwriting or handwritten addition to the side of


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 149 of
                                      203

                                                                 Page 149
   1 the lease that seems to be similar to one of the
   2 other versions somebody wrote, correct?
   3        A.    Yes, correct.
   4        Q.    Page 5 at the bottom, those are your
   5 initials and Mr. Wilcox's?
   6        A.    That's right.     Yes, sir.
   7        Q.    And this also discusses the COVID test
   8 issue in one of the prior iterations, and it has
   9 your initials at the bottom next to the change, and
  10 at the bottom your initials and Mr. Wilcox's
  11 initials as well?
  12        A.    Correct.
  13        Q.    Page 7 has your initials and Mr. Wilcox's
  14 initials, right?
  15        A.    That's correct.
  16        Q.    And this change also seems to be similar
  17 or the same as prior iterations that we saw, service
  18 animal, and it is initialed by you, and then there
  19 is another change further down.          It is also
  20 initialed by you, COVID testing 72 hours?
  21        A.    Yes.
  22        Q.    And then the security deposit was a line
  23 through as prior iterations?
  24        A.    What's that?
  25              MR. LUBLINER:     Wait for a question.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 150 of
                                      203

                                                                 Page 150
   1              THE WITNESS:     Okay.
   2        Q.    (By Mr. Israel) At the bottom of Page 8, your
   3 initials are at the bottom or Mr. Wilcox's initials are
   4 on the bottom next to the line through security deposit
   5 disclosure item, correct?
   6        A.    Correct.
   7        Q.    And the next page, your initials are next
   8 to the continued line through of security deposit
   9 disclosure?
  10        A.    Yes.
  11        Q.    That's yes?
  12        A.    Yes.
  13        Q.    At the bottom of Page 9, you have your
  14 initials and Mr. Wilcox's initials as well, correct?
  15        A.    That's correct.
  16        Q.    And this document is also dated
  17 January 7 -- January 7, 2021, as prior iterations,
  18 and it is signed by you as well, correct?
  19        A.    Right.    Yes.
  20        Q.    And then that other signature purports to
  21 be, as you know it, Mr. Wilcox's, correct?
  22        A.    Yes.
  23        Q.    At the bottom of that Page 10 are your
  24 initials and Mr. Wilcox's initials?
  25        A.    Correct.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 151 of
                                      203

                                                                 Page 151
   1        Q.    Do you know why there is a line kind of
   2 across almost all the page numbers?           Do you know who
   3 drew that line?
   4        A.    Not me.    I think that was just
   5 Mr. Wilcox's habit of showing to himself that he saw
   6 each page.     That's the initials, no.        Reminded him
   7 he saw it.     I don't know.      You have to ask him.       I
   8 did not do it.
   9        Q.    You didn't do it?
  10        A.    No.
  11        Q.    So this next page on the document dated
  12 January 25th, 2021, final security and full rental
  13 fee deposit receipt, is that your handwriting,
  14 Ms. Manzo?
  15        A.    That's my handwriting.
  16        Q.    It is to be signed by the landlord when a
  17 bank check is received and keys given 1/25/2021,
  18 correct?
  19        A.    Correct.
  20        Q.    Further down, I believe those are your
  21 initials?
  22        A.    Appears to be.     48,600 rent.
  23        Q.    And this is confirming that you received
  24 these funds, correct?
  25        A.    Yes.   This is a receipt that I got a bank


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 152 of
                                      203

                                                                 Page 152
   1 check just for the 12-month period, each 12-month
   2 period.     That's what it covered, 12 months.
   3        Q.    And this would be Page 11?
   4        A.    Uh-huh.
   5        Q.    And a signature?
   6        A.    Right.
   7        Q.    And I believe, although it looks a little
   8 different, but would that be Mr. Wilcox's signature?
   9        A.    I imagine it is, yes.
  10        Q.    And then your initials and Mr. Wilcox's
  11 signature?
  12        A.    And it was my intention to sign it when I
  13 saw the check.
  14        Q.    This version is not signed?
  15        A.    That's correct, by me.
  16        Q.    By you?
  17        A.    Correct.    Not by them.
  18        Q.    Do you know what this portion of the --
  19        A.    I'm assuming it wasn't signed either
  20 because he wasn't standing in the unit, you know,
  21 checking it out when this was -- when he looked at
  22 this.    The intention was for him to hand the money
  23 as we hand him the key and give the checklist, and
  24 he would do that.
  25        Q.    Those are your initials on Page 12, right?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 153 of
                                      203

                                                                 Page 153
   1        A.    Yes, sir.
   2        Q.    And what you believe to be Mr. Wilcox's
   3 initials?
   4        A.    Yes.
   5        Q.    Okay.   So this one has a move-in
   6 checklist?
   7        A.    Yes.
   8        Q.    And it says to be completed January 25th,
   9 2021, yes, and then your initials, correct?
  10        A.    That's right.     Yes.    We were on the same
  11 page, and I agreed that this was protective of us.
  12        Q.    And this version, just a blank, although
  13 it has your initials and Mr. Wilcox's?
  14        A.    Yes.    My intention was to let him know
  15 that we would do this to protect ourselves, and he's
  16 agreeing by initialing it that this would be filed
  17 with Ed so that both of us know if there is any
  18 damage and if he's taking it with damage, I can't
  19 claim he did it.       And, likewise, he can't say that I
  20 gave him something that is broken because he's going
  21 to check it off with Ed.        This was just him saying
  22 he'll do it to me.
  23        Q.    Okay.   And same thing on the next page,
  24 which is also initialed by you and Mr. Wilcox,
  25 Page 14?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 154 of
                                      203

                                                                 Page 154
   1        A.    Correct.
   2        Q.    And the next page, Page 15, is also blank
   3 and as has your initials and Mr. Wilcox's?
   4        A.    That's correct.
   5        Q.    It continues -- it seems to be Page 16,
   6 exactly the same way, just blank?
   7        A.    Correct.
   8        Q.    A page with no information other than just
   9 specific categories and yours and Mr. Wilcox's
  10 initials?
  11        A.    Correct.
  12        Q.    Next page, exactly the same way with the
  13 initials and Mr. Wilcox's, no specific information
  14 filled in on Page 17?
  15        A.    Correct.
  16        Q.    Page 18, though, seems to be the end of
  17 this list, and it is signed by -- is that Mr. Wilcox
  18 as you know it?
  19        A.    I think so, yeah, but then it says TBC, to
  20 be continued.      I'm assuming that's what he meant,
  21 but it is true.      It was to be continued.        We would
  22 actually fill it all out.         He would actually fill it
  23 out.
  24        Q.    January 25th, 2020 -- I presume it is
  25 2021?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 155 of
                                      203

                                                                 Page 155
   1        A.    Yeah.
   2        Q.    The "one" doesn't show up?
   3        A.    Yeah.   Correct.
   4        Q.    As you said TBC, double underline, those
   5 are not your letters, correct?
   6        A.    No, not my letters.       Correct.
   7        Q.    And it is Page 18, and your initials and
   8 Mr. Wilcox's initials?
   9        A.    Yes.
  10        Q.    Then there is an first amendment dated
  11 January 5th 2021, and it's the same thing, subject
  12 to, as we saw on previous iteration, the
  13 Association's approval, correct?
  14        A.    Correct.
  15        Q.    No weekend movements permitted, the rules
  16 and regulations.       That's also initialed by you and
  17 Mr. Wilcox, correct?
  18        A.    Yes.
  19        Q.    And then the next page is your signature
  20 page -- signature page, and it's signed by you on
  21 January 7th, 2021, correct?
  22        A.    Correct.
  23        Q.    And then signed by appears to be I presume
  24 Mr. Wilcox or as you know Mr. Wilcox's signature on
  25 January 6, 2021, correct?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 156 of
                                      203

                                                                  Page 156
   1        A.    Correct.
   2        Q.    And it is not signed by Ms. Luchey?
   3        A.    Correct.
   4        Q.    And this -- the number two was added.           Do
   5 you know who added that number two at the bottom?
   6        A.    Me.
   7        Q.    You did?
   8        A.    Yes.
   9        Q.    Is there a specific reason you added the
  10 number two?
  11        A.    No.    I don't know.    I don't remember.
  12        Q.    Those are your initials down there?
  13        A.    Yes.
  14        Q.    And what purports to be Mr. Wilcox's,
  15 right?
  16        A.    Correct.
  17        Q.    So would you say that this version, the
  18 last version of this, is that the version that you
  19 believe to be the correct version to be signed?
  20        A.    Yes.
  21              MR. ISRAEL:     Let's take a five-minute
  22        break if everybody is okay.        Okay, five-minute
  23        break.
  24              MR. SPARKS:     Yes.
  25              MR. ISRAEL:     Come back at 2:20.      Thank


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 157 of
                                      203

                                                                 Page 157
   1        you.
   2               (Recess taken from 2:13 p.m. until 2:21
   3        p.m.)
   4        Q.     (By Mr. Israel) Back on the record.
   5               I want to ask you some questions about
   6 this exhibit to the complaint in the federal
   7 lawsuit, a letter from JoAnn Burnett from Becker,
   8 Poliakoff dated July 2021.
   9               We were just talking about the leases.          I
  10 kind of wanted to continue the same theme, as you
  11 would.
  12               So Ms. Burnett wrote this letter on July
  13 20, 2021.      Did you know who Ms. Burnett was prior to
  14 receiving this letter?
  15        A.     No.
  16        Q.     You had never spoken to her or e-mailed
  17 with her prior to July 20, 2021, correct?
  18        A.     You know, I did.     She -- I believe she may
  19 have e-mailed me prior.        I remember saying I have
  20 counsel and you have to speak to counsel.            That is
  21 why she wrote to Richard Lubliner.
  22        Q.     Okay.   But this letter is addressed to
  23 Mr. Lubliner and then Ms. Luchey and Mr. Gelber and
  24 Mr. Lepselter and Chad Engram, and then you and then
  25 and Mr. Lepselter on behalf of La Pensee 303.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 158 of
                                      203

                                                                 Page 158
   1              My guess is she didn't know at this point
   2 you had counsel or it was prior to you getting
   3 counsel.
   4        A.    Either way, I don't know who she was.           I
   5 do recall advising her once I retained my counsel.
   6        Q.    Okay.   So it's also addressed to Tom
   7 De Marinis, your husband?
   8        A.    Correct.
   9        Q.    It is to La Pensee Condominium
  10 Association, Inc., lease expiration, July 24, 2021.
  11              So let's go through this letter.         She
  12 talks about Mr. Wilcox leasing Unit 303 owned by
  13 La Pensee 303, LLC and managed by you.            And so far
  14 the first paragraph, would you say that's an
  15 accurate paragraph, the description of who's living
  16 there and who owns what?
  17              MR. LUBLINER:     Form.
  18        A.    I said the paragraph was correct.
  19        Q.    And she tells you in paragraph one that
  20 she is representing La Pensee Condominium
  21 Association, Inc. and just the Association.             She is
  22 not representing Ms. McFadden or MAC Residential,
  23 correct?
  24        A.    That's what she says.
  25        Q.    She says that Mr. Wilcox and La Pensee 303


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 159 of
                                      203

                                                                 Page 159
   1 entered into a six-month standard lease agreement
   2 beginning January 25th, 2021.          The term of the
   3 agreement expired July 24, '21.
   4              Would you say that's an accurate statement
   5 or inaccurate statement?
   6        A.    One hundred percent fake.
   7        Q.    Fake.   Is that what you said, fake?
   8        A.    Yeah, fake.     100 percent not true.
   9        Q.    As I am sure you are all aware, the
  10 agreement submitted to the Association did not have
  11 Page 2.     Do you know whether that's an accurate
  12 statement or not in your opinion?
  13        A.    No, not aware of that.       It was Mary's job
  14 to get it, and if she didn't have it, they are still
  15 looking for it in July, somebody didn't do their
  16 job, and it wasn't -- Go ahead.
  17        Q.    You didn't -- we discussed this earlier.
  18 I know your testimony was you did not provide any
  19 iteration of the lease to Mary?
  20        A.    Correct, I did not, because I never had in
  21 the past, and why should I be worried about it in
  22 the beginning, the first two tenants?           It wasn't
  23 my -- it wasn't my job to give it to her, although I
  24 would have had she asked.
  25        Q.    You had an old version of the agreement in


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 160 of
                                      203

                                                                 Page 160
   1 your possession, did you?
   2        A.    I did.
   3        Q.    You did?
   4        A.    Uh-huh.
   5        Q.    The next sentence here says, "Accordingly,
   6 Ms. McFadden, the Association's manager, inquired of
   7 Ms. Manzo, the managing member of La Pensee 303, the
   8 term of the agreement.        Ms. Manzo advised it was a
   9 six-month lease agreement."
  10              Is that accurate?
  11        A.    No, that's not accurate at all.         That is
  12 completely fabricated I would presume by Mary's end.
  13 I wasn't part of the conversation.           There was no
  14 conversation where I said it was a six-month lease
  15 because it never was.        You just went through the
  16 iterations.     It was never a six-month lease.          Come
  17 on.
  18        Q.    Prior tenants had stayed for shorter
  19 periods of time.
  20        A.    They were actually -- they were as long as
  21 I could talk them into it.         One was actually a
  22 one-year lease, and one was a little bit less, but
  23 they always wound up extending them because of
  24 construction, as you well know.          In order to get
  25 construction in New York or Florida, we take longer


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 161 of
                                      203

                                                                 Page 161
   1 to inspect.     So as long as we could extend it, they
   2 extended it.
   3        Q.    So the next sentence here says,
   4 "Ms. McFadden wrote the dates on the top right-hand
   5 corner of the agreement, that six-month lease" --
   6        A.    Excuse me, Mr. Israel.       That's where I got
   7 the idea that she wrote the lease.           I figured it.
   8        Q.    Do you know where -- you don't know where
   9 Ms. Burnett got this information?
  10        A.    No.
  11        Q.    When you stated earlier you thought
  12 Ms. McFadden had provided information to
  13 Ms. Burnett, you don't know if that's accurate or
  14 not?
  15        A.    I was not privy to any conversation
  16 between them.
  17        Q.    "The six-month lease term was the only
  18 lease term approved by the Association."
  19              Would you say that's an accurate
  20 statement?
  21        A.    No.   I said that's a lie.       First, she
  22 didn't know the lease term, and then she said it's a
  23 six-month.     Even within that one paragraph, there is
  24 inconsistencies.
  25        Q.    By Ms. Burnett?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 162 of
                                      203

                                                                 Page 162
   1        A.    In the paragraph.
   2        Q.    In this letter?
   3        A.    No Page 2, but it was a six-month lease.
   4 What does that mean?        Page 2, that has the lease
   5 term.
   6        Q.    But she is also saying here that you had a
   7 conversation with Ms. McFadden --
   8        A.    Yes, that's not true.
   9        Q.    Let me finish.
  10        A.    I'm sorry.     Go ahead.
  11        Q.    -- in which you allegedly advised her
  12 there was a six-month lease.         You are saying that's
  13 not accurate?
  14        A.    That's a complete fabrication.
  15        Q.    Your position is that never took place?
  16        A.    That conversation never took place.
  17        Q.    What term did the Association ultimately
  18 approve in your mind for the tenancy by Mr. Wilcox?
  19        A.    I submitted a year lease to Mr. Lepselter
  20 in full with every page from the 19th of January.
  21 On the 25th, I got a green light for Mr. Wilcox to
  22 move in.     I assumed that everything was properly
  23 authorized, and that would seem to indicate with a
  24 two-year lease from the beginning of the lease term.
  25 There was never --


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 163 of
                                      203

                                                                 Page 163
   1        Q.    You negotiated the two-year lease
   2 according to you with Mr. Wilcox, and according to
   3 you, that's the lease that was signed and in place
   4 and that was to be provided to the Association by
   5 Mr. Lepselter?
   6        A.    That's correct.
   7        Q.    Not by you?
   8        A.    Not by me.
   9        Q.    So if Mr. Lepselter somehow did not
  10 provide that lease agreement to the Association
  11 and --
  12        A.    Go ahead.
  13        Q.    Then if he did not provide that lease
  14 agreement or provided a lease agreement with a
  15 missing second page, then it is not certain they
  16 approved the two-year tenancy, correct?
  17        A.    Then somebody didn't do their job because
  18 they were supposed to have approved the two-year
  19 tenancy.     That's what I committed.        They gave him --
  20 they let me give him the deed that it facilitated
  21 his movement.      Tom worked with him.       We worked on
  22 the date.     We worked -- can't move on the weekend.
  23 We did everything according to the rules that we
  24 knew of.
  25        Q.    Do you know why Ms. McFadden would have


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 164 of
                                      203

                                                                 Page 164
   1 been requesting copies of Page 2 or a complete lease
   2 from the realtors if she had one in her possession?
   3        A.    No.   No.   I don't know why she would be
   4 asking.     She shouldn't have been asking.         She should
   5 have had it in her possession before she gave him
   6 the keys.
   7        Q.    It's possible that Mr. Lepselter never
   8 gave it to her, correct?
   9        A.    I don't know what is possible.         All I know
  10 is I provided it, and she never picked up the phone
  11 and said, Valerie, send me Page 2.           I would have
  12 sent it.     We were very cordial.       Did you see I
  13 wished her a happy New Year?         There was no reason
  14 for me not to give it to her.          She didn't call me
  15 once and ask for it because I would have sent it.
  16              I'm an attorney.      I have an unblemished
  17 record.     Why would I not give her Page 2?         There was
  18 no reason to not give her Page 2.
  19        Q.    Well, unless you didn't want the
  20 Association to know that it was a two-year lease.
  21        A.    No.   That's ridiculous.      Why wouldn't I
  22 want them to know?       As I said, as an owner, I would
  23 have been thrilled with a two-year lease.            That's
  24 stability.     There was no reason --
  25        Q.    That's your opinion, correct?         It is your


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 165 of
                                      203

                                                                 Page 165
   1 position -- it's your position, correct, that the
   2 two-year lease is better than a one-year lease?
   3        A.    Yes.
   4        Q.    That a five-year lease is better than a
   5 two-year lease?
   6        A.    That's my opinion.      Not a legal standard.
   7 It is my opinion.
   8        Q.    That's your opinion.       I'm not asking you
   9 for a legal interpretation.
  10        A.    As a landlord -- as a landlord for many
  11 years, it is my opinion that stability is a good
  12 thing in tenants.
  13        Q.    Let me ask you a question.        So if the
  14 Association had approved a two or three year,
  15 four-year lease, five-year lease, whatever the term
  16 the landlord and tenant agreed to, and then there
  17 are problems with this tenant, but the landlord
  18 doesn't agree there are problems with the tenant,
  19 what is the Association supposed to do with that?
  20              MR. LUBLINER:     Form.
  21        A.    I don't know what the Association is
  22 supposed to do with that at that point.            If it
  23 doesn't rise to the level of a breach of the lease,
  24 there is nothing that I can do about it.            He has to
  25 breach the lease.       He has rights under the lease and


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 166 of
                                      203

                                                                 Page 166
   1 all other --
   2        Q.    Go ahead.
   3        A.    All the things that they were complaining
   4 about were -- never rose to the level of breach of
   5 lease.      So he has rights that I was aware of.
   6        Q.    So if, for example, Mr. Wilcox violated
   7 the Association's rules and regulations, that's not
   8 a breach of the lease?
   9              MR. LUBLINER:     Form.
  10        A.    I think he was entitled to a hearing if he
  11 had violated some rule.        There is a protocol to have
  12 been followed.      That was never followed by anybody,
  13 including Mary.      First, he gets a warning.        Then he
  14 gets an opportunity to be heard, called due process.
  15 Just because someone says something doesn't make it
  16 so.    And I wrote that to Mary.        I sent different
  17 versions of the certified letter, e-mails, phone
  18 calls.
  19              I would send -- whatever concerns you have
  20 about this tenant, I need evidence, actual evidence,
  21 documentary evidence.        I'm a former prosecutor.        I
  22 know what evidence looks like, and people have a
  23 right to be heard.
  24        Q.    You know that if that rises --
  25              MR. LUBLINER:     I don't know if you are


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 167 of
                                      203

                                                                 Page 167
   1        still answering.      Were you done?
   2        Q.    Were you done?     I am sorry, I didn't mean
   3 to cut you off.
   4        A.    I'm done.
   5              MR. LUBLINER:     Okay.
   6        Q.    Do you know if the right to be heard you
   7 believe extends to tenants of the unit also or just
   8 owners of the unit?
   9        A.    I believe it is --
  10              MR. LUBLINER:     Form.
  11        A.    -- it is tenants.
  12        Q.    So it's your opinion that if a tenant
  13 violates rules and regulations, he should be given
  14 an opportunity to explain before the board prior to
  15 any actions being taken?
  16              MR. LUBLINER:     Form.
  17        A.    There is a fine committee that can fine
  18 people.
  19              They never even fined him or me.         So
  20 before you affix a fine for something that was
  21 alleged, you have to have some sort of a hearing.
  22              Well, I didn't know anything about -- I
  23 wasn't living there.        So you have to have the people
  24 who were in the know, who saw something happen,
  25 testify, but it is alleged.         And then the person who


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 168 of
                                      203

                                                                 Page 168
   1 has alleged to have done something has to have an
   2 opportunity to say yes or no or whatever to be
   3 heard.
   4        Q.    If I understand it correctly -- I'm not
   5 asking you for a legal opinion.          I know you don't
   6 live in Florida.       I'm not asking that.       I'm asking
   7 from your personal belief, understanding, position.
   8              It's your position that the Association
   9 couldn't take any action against either you or
  10 Mr. Wilcox because they didn't give him a fair
  11 opportunity for him to present his side of the
  12 issues and the facts before they took legal action?
  13              MR. LUBLINER:     Form.
  14        A.    Yes.   I believe that they would have to
  15 have done it that way.        I'm not certain if it's in
  16 Florida law or in the declaration or the rules.              I'm
  17 not sure where it would be, but I know they had a
  18 fine committee, and it was laid out exactly how
  19 things were to happen if there was an alleged
  20 violation.
  21        Q.    So let's continue here.       You told me --
  22 so, finally, on or about July 8, 2021, an agreement
  23 was sent to Ms. McFadden with a purported Page 2 of
  24 the agreement to extend the lease term by an
  25 additional six months, or a one-year lease in total.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 169 of
                                      203

                                                                 Page 169
   1              Do you know what lease agreement
   2 Ms. McFadden received or who she received it from
   3 that had a one-year term lease in the lease?
   4        A.    I did not send anything in July.         I did
   5 not have a conversation with her in July.            She may
   6 have gotten something from Mr. Gelber in July, which
   7 was not my document at all.         He testified in the
   8 other case about receiving -- about sending
   9 something to her.
  10        Q.    He sent her allegedly a lease that
  11 continued a one-year term, do you know?
  12        A.    I don't know what he sent her, but it
  13 wasn't my lease.
  14        Q.    There were iterations of your lease that
  15 contains a one-year term, correct?
  16              MR. LUBLINER:     Form.
  17        A.    Yes.    In the beginning, it was finalized.
  18        Q.    Is it possible that he sent her,
  19 Ms. McFadden, one of those iterations of a one-year
  20 lease?
  21        A.    Yes, it is possible.       You have to question
  22 him as to what exactly he sent.
  23              Why is she asking for it in July?          I know
  24 I'm not supposed to ask you questions.
  25        Q.    Okay.   Do you know why Ms. Burnett here is


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 170 of
                                      203

                                                                 Page 170
   1 claiming that the lease that was received from
   2 somebody by Ms. McFadden had a different font and
   3 style than the other leases?
   4        A.    No.   I don't know what she did.
   5        Q.    Did you ever see the lease that
   6 Ms. McFadden received from some third party, whether
   7 it was Mr. Gelber or someone else?
   8        A.    I think it was the ones we just looked at,
   9 but I wasn't part -- he didn't e-mail it to me.              I
  10 didn't get it from Roy.
  11        Q.    What was your reaction when you received
  12 this letter from --
  13              And if you had counsel at that point -- I
  14 don't need you to tell me what you discussed with
  15 counsel -- what was your reaction to receiving this
  16 letter from Ms. Burnett?
  17              MR. LUBLINER:     I appreciate David's
  18        instructions, but if you had a personal
  19        reaction that did not involve any communication
  20        with me, go ahead and answer.
  21        A.    Well, I was horrified.       What are you
  22 talking about?      My personal reaction was this was --
  23 I don't want to curse, but this is a pile of
  24 nonsense.     None of this is true.       I don't know what
  25 you are talking about.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 171 of
                                      203

                                                                 Page 171
   1        Q.    Go ahead.
   2        A.    I referred to my counsel, and I didn't
   3 respond at all.
   4        Q.    Okay.   That was my next question.
   5              Did you reach out to Ms. Burnett and
   6 respond in any way at that point other than retain
   7 Mr. Lubliner?
   8              MR. LUBLINER:     Answer the question.       You
   9        are not going beyond saying yes or no.
  10        A.    I did not.
  11        Q.    You did not respond?
  12        A.    No.
  13        Q.    Were you aware that the Association was
  14 going to file a lawsuit requiring you to remove
  15 Mr. Wilcox from the unit prior to the lawsuit being
  16 filed?
  17        A.    I don't know that they would go so far and
  18 sue me.     I knew they were trying to bully me into
  19 throwing him out for some transgressions for which
  20 they never had a hearing, and I knew that there
  21 was -- there was a discussion of things having
  22 happened, perhaps having happened, allegedly having
  23 happened.     I was not aware they were going to sue
  24 me.
  25        Q.    Did you -- if they had, in fact, had a


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 172 of
                                      203

                                                                  Page 172
   1 hearing and found that Mr. Wilcox committed these
   2 transgressions, would you at that point have removed
   3 him if they had that hearing?
   4              MR. LUBLINER:     Form.
   5        A.    If it was established that he did
   6 something that violated my lease, then I would have
   7 considered removing him.        I would have had a legal
   8 action and the lease --
   9        Q.    What --
  10        A.    It never came, all the allegations.
  11        Q.    I'm sorry.     Go ahead.
  12              MR. LUBLINER:     She did not finish.       I
  13        don't know.
  14        A.    Ask me the question again, Mr. Israel.
  15              MR. ISRAEL:     Madam Court Reporter, could
  16        you read the question, please?
  17                (The pending question was read by the
  18        reporter as recorded above.)
  19              MR. LUBLINER:     Form.
  20        A.    If I had concluded that what had happened
  21 rose to the level of a violation of my lease, I may
  22 have taken action against him.          I would imagine I
  23 would have researched whether he could be removed
  24 based on what had happened, but up until that point,
  25 I had no clue that anything happened.           I would have


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                                                                   7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 173 of
                                      203

                                                                 Page 173
   1 done whatever the board required of me.
   2        Q.    If it was shown that Mr. Wilcox had
   3 allegedly violated the Association's governing
   4 documents, rules and regulations, bylaws, whichever,
   5 would that have been sufficient for a breach of a
   6 lease in your mind?
   7              MR. LUBLINER:     Form.
   8        A.    I was not an expert in this area in
   9 Florida, so I would have like hired counsel in
  10 Florida who understood the Florida rules.            I would
  11 have asked that counsel.        It could have been Mitch,
  12 could have been anybody else to review the
  13 declaration, the bylaws and the rules and regs that
  14 were provided and make a determination as to whether
  15 it would be my obligation to bring an action to the
  16 board.      And don't forget there were COVID rules at
  17 the time.     You couldn't evict federally before the
  18 26th of August, and Florida actually had a rule that
  19 you couldn't evict until I think the 16th of
  20 October.     There were evictions saved that came into
  21 play as well.
  22        Q.    Let me ask you a question.        If it involved
  23 violations of law and not just governing documents,
  24 would that be sufficient in your mind for you to
  25 remove the tenant from the property?


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 174 of
                                      203

                                                                   Page 174
   1              MR. LUBLINER:     Form.
   2        A.    You mean if he went out and murdered
   3 somebody?
   4        Q.    There are other violations of the law that
   5 don't include murdering people.
   6        A.    I'm sure.
   7        Q.    Kill somebody --
   8        A.    I don't know.     I don't know the answer to
   9 that.
  10              MR. LUBLINER:     Form.
  11        A.    I don't know if that's a violation.          I
  12 would have hired counsel.
  13        Q.    Even though there was a violation of the
  14 law, that in your mind, without advice of counsel,
  15 would not be in and of itself sufficient?            I'm not
  16 talking about murdering someone.          I'm talking about
  17 other violations of the law that could be much less
  18 than murdering somebody.
  19        A.    Yeah.
  20              MR. LUBLINER:     Form.
  21        A.    I don't know what would -- I would have
  22 done whatever the law required and permitted.             I
  23 mean, black people get arrested for drunk driving.
  24 Does that mean he violated my lease?
  25              I would tend to doubt it.        I think it


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                                                                    7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 175 of
                                      203

                                                                  Page 175
   1 would -- I would have to look into it further.               I
   2 really don't know the answer to that.
   3        Q.    So if it was a charge of domestic
   4 violence, would that be sufficient for you to
   5 believe that there was a basis for removal of the
   6 tenant?
   7              MR. LUBLINER:     Form.
   8        A.    I don't know the answer to that.         All I
   9 know is that the victim of the domestic violence in
  10 New York is permitted to use that as a reason to
  11 leave the premises, abandon the lease.            That is why
  12 I had that domestic violence provision in that
  13 lease, because I actually agree with that law, that
  14 if you are a victim of domestic violence, the
  15 landlord shouldn't put your feet to the fire and
  16 make you live with the abuser.
  17              So I would say that if somebody were a
  18 victim of domestic violence -- but if they were the
  19 perpetrator, what would I do?          I don't know.     I
  20 would have to look into it.
  21        Q.    So if it was -- if it was a domestic
  22 violence issue, you would let him out of the lease,
  23 but you would have to determine whether it was
  24 appropriate to remove them from the property?
  25              MR. LUBLINER:     Form.


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                                                                      7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 176 of
                                      203

                                                                 Page 176
   1        A.    I don't know.     I don't know what I would
   2 have done if they were -- in all these years, I
   3 never had a victim of domestic violence living in my
   4 units, and that's still the case today, so my
   5 premise that I hold as the landlord.           I would have
   6 to educate myself on what is the proper reaction if
   7 people who are living in a place you own are being
   8 domestically violent to each other.           I don't really
   9 know what the rules are.        I'm not going to make it
  10 up.    I don't know what they are.
  11        Q.    So did you ever -- One second.
  12              Did you ever see -- can you see the photo
  13 I'm sharing with you?
  14        A.    Okay.
  15        Q.    Do you know what that -- did you ever see
  16 that photograph before?
  17        A.    No, I don't think so.
  18        Q.    Did you ever hear the recording that
  19 Mr. Wilcox made, the private meeting behind that
  20 closed door?
  21              MR. LUBLINER:     Form.
  22        A.    I don't think so.      I don't think I have
  23 listened, but I know that there was a conversation
  24 that could be heard through the door, and I heard
  25 about the conversation.


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 177 of
                                      203

                                                                 Page 177
   1        Q.    What did you hear about that?
   2        A.    I heard that Mary McFadden was screaming
   3 at Todd Gates, and she used --
   4        Q.    Who did you hear that from?
   5        A.    From David Wilcox.
   6        Q.    So whatever Mr. Wilcox tells you, you just
   7 take it as gospel?
   8        A.    No.
   9              MR. LUBLINER:     Form.
  10        A.    He sent the recording.
  11        Q.    He sent the recording?
  12        A.    I don't think I listened to it, but he
  13 told me about it, and he sent it to me.
  14        Q.    Okay.
  15        A.    And supposedly --
  16        Q.    Go ahead.    I'm sorry.
  17        A.    He's standing there.       That's the picture
  18 of that.     I don't think I ever saw the picture.
  19        Q.    So he sent you the recording of what was
  20 said, correct?
  21        A.    Yes, I believe that is so.
  22        Q.    And are you aware that under Florida law,
  23 that could be considered a felony, to record
  24 somebody without permission in a private setting?
  25              MR. LUBLINER:     Form.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 178 of
                                      203

                                                                 Page 178
   1        A.    It's not in a private setting.         He was in
   2 a public space.
   3              He was in a public space.        She was in a
   4 private space, and he was in a public space, and he
   5 could hear it.
   6        Q.    So if I go to your office and there is a
   7 hallway, and I stick my phone on your mail slot and
   8 record you, that would be appropriate even though
   9 you are in your office having a conversation?
  10              MR. LUBLINER:     Form.
  11        A.    I'm sorry.
  12              MR. LUBLINER:     Form.    Go ahead.
  13        A.    I believe Mary came to the door.         So if
  14 I'm standing around the back and I could hear
  15 somebody threatening the bank teller, I'm not
  16 allowed to testify in Florida to that?
  17        Q.    Testifying is one thing.        Recording is
  18 something else.
  19              MR. LUBLINER:     She is not a criminal
  20        expert.    She is a nonparty witness.
  21        A.    I was advised --
  22              MR. ISRAEL:     You know, expertise as a
  23        lawyer in Florida -- I understand she is not a
  24        licensed Florida lawyer.        I'm just asking
  25        her --


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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 179 of
                                      203

                                                                 Page 179
   1              MR. LUBLINER:     You are asking her is it
   2        proper.     Inappropriate.    She is a fact witness.
   3        Q.    (By Mr. Israel) Ms. Manzo, so just to go back
   4 for a second to my line of questioning.            It is 3:00.
   5              You did not find this to be an issue for
   6 which you needed to take any action with regards to
   7 your tenant?
   8              MR. LUBLINER:     Form.
   9        A.    No.   Why would I have a problem?
  10        Q.    This is not a breach of the lease,
  11 correct?
  12        A.    No.
  13              MR. LUBLINER:     Form.
  14        A.    Correct.    That's correct.      This is not a
  15 breach of the lease.
  16        Q.    Let me ask you this so I know.         What would
  17 be a breach of lease in your mind?
  18              MR. LUBLINER:     Asked and answered.       Form.
  19        A.    Well, destruction of property, nonpayment,
  20 not letting me know that something broke.            Those are
  21 breaches of duties.
  22        Q.    When you say destruction of property, are
  23 you talking about you doing it or talking about the
  24 Association?
  25              MR. LUBLINER:     Form.


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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 180 of
                                      203

                                                                 Page 180
   1        A.    Destruction of my property, something in
   2 the unit.
   3        Q.    Got it.    Got it.
   4              MR. ISRAEL:     All right.    Rich, it is 3:00.
   5              MR. LUBLINER:     Okay.    You want to go off?
   6              MR. ISRAEL:     I'm sorry?
   7              MR. LUBLINER:     You want to go off and have
   8        the conversation?      Because I assume it means
   9        scheduling.
  10              MR. ISRAEL:     That's fine.
  11                 (Discussion off the record.)
  12                 (Whereupon, the deposition was adjourned
  13          at 3:10 p.m.)
  14
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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 181 of
                                      203

                                                                 Page 181
   1 AND FURTHER DEPONENT SAITH NAUGHT
   2
   3
   4
   5                                      _____________________
   6                                      VALERIE MANZO
   7
   8          Sworn to and subscribed in my presence this
   9 day of                        , 2022.
  10
  11
  12                          ________________________
  13                               Notary Public
                                   State of Florida
  14
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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 182 of
                                      203

                                                                 Page 182
                         CERTIFICATE OF OATH


      STATE OF FLORIDA,
      COUNTY OF BROWARD.




              I, Laurie Susskind, Registered Professional
      Reporter, and Notary Public, State of Florida, certify
      that VALERIE MANZO remotely appeared before me on the
      26th day of April, 2022, and was duly sworn.


              Signed this 24th day of May, 2022.




                     ________________________________
                     LAURIE SUSSKIND, RPR
                     Notary Public, State of Florida
                     Commission No. HH 003132
                     My commission expires: 9/22/24




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                                                                  7b52fb0a-6c70-4996-ae26-fc24236ecc16
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 183 of
                                      203

                                                                 Page 183
                 REPORTER'S DEPOSITION CERTIFICATE


      STATE OF FLORIDA)
      COUNTY OF BROWARD)


            I, LAURIE SUSSKIND, Registered Professional
      Reporter, do hereby certify that I was authorized to
      and did stenographically report the deposition of
      VALERIE MANZO; that a review of the transcript was
      requested; and that the transcript, Pages 1 through
      183, is a true record of my stenographic notes.
            I FURTHER CERTIFY that I am not a relative,
      employee, attorney or counsel of any of the parties,
      nor am I a relative or employee of any of the parties'
      attorney or counsel connected with the action, nor am I
      financially interested in the action.
            Dated this 24th day of May, 2022, at Fort
      Lauderdale, Broward County, Florida.




                              ___________________
                              LAURIE SUSSKIND, R.P.R.




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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 184 of
                                      203

                                                                 Page 184
                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
                     WEST PALM BEACH DIVISION
                     CASE NO. 9:21-CV-81565-DMM
      ________________________________________
      WILLIAM DAVID WILCOX, JR. a/k/a
      DAVID WILCOX, an individual, and
      MEGAN DANIELLE LUCHEY, an individual,
                  Plaintiffs,
      vs.
      LA     PENSEE       CONDOMINIUM,
      ASSOCIATION, INC., a Florida Not-For-
      Profit Corporation, MARY McFADDEN, an
      individual,       MAC     RESIDENTIAL
      MANAGEMENT SERVICES, LLC, a Florida
      Limited Liability Company, and
      DAVID WOLFF a/k/a DAVID WOLF, an individual,
                Defendants.
      ________________________________________

            To: LUBLINER LAW
            c/o: Valerie Manzo
            By: RICHARD S. LUBLINER, ESQ.
                 1645 Palm Beach Lakes Boulevard, Suit 1200
                 West Palm Beach, Florida 33401
                 Your deposition taken in the above
            entitled cause is now ready for signature.
            Please come to this office and sign same; or
            if you wish to waive the signing of the
            deposition, please so advise.
                 If this deposition has not been signed
            by June 24, 2022, we shall consider your
            signature waived.
                 UNITED REPORTING, INC.
                  1218 Southeast 3rd Avenue
                  Fort Lauderdale, Florida 33316
                  (954) 525-2221
                   Laurie Susskind, R.P.R.


                            United Reporting, Inc.
                                (954) 525-2221

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Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 185 of
                                      203
                                                                                                        Page 185

           A              42:13,17 44:11 45:3     168:1,19              answering 167:1         approved 13:23,25
a.m 1:20 26:22 27:10      45:22,23 46:4 47:16   allegedly 162:11        answers 4:22              18:18,20 53:15,20
  27:16,21 29:5,6       adoption 44:11            169:10 171:22         anticipated 64:16         59:1 66:16 73:4
  49:1,2 56:10 96:7     advance 40:17 53:14       173:3                 anybody 7:2 16:1          85:18 86:12 87:18
a/k/a 1:5,12 184:5,12     130:7                 Allison 10:25 11:12       21:23 22:19,23 45:1     90:9 93:21,25 94:2
abandon 175:11          advice 174:14             24:2                    50:23 69:25 77:9        95:23 104:11,14
able 112:4              advise 56:19 184:20     allow 20:13               166:12 173:12           108:11 122:15,25
above-entitled 4:4      advised 24:11 45:15     allowed 72:5 83:18      anymore 48:19             123:9 128:8 129:23
absolutely 37:2 42:23     54:5 160:8 162:11       83:19 89:7 178:16     anyway 118:20             143:22 161:18
  48:24                   178:21                allowing 22:19            132:22                  163:16,18 165:14
abuser 175:16           advising 31:25 158:5    alluded 52:12           apartment 130:15        approving 18:22
acceptable 9:8          affidavit 95:10         alluding 46:8           apartments 13:1,5         134:7
accepted 21:21 76:15    affix 167:20            alterations 118:15      apologize 28:11         Approximately 13:15
account 57:3            afraid 88:5             altogether 137:7        Apparently 80:13        April 1:19 12:6,7
accurate 24:25 36:20    afternoon 93:11,12      amendment 80:25         appear 132:18             79:1 182:10
  44:12 49:25 67:7        101:1                   122:14 123:21         APPEARANCES 2:1         area 66:12 173:8
  76:8 120:10 126:15    agent 10:5 80:15          131:13 136:5            2:5,10,14             areas 123:19
  131:2 158:15 159:4      108:1,2 121:25          141:23,24 142:3,5,6   appeared 4:3 182:9      arrested 174:23
  159:11 160:10,11      agree 129:2 137:14        155:10                appears 10:25 11:11     arrive 125:17
  161:13,19 162:13        165:18 175:13         amount 60:23 111:1        11:15,21 36:9,24      arrived 12:8 25:4,14
acknowledge 144:9       agreeable 51:17         Amy 16:14,16,21           37:16 38:14 66:21     asked 22:21 28:5
acknowledged 98:17      agreed 117:7 120:1        17:3,8,25 18:12,17      66:21,25 67:10 83:1     29:6 42:18 45:19
  144:10                  125:24 126:5 132:4      18:19,22,25 19:13       83:2 87:2 96:9          48:9 49:6 75:23
action 168:9,12 172:8     144:11 146:16           19:23                   131:18 151:22           76:21,25 85:4 96:20
  172:22 173:15           153:11 165:16         Andrew 2:7 100:6          155:23                  97:3,18 99:3 102:4
  179:6 183:15,16       agreeing 153:16         animal 32:4,6 52:13     application 57:11         114:23 121:20
actions 167:15          agreement 32:22           52:17,19,20,23 53:3     58:25 59:7 66:6,18      126:18 127:7
active 10:10              59:20 70:15 82:5,8      53:5,6,7,10,20,21       66:23 67:1,2,7,16       129:21 132:16
actual 19:12 34:11        113:20 115:13           53:25 54:3,6,9,14       67:18,24 68:7,12,19     159:24 173:11
  44:4 45:9 84:12         126:20,22,23            54:16,20 55:3,5         76:10 82:22,23          179:18
  99:15 123:11,24         139:18,21,24            65:12,13,24 66:6,16     85:16 86:17,24 88:2   asking 9:24 38:15
  132:20 166:20           142:14 144:15           76:11,13 83:7,16,22     88:17 94:8,15,16,23     39:5,16 47:1,3
add 65:17                 147:11 159:1,3,10       84:2,8,8 85:16 89:2     95:11,13,16,21          49:16 58:12,24
added 65:8 115:21         159:25 160:8,9          89:6,8 90:16,17         96:22,23 97:21,22       76:22,23 77:1 88:1
  116:22 118:12           161:5 163:10,14,14      94:8,14 102:12          103:7 131:17,19         88:4,17 100:7
  145:8 156:4,5,9         168:22,24 169:1         111:25 112:2,4,8,11     136:17 137:1            101:24 103:10
addendum 124:22         agreements 64:14          120:8 149:18          applies 69:19             106:20 125:5
addition 148:25         agrees 24:21            animals 52:15           appointment 100:4         127:14 164:4,4
additional 31:24        ahead 47:20 61:25       annotations 32:10       appreciate 96:10          165:8 168:5,6,6
  32:15 168:25            92:3 106:11 127:17    annual 10:16              170:17                  169:23 178:24
address 9:16,17,17        135:25 138:20,21      answer 4:16,17,18       approaching 85:6          179:1
  9:19 11:3,8 26:8,9      159:16 162:10           5:3,4 22:14 23:24     appropriate 48:21       assist 53:10
  26:10 37:5 38:12        163:12 166:2            24:14,22 45:21          89:3 175:24 178:8     assistant 5:23 6:3,8,8
  58:13,17,20,23          170:20 171:1            49:11 63:20,22        approval 11:18 81:14    assisting 66:22
  59:15                   172:11 177:16           81:21 124:18 125:6      81:15 102:12          associated 7:3
addressed 157:22          178:12                  132:17 170:20           106:21,24,25 123:4    ASSOCIATES 2:11
  158:6                 airbnb 71:10              171:8 174:8 175:2,8     123:6 131:14 136:8    Association 1:9 2:5
adjourned 180:12        album 123:2             answered 28:6 97:19       145:11,13 155:13        13:24 15:22 16:1
admitted 5:14           Alison 77:16              114:23 125:6 127:7    approvals 122:20          18:18,22 23:17,22
adopt 43:4,9,11         allegations 172:10        127:9 132:16          approve 30:20             24:18 39:7 45:1
adopted 41:21 42:3,4    alleged 167:21,25         179:18                  129:22 162:18           50:23 53:20 63:18


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 186 of
                                      203
                                                                                                       Page 186

  66:15 67:14 69:25     available 10:11 42:10 believe 8:25 13:14         112:5 122:21          business 5:18 19:16
  70:3 73:4,19 79:13    Avenue 1:24 2:8         15:9 17:19 20:22         143:24 145:12,12      buying 77:20
  84:1 90:10 91:2         184:23                22:25 23:7,8,9           145:13 167:14         bylaws 39:7 41:25
  93:15 95:22 101:14    aware 23:24 80:22       30:21 34:14 40:7,20      173:1,16                46:4,5 70:12 78:3
  101:18 107:24           146:18 159:9,13       40:20 41:4 42:15       board's 20:20,22          173:4,13
  112:9,14 122:16         166:5 171:13,23       43:3 45:2 48:2           43:8 53:17 83:14
  136:17 158:10,21        177:22                52:18 53:14 59:8         103:20                           C
  158:21 159:10                                 64:25 66:8,9,23        bold 65:8               C 84:10 139:17
  161:18 162:17                    B            67:19 68:15 73:10      bond 145:10             c/o 184:15
  163:4,10 164:20       B 2:12 84:10 125:3,3    80:9 81:15 89:6        border 133:8,9,17,22    cable 29:13
  165:14,19,21 168:8      125:4,5 132:23        93:19 96:3 113:10        134:1 136:1           calculation 121:4
  171:13 179:24         back 7:22 14:20 15:6    114:7 117:17 123:5     bottom 10:14 28:22      calculations 22:16
  184:9                   15:13,20,21,23 16:2   125:23 127:3             33:19 88:15 115:17    call 15:18 32:12 50:5
association's 54:5,12     16:4,6 19:8,9,24      141:24 145:22            117:11 119:1,20,25      54:21 55:8,11 80:21
  70:11 84:25 86:16       46:2 48:25 54:8,19    147:23 148:21            121:9 127:22 128:3      84:13,14,16,19,21
  123:4 131:14 136:7      67:13 69:4 73:14      151:20 152:7 153:2       128:9,15,23 130:19      86:19 143:17
  155:13 160:6 166:7      78:25 93:3 95:4,5     156:19 157:18            133:7 134:12,17,18      164:14
  173:3                   96:3 100:17 101:5     167:7,9 168:14           134:24 135:3,5,11     called 17:5 32:20
assume 25:1 34:8          102:17 103:7 116:3    175:5 177:21             135:13,23 136:10        45:10,14 59:19
  60:9 107:13 118:4       125:9,9 127:15        178:13                   136:19,20 139:10        139:25 140:1
  122:4 144:24 180:8      131:9 137:23        believes 47:5              141:1 147:18            166:14
assumed 98:15 105:1       156:25 157:4        best 27:18                 148:15,20 149:4,9     calls 166:18
  112:17 162:22           178:14 179:3        better 53:16 66:22         149:10 150:2,3,4,13   cancel 64:19
assuming 88:24          background 4:14         72:2 165:2,4             150:23 156:5          candidate 28:1,3
  116:21 152:19           5:12 47:17,21       betting 114:1            bought 79:1             car 32:12
  154:20                balcony 32:1 33:17    beyond 143:7 171:9       Boulevard 2:3 184:16    card 111:16
assumption 22:17        bank 151:17,25        bill 30:13               brand 15:2              cards 104:23 111:18
assure 56:21              178:15              bit 5:11 8:3 11:6 19:6   breach 165:23,25        care 71:6 99:21
attached 81:23 85:16    based 4:13 45:6         76:19 80:6 99:12         166:4,8 173:5         cared 103:16
  112:21 113:19           123:12 124:6 129:2    110:5 140:25             179:10,15,17          case 1:3 32:23 43:3
  119:8 129:16 130:3      172:24                160:22                 breaches 179:21           51:18 92:1 98:21
  130:23                basically 15:16 32:21 black 174:23             break 4:23,24 48:23       169:8 176:4 184:3
attachment 123:20         78:24 93:12         blank 59:8 87:7 98:18      99:19,24 100:5,9      cases 51:16 98:14
  141:24,25             basing 44:2 45:5,8      153:12 154:2,6           156:22,23             cashier's 110:12
attempting 31:22        basis 175:5           blanked 121:5            bridge 103:21           categories 154:9
attend 79:2             bathroom 48:23        board 11:22,24,25        bring 79:7,11 173:15    caught 69:22
attended 79:3,4         Beach 1:2 2:3,3 184:2   14:1 15:25 18:24       broke 179:20            cause 4:4 81:8 184:18
attention 71:6            184:16,17             19:7 20:12,15,15       broken 130:6 153:20     cc 26:17
attorney 5:23 6:3,6,8   Bear 8:5                21:9,16,19,24 22:2     brought 7:9,12          certain 12:23 13:15
  7:15 46:21 54:6,12    bears 47:23             22:19,22,24 23:2,8     Broward 182:4 183:4       41:8,20 42:23 44:9
  65:22 164:16          Becker 157:7            23:10,17,19 24:5,6       183:18                  44:11 83:18,19
  183:13,15             beg 99:16               24:8,9,10,17 30:7      builder 14:25 15:4        123:19 163:15
audible 4:22            beginning 19:22 75:9    30:17,24 41:14 43:6    building 30:20 77:11      168:15
audibly 4:16              91:18 125:14,19       43:14 44:23 46:15        77:20 79:12           certainly 61:21 65:3
August 173:18             159:2,22 162:24       48:6 54:16 55:1        building's 30:17          139:16 146:18
authenticity 36:9         169:17                65:13,23 66:3,5        built 52:3              certainty 42:2
authority 45:17         begins 113:24           70:4 71:4 72:5         bully 171:18            certificate 11:18 36:9
  57:13                 behalf 1:17 22:23       73:24 76:6 77:2,6,9    Burnett 90:21,22,24       106:21,24 182:1
authorized 46:14,19       24:5 129:7 157:25     78:19,22 79:2,8,16       112:21 157:7,12,13      183:1
  47:14 105:19          belief 51:21 114:8,13   81:20 91:2 102:13        161:9,13,25 169:25    certification 81:12,23
  162:23 183:7            168:7                 103:11,16,23 104:1       170:16 171:5          certified 166:17


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 187 of
                                      203
                                                                                                     Page 187

certify 182:8 183:7     cleaning 134:8          compounding 44:19        143:13 157:10         32:22 33:10,21
  183:12                clear 5:5,8 44:10,10    computer 37:5            168:21                34:13,16,25 35:1,2
Chad 157:24               80:8 115:6 128:22     concern 51:13          continued 24:25         35:4,6,11,20 37:12
chance 132:20           cleared 76:18           concerned 51:8 95:21     150:8 154:20,21       40:5 41:3 42:14
chances 94:18           clearly 74:20             103:14,15 118:16       169:11                43:17 44:19 50:13
change 33:18 120:5      close 88:10             concerning 43:24       continues 139:1         50:14,19,20 51:7
  120:10 129:22         closed 176:20           concerns 79:11           154:5                 52:7,9,10 53:8
  148:7 149:9,16,19     clue 172:25               166:19               continuing 79:24        55:18,19,23,24 56:6
changed 30:25 38:21     co-counsel 91:24        concluded 172:20       continuously 138:7      56:8,20 57:2,16
  50:14,19 51:5,7         100:7                 conclusion 63:9        contract 23:22 24:9     58:3,6,10,10,18
  63:5 73:21 78:6       COLEMAN 2:7             condition 90:11          24:12,19,22 32:20     60:5,8,13,14,17,18
  112:15 127:3          collecting 89:4         conditions 32:15         32:21 37:25           60:21,22,25 61:1,3
  146:15                combination 123:24      condominium 1:9 2:5    conversation 22:25      61:4,7,10 62:13
changes 41:21 61:6      come 13:8 19:9            7:4 11:2 12:9 14:3     23:4 27:14 29:23      66:16,20 67:3 68:5
  69:5 73:20 75:12        100:17 110:17           59:2,23 107:19         54:4 69:25 73:13      68:8,9,9,13,14,25
  120:3 129:23            117:8 156:25            136:17 158:9,20        74:6,9 83:15,24,25    69:6 71:19 73:11,17
  130:17 132:3,21         160:16 184:19           184:9                  84:6 114:16,20,21     73:18,22 74:16 75:6
  147:7,9,22,23         comes 67:21 125:5       Condominiums 11:18       115:10 160:13,14      75:7,8,13 76:4 77:5
changing 113:16         coming 56:24 71:11      conduct 89:2 112:7       161:15 162:7,16       80:12 85:1 87:1,12
charge 52:13 175:3        71:13                 conferred 21:19          169:5 176:23,25       87:18,19 88:20 89:8
chat 78:13,14           commission 182:18       confirm 42:12 43:12      178:9 180:8           89:9,12 93:10,13,22
cheaper 69:23             182:19                  43:12 84:2           conversations 22:18     94:3,6 95:8 96:18
check 110:10,12         committed 163:19        confirmation 36:16       22:21,24 30:11 70:6   96:20,21,24 97:5,11
  117:12,13 118:2,23      172:1                   36:17 37:11 55:14      73:14                 97:11,13,19,23
  119:11,14,18,19       committee 167:17          65:14                conveyed 74:2 78:13     98:25 99:2,7 101:15
  137:3 148:15,17         168:18                confirmed 55:16 68:2   cooperate 143:19,19     101:16,20,21,21,25
  151:17 152:1,13       communication 25:23     confirming 151:23      copied 29:15 80:14      102:4,5 103:8,13
  153:21                  37:17 79:8 105:12     confusion 23:10          110:8 133:18 134:1    104:15,16,20,25
checked 72:16 130:6       107:4 170:19            123:16               copies 75:16 101:18     105:1 106:25 107:3
checking 152:21         Comp 3:11               connected 183:15         164:1                 107:9,21,22 108:9
checklist 129:16        company 1:11 23:19      connection 36:11       copy 63:23 67:2,7,11    108:10 109:19
  130:2,5,11,12,14,23     23:22 24:17 29:13     consider 42:24           67:17 75:11 80:23     110:15 113:18
  131:25 152:23           36:11 43:6 48:11        184:21                 81:11,23 96:17 98:6   114:9 115:15,16,25
  153:6                   142:8 184:11          considered 172:7         99:1,5 103:1 105:22   116:3,4,7,9,10,20
checks 69:2 122:25      complaining 166:3         177:23                 108:16 109:10         118:24,25 119:4,5,5
chief 23:20             complaint 3:11          constraints 83:17        133:12,12,25 134:2    119:10,13 120:4,24
Childrey 45:20 48:8       112:19 113:5 157:6    constructing 15:2      copying 80:5,11         121:6,7,8 122:6,7,9
choosing 53:17,17       complete 87:1,10        construction 14:13     cordial 105:12          122:12,13 123:7,8
  65:23,23                95:15 98:5 106:4,6      16:23 17:12,20         108:15 164:12         124:11 125:22
Christmas 38:20           106:15 107:3,10         160:24,25            corner 161:5            126:3 128:24 129:5
circle 141:23             129:15 162:14         consulted 56:18        corporation 1:10        129:6,8,13 130:24
circulated 44:8           164:1                 contact 25:21 80:20      36:6 81:7 184:10      130:25 132:14,25
circumstances 38:21     completed 17:13 21:3      80:20 86:2,4         Corporations 10:10      133:1,5,6 134:13,16
claim 7:6 125:16          85:5 95:22 106:10     contacted 25:17        correct 6:14,18 7:19    134:19,23 135:1,4,6
  153:19                  153:8                 contains 124:8,15        9:13 10:5 11:2,11     135:7,9,10,15,23,24
claiming 133:2 170:1    completely 63:5           148:4 169:15           11:15,19 12:7,19      136:6,9,10,11,11,14
clarification 28:12       160:12                contemplate 143:6        13:4 17:15,24 18:6    136:15 137:18
clarify 28:24 65:18     completion 22:11        contemplated 63:8        18:7 19:25 20:1       138:3 139:2 140:2,7
  146:14                composite 26:4,15       contemplates 143:3       22:6 23:23 27:18      140:7,12,15 141:4,6
clean 117:9 134:8         28:13,21 31:13 36:7   continuation 15:16       28:15,16 29:8,9       141:7,11,12 142:8
cleaned 117:7             113:12                continue 100:18          31:5,10,11,20 32:17   143:4 144:18 145:4


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 188 of
                                      203
                                                                                                     Page 188

  145:6,16 146:4          58:13,14,20 63:10     80:17 109:5,9           150:4,8 151:13         74:8 87:21 132:13
  147:9,10,21,25          69:17                 121:23                deposition 1:15 4:11     159:17 170:14
  148:9,13,23 149:2,3   curse 170:23          dealing 70:12 80:15       4:14 8:18 28:17,18   discusses 149:7
  149:12,15 150:5,6     custom 43:3             109:5 121:24            49:7 100:22 180:12   discussing 50:15
  150:14,15,18,21,25    cut 132:8 167:3       dealings 77:7             183:1,8 184:18,20      85:22 101:4 102:10
  151:18,19,24          cut-and-paste 128:19  dealt 19:15 26:2          184:20                 109:22 122:24
  152:15,17 153:9         128:19 129:17,19      38:10 75:20           depositions 6:17       discussion 19:7 35:9
  154:1,4,7,11,15                             December 20:24 22:8     deposits 35:24 121:5     50:12 54:19 55:2
  155:3,5,6,13,14,17              D             25:7 26:22 27:10      describe 19:3,14         171:21 180:11
  155:21,22,25 156:1    D 2:16                  29:5,7,14             described 19:2 36:25   discussions 32:18
  156:3,16,19 157:17    damage 153:18,18      decide 30:18 99:20        84:16                  74:1
  158:8,18,23 159:20    DANIELLE 1:6 2:19       142:22                description 3:9 11:7   DISTRICT 1:1,1
  163:6,16 164:8,25       184:6               decided 73:6 90:15        11:10 158:15           184:1,1
  165:1 169:15          date 1:19 23:6 27:1     147:16                destruction 179:19     ditched 137:21
  177:20 179:11,14        28:5,7 29:8 30:9,25 decision 44:24 78:8,9     179:22 180:1         Division 1:2 10:9
  179:14                  31:1,1,3 37:5,20      78:12                 detail 70:17             184:2
correction 119:23         39:1,15 43:25 44:16 decision-maker 30:5     detailing 53:13        divorced 20:11
correctly 49:21 94:18     44:20,22 56:1 60:20   30:8                  determination 173:14   dizzy 112:25
  101:13 138:24           60:20 78:23 82:5    decisions 24:5,6        determine 77:19        doc 83:10
  168:4                   86:13 98:8 99:12      77:24                   112:10 175:23        doctor 83:10 84:1
costly 16:20              113:4 163:22        declaration 46:5 78:4   Diane 16:14,16,21        85:1,17 94:7,10,21
counsel 56:12,14        dated 12:5,7 26:21      168:16 173:13           17:3,7,25 18:12,17     94:22 95:2
  157:20,20 158:2,3,5     41:9 44:13,14 60:15 decrease 64:18            18:19,22,25 19:12    doctor's 95:9 100:4
  170:13,15 171:2         115:13 133:4        deed 3:10 10:22,25        19:23                document 10:8,23,24
  173:9,11 174:12,14      135:16 140:14         11:11,16 12:5         differences 127:19       28:14 33:8 34:2,3
  183:13,15               150:16 151:11         163:20                different 7:16,16        34:16,20,24 35:2,3
county 6:2,3,8,9          155:10 157:8        DEFENDANT/LA              63:15 68:17 73:12      36:10,13 59:25
  182:4 183:4,18          183:17                2:5                     75:11 76:2,19,25       60:12 61:2 80:19
couple 101:9            dates 14:4 16:18      DEFENDANT/MAC             77:2 94:3 103:15       81:1,3 87:4,5 114:6
court 1:1 4:20 7:7        161:4                 2:14                    121:5 126:7 136:24     115:24 116:18
  10:17 12:2 25:10      daughter 100:3        Defendants 1:13           137:6 139:4 152:8      122:23 123:14,17
  112:20 172:15         David 1:5,5,12,12 2:5   184:13                  166:16 170:2           124:4,4,6,6,8,15,18
  184:1                   2:12,19,20 4:9      Defendants' 3:9         differently 63:13        124:20,21 125:11
courts 7:17               28:10 36:12 75:23     10:19 12:3 26:15      diligence 77:19,22       125:23,24 126:1,2,4
covered 152:2             81:14 83:9 107:14     113:22                Direct 3:5 4:7           126:8,14,14 127:5
COVID 118:5,11,17         113:1 116:8,16      Defendants/Mary         directed 59:10           127:12,22 128:20
  118:21 119:24           118:4 122:4 144:24    1:17 2:10             directly 68:23 77:5      129:12,15,24
  120:13 128:8 148:9      145:1,22 177:5      defending 7:20            78:23 80:17 81:19      130:17,21 131:2,20
  149:7,20 173:16         184:5,5,12,12       definitely 62:14          82:23 87:13 88:2       131:21,22,23 132:9
create 103:12           David's 83:15,21        117:17 137:10           105:25 121:23          132:11,12,15,19,20
created 32:24,24 34:7     115:19 117:18       degree 102:9            directors 30:18 43:6     132:23 133:23
  37:18 134:1             170:17              delay 81:8 103:12,14      43:14                  134:21 135:8
credit 76:12            Davie 2:13              103:15                disagreement 23:13       137:10,13,15,16
criminal 178:19         day 12:5 27:17 53:2   DeMarinis 80:8          disagrees 24:21          138:12,16 139:1,3,8
cross 103:21              84:19 96:11 181:9   DENNEHEY 2:7            disclosure 120:17        139:13 150:16
crossed 102:10 120:7      182:10,12 183:17    dentist 20:9 21:12        150:5,9                151:11 169:7
  120:19 143:1          days 43:10 51:25        22:3,7 24:24          discovery 4:12 6:17    documentary 166:21
  144:19                days' 51:19 52:1      Depends 33:6            discuss 143:15         documentation 47:17
crossed-out 120:21      De 9:19 158:7         DEPONENT 181:1            144:12                 77:18,21 84:15 87:2
curious 34:4            deal 24:2 36:12 40:2  deposit 36:3,5 52:13    discussed 20:16 23:5   documents 23:25
current 40:1,1 45:19      77:10,11,13 78:1      120:17 149:22           31:18 49:19 51:14      38:7 48:11 53:13


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 189 of
                                      203
                                                                                                      Page 189

  64:15 86:20 98:18     54:19,21 55:6,7,12    either 14:5 19:4 45:1     59:4,8,12 63:12       expressed 44:25
  99:15 110:3 126:7     55:15 56:9 58:15        51:18 54:21 59:10       66:16 74:14 77:4      expressing 38:24
  173:4,23              73:9,14 74:10 79:23     71:3 76:6 98:11         86:22,25 89:7,11        147:6
dog 32:3 52:17 56:5     80:7,12 81:22 82:12     107:5,16 118:9          95:19 104:13 108:7    extend 63:6 142:15
  81:12,15 82:23 86:2   83:2,6 84:12,24         145:23 152:19           110:9                   161:1 168:24
  86:16 87:18 89:14     85:8,14 86:5,7          158:4 168:9           everybody 8:14 29:1     extended 161:2
  90:9,11 94:15 95:11   87:16 88:16 93:4      elbow 138:9               100:8,14 156:22       extending 143:7
  95:13,21 96:23        94:11 96:6 101:8,22   elder 5:17              evict 173:17,19           160:23
  97:22 103:6 111:5     102:2,16,23 103:1,2   Eleanor 106:20          evictions 173:20        extends 167:7
  119:9,10 122:25       103:5,19 105:11       electronic 34:7,9,10    evidence 166:20,20      extension 63:4,9
  123:7                 106:19 107:6            36:16 37:11,20          166:21,22               144:10
dogs 52:12              108:15 109:20         electronically 34:16    evolve 139:1            extent 23:3
doing 22:15,17 46:15    110:8 170:9           elelep@aol.com          exact 18:13 28:2        extraordinary 111:1
  46:15 54:12 76:23   e-mailed 157:16,19        26:20                 exactly 25:18 88:12
  76:24,24 77:22      e-mails 8:19 26:5,6     Elly 12:20                89:25 90:2 154:6,12               F
  78:22 89:5 103:23     26:17 27:4,24 49:18   emotional 53:6            168:18 169:22         fabricated 89:15
  111:2 179:23          54:8,17 55:9,9        employee 183:13,14      Examination 1:22 3:5      114:24 160:12
dollars 88:7            74:11 84:15,23 85:3   empty 16:25 67:13         4:7                   fabrication 162:14
domestic 61:13,14,15    85:4,11 100:1         enchilada 75:1          example 46:17           FaceTime 111:12
  61:19,22 62:9 175:3   105:14 166:17         enclosed 43:25            132:21 166:6          facilitated 105:2
  175:9,12,14,18,21   earlier 14:10,11        ended 60:10             exception 30:18           163:20
  176:3                 22:20 23:5 31:1       ends 113:24 125:20      exchange 101:8          facilities 104:24
domestically 176:8      49:6 50:21 96:4       engaged 130:4           Excuse 161:6            fact 21:22 42:3 44:15
Donna 48:7 143:25       129:2 137:19,23       Engram 107:12           executed 107:25           46:22 60:10 104:22
door 176:20,24          138:25 140:5,11         157:24                execution 63:18           115:21 130:3
  178:13                148:16 159:17         ensure 107:24             70:14 75:10             171:25 179:2
double 155:4            161:11                enter 32:21 118:10      executive 23:20         facts 168:12
doubt 174:25          earliest 29:8             118:14,18             exercise 69:18          factual 44:4 47:3
draft 60:12,13 69:6   early 32:18 50:10,17    entered 32:16 126:16    exercised 142:13,15     factually 48:3
  126:18                51:8,17 52:18 60:2      143:12 159:1          exhibit 8:18 10:18,19   failure 64:24
drafted 123:24          60:12 61:8,12,15      entering 148:10           10:22 12:2,3 26:4,5   fair 22:10 34:21 41:1
  126:18 127:13         72:20 93:12 138:18    entire 105:2,4 106:7      26:15 28:13,20,21       52:4,5 72:5,7 95:20
drew 151:3              139:9                 entirety 131:4            36:8 113:12,22          95:24 123:10
driving 174:23        Ed 12:14,19,24 13:1     entitled 166:10           125:3,3,4 132:23        168:10
drop 84:15              13:6 17:5 18:16         184:18                  139:17 145:3 157:6    fake 159:6,7,7,8
drunk 174:23            25:16 26:1,20 28:11   entity 107:18           EXHIBITS 3:8            fall 14:6
due 77:18,22 125:6      38:23 40:2 66:22      entry 118:13            expect 40:16 65:1       familiar 6:16 10:23
  166:14                67:13,25 73:9 74:4    error 98:17               99:22                   10:24 29:17 37:15
duly 4:4 182:10         75:17,22,23 77:16     escrow 57:3             expected 58:9,11          138:10
duties 179:21           77:20 80:5,10,10,16   especially 4:21 94:20     98:19                 family 111:13
duty 42:24 54:15        82:2,7,16 87:8,21     ESQ 2:2,7,12,16         expecting 64:18 99:4    far 19:5 96:19 97:16
dwelling 72:2           94:24 95:3 112:6        184:16                experience 41:23          107:6 129:21
                        121:23,24,25 122:1    establish 65:24           52:6                    130:16 144:1
          E             126:8 143:17          established 172:5       expert 47:2 66:12         147:11 158:13
e-mail 25:24 26:7,8,9   153:17,21             establishing 65:12        83:19 173:8 178:20      171:17
  26:10,12,13,14,18   Ed's 82:18 94:25        estate 5:17,18          expertise 178:22        fashion 63:16
  26:19,20,21 27:16     98:13                 Eva 13:21,25            expiration 158:10       fast 85:6 95:6
  27:20 29:18 30:3,10 educate 176:6           Eve 39:1                expired 159:3           faucet 92:21,23
  30:16 31:12,23      Edward 28:23            event 61:12             expires 182:19          February 15:15
  38:11,12,12,14 39:4 effort 39:21 86:9       eventually 31:4 32:17   explain 167:14            16:10
  39:13,21 42:14 50:9 eight 17:9                40:18,18 50:19 58:5   explaining 29:22        federal 4:10 9:22


                                     United Reporting, Inc.
                                         (954) 525-2221
 Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 190 of
                                       203
                                                                                                        Page 190

   54:1 66:11 119:8      finished 29:20 99:25     form 6:19,25 7:5,18     further 26:25 47:23     86:13 87:5,6 88:15
   157:6                    100:2                   10:13 12:11 21:17       61:5 73:13 96:4       90:3,4 92:3 93:3
federally 173:17         fire 175:15                22:13 32:20 33:9,11     120:12,23 124:24      95:4 96:3,5 98:18
fee 28:2 39:19 57:11     firm 5:21,22 34:8          35:8,12,21 36:22        129:9 137:5 144:19    100:1,9 106:11
   68:22,22 69:1 137:2      56:13,14                37:13,14,15,18 41:7     149:19 151:20         117:11 124:24
   151:13                first 4:3 13:19,20,21      41:15 43:7,22 44:6      175:1 181:1 183:12    125:9,9 127:14,17
feedback 92:9,13            13:21 19:19 25:17       44:18 45:12 46:11                             128:21 134:17
feel 111:23                 27:23 28:18 35:7        48:4 62:17 63:14,19             G             135:25 136:22
fees 52:15 68:23            39:6 52:16 74:18,20     73:23 74:17 87:20     garage 104:24           138:20,21 143:7,20
feet 175:15                 80:16,25 93:14          98:7 104:5 105:10     Gates 177:3             146:21 158:11
felony 177:23               95:15 110:17            109:3 110:12          Gelber 25:17,21,25      159:16 162:10
figure 47:5                 113:13,17 121:1,2       125:21 127:7            26:2 37:17 55:15      163:12 166:2
figured 69:23 161:7         122:14 123:2            129:14 133:20           59:10 60:7 74:3       170:20 171:1,17
file 67:10 96:8 171:14      124:10 129:17           138:17 158:17           82:14 87:11,14        172:11 177:16
filed 4:11 112:20           130:22 131:13,24        165:20 166:9            107:16 157:23         178:6,12 179:3
   153:16 171:16            135:25 136:5 138:9      167:10,16 168:13        169:6 170:7           180:5,7
files 67:8                  142:22 155:10           169:16 172:4,19       Gelber's 38:6         God 4:6
fill 58:25 85:17 95:2       158:14 159:22           173:7 174:1,10,20     general 34:9 61:17    GOGGIN 2:7
   154:22,22                161:21 166:13           175:7,25 176:21       generally 9:7 10:10   going 4:15 8:7,11
filled 59:12,12 66:5     five 48:25 72:13           177:9,25 178:10,12      19:20 34:19           10:21 12:1 26:3
   67:12,16,18 68:17        127:8                   179:8,13,18,25        generated 66:24         28:21 32:16 43:11
   87:3 94:19 103:6      five-minute 48:23        formal 48:10            gentleman 84:8 86:11    46:14,20 51:12
   130:14 154:14            156:21,22             format 126:11           gentleman's 22:4        56:20,25 57:3,5,6
final 31:1,3 32:16       five-year 72:16 165:4    former 166:21           getting 23:11 45:24     58:2,8 62:25 65:1
   70:14 75:10 123:21       165:15                Fort 1:24 2:8 183:17      75:15,20 92:9,12      71:11,13,14 73:15
   125:24 126:2,14,23    fixed 69:14                184:23                  99:5 111:3 158:2      78:12 79:12 84:10
   129:16,20 130:5,8     Flagler 2:16             forth 54:8,19 69:5      girlfriend 80:23        84:10 88:5,19,24,25
   130:13,13,13          floating 146:20            73:14 131:10            86:11                 89:24 90:5 92:16
   137:10,12 139:11      Floor 2:16               forward 42:20 81:9      give 4:18 5:11 8:9      93:9 99:11,17,24
   151:12                Florida 1:1,9,11,24        94:15 96:10 101:24      33:1 40:2 42:24       100:8 102:16
finalize 79:25              2:3,8,13,17 7:25      forwarded 42:15           46:17 52:1 77:17      103:11,11,12,21
finalized 130:9             10:9 12:25 13:4,9       67:12 81:13 106:9       80:18,20 82:6 89:2    109:7 110:4 113:11
   169:17                   32:24 33:4 34:9         122:1                   98:1,2,12,15,20       114:10 118:10,11
finally 168:22              37:18 46:5 116:2      forwarding 66:22          113:4 121:21          130:8 131:9 140:25
financially 183:16          160:25 168:6,16       found 17:6 20:3,6,7,9     142:21 152:23         142:21,21 153:20
financials 78:3             173:9,10,10,18          32:3 52:14,18 54:13     159:23 163:20         171:9,14,23 176:9
find 17:3 30:6 41:19        177:22 178:16,23        67:7 88:13 172:1        164:14,17,18        gold 133:8,22 136:1
   44:19,24 47:11           178:24 181:13         four 50:17 51:14          168:10              GONZALEZ 2:15
   51:25 52:2,16 71:3       182:3,8,17 183:3,18     69:10                 given 23:15 30:6 31:2 good 4:8 51:23 54:2
   72:15 84:24 112:7        184:1,9,11,17,23      four-year 165:15          40:6,7 57:12 59:9     71:18 90:13 96:7
   114:10 143:24         flurry 85:7              Friday 94:17 110:7        75:11 107:10,11,12    147:7 165:11
   179:5                 follow 58:14             friend 12:17              107:13 122:3,4      gospel 177:7
finds 127:20             followed 45:11 55:13     friendly 19:16            151:17 167:13       gotten 41:10 89:10
fine 80:16 99:21            112:17 166:12,12      front 125:8 132:25      gives 37:4,20 44:22     169:6
   100:11,15 118:22      Following 145:10         full 105:24 106:15        51:25               governing 173:3,23
   127:20 167:17,17      follows 4:5                108:16 109:11         giving 21:15          grab 8:7
   167:20 168:18         font 139:4 140:11          147:16 151:12         glasses 33:1          grabbed 137:22
   180:10                   170:2                   162:20                go 26:4,25 29:3 31:17 graduated 5:14
fined 167:19             forget 69:15 81:7        full-time 6:15            46:2 47:20 49:19    great 14:4 16:18
finish 9:24 39:9 162:9      173:16                fully 107:25 108:8        54:2 61:25 67:14,15   70:17
   172:12                forgot 132:20            funds 151:24              69:23 78:8 79:5     green 23:15 74:22,24


                                         United Reporting, Inc.
                                             (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 191 of
                                      203
                                                                                                     Page 191

  80:18 86:21,22        17:7,25 18:12,17,22   idea 71:15 161:7         116:20,21 117:2       interesting 29:24
  88:14 89:3,3 107:14   19:4,12,23            identical 137:3          118:22 119:15            38:3
  108:12 162:21       he'll 153:22            Identification 10:20     120:9 145:15 148:9    interim 15:18
grouping 27:23        head 4:20                 12:4 26:16 113:23      149:18,20 153:24      interpretation 165:9
guarantee 69:10       hear 82:1 91:14         identify 89:19           155:16                interrupt 48:22
guess 24:24 27:4,21     92:17 93:2 176:18     imagine 28:8 60:11     initialing 153:16       interview 80:22
  27:23 29:15 32:19     177:1,4 178:5,14        62:6 152:9 172:22    initially 32:25 36:4       111:12
  34:20 50:2,7 52:11  heard 27:17 92:18,19    important 81:11          57:8 63:6 67:12       introduced 12:19
  55:15 69:4 79:23      166:14,23 167:6         100:3                initials 33:19,21,24    investigate 83:18
  88:3 94:11 110:8      168:3 176:24,24       impression 57:8          34:1 115:19,20        investigated 76:12
  145:24 158:1          177:2                   83:13                  116:12 117:16,16         143:9
guessing 94:20 110:5  hearing 166:10          improper 43:16,19        117:24,25 118:22      investigates 54:24
guest 57:6,13           167:21 171:20         improperly 45:22         119:3,7,21,21,24,25   investigation 89:2
guy 74:24               172:1,3               improvements             120:2,13,20,24        investment 9:10
guys 79:24            help 4:6                  118:15                 121:6,10,10 124:8     invited 78:18,21
                      helpful 26:23           inaccurate 159:5         124:15,16 125:15      involve 170:19
          H           helping 56:16 87:17     Inappropriate 179:2      125:16 127:22,24      involved 6:21,23
habit 79:6 151:5        90:12                 include 61:23 76:6       128:4,6,10,12,16,18      30:23 55:1 64:7
half 100:10,13        hesitate 5:8              174:5                  128:24 130:18,19         66:3 73:20 81:17
hallway 178:7         HH 182:18               included 35:24 130:3     132:2 133:7 134:5,7      86:18 89:17,19
hand 40:1 152:22,23 highlighted 61:11         including 123:20         134:12,15,18,21,24       106:13 173:22
hands 53:18 60:10     hired 23:19 65:13         166:13                 135:1,3,3,5,9,11,13   involves 66:3
  82:16 122:2 137:12    80:16 82:7 108:1      income 35:22             135:22 136:10         involving 7:15
handwriting 31:15,16    173:9 174:12          inconsistencies          141:2,3,11,13         IP 37:5
  32:8 33:15,16,17    history 82:2,7            161:24                 144:20 145:2,6,7,9    irrelevant 32:1
  114:4,5 124:9       hold 7:23 43:9 176:5    incorrect 22:16          145:10,23 146:3,15    Israel 2:11,11,12 3:5
  126:21 128:7,13     home 9:17,19 15:1,2     increasing 64:24         146:19,21 147:8,19       4:8,9 8:12 10:3,17
  130:21 131:23         17:13 96:17 118:18    incredible 30:6          148:2,5,5,20,22,24       12:1 21:19 22:14
  132:25 140:6,8        118:19                indefinite 72:13         149:5,9,10,11,13,14      25:10 28:16,20 29:1
  141:12,14,19,20,22 homeless 15:19           INDEX 3:1                150:3,3,7,14,14,24       29:5 47:1,9 48:24
  144:8 148:25        honest 36:14 37:15      indicate 30:8,12         150:24 151:6,21          49:3,12,15 91:11,17
  151:13,15             38:9                    37:16,19 162:23        152:10,25 153:3,9        91:18,21 92:19 93:1
handwritten 31:14     horrified 170:21        indicated 30:4           153:13 154:3,10,13       99:23 100:8,12,17
  115:23 129:22,23    host 8:19               individual 1:5,6,10      155:7,8 156:12           100:20 101:2,5,7
  148:25              hot 110:21                1:12 30:14 184:5,6   inquired 160:6             113:3,9,11,13,18
happen 51:19 84:17    hour 100:10,13            184:10,12            inquiring 66:10            124:19,22 125:1
  90:5 105:16 146:6   hours 118:6,14          inform 54:15           inquiry 103:6              127:9,14,18,21
  167:24 168:19         119:24 149:20         information 10:11      inspect 161:1              131:5,9,11 150:2
happened 9:13,14,15 housekeeping 99:18          21:8,10,15 28:4      instance 18:25             156:21,25 157:4
  18:15 58:5 82:20    Huh 133:15                37:4,14 43:23 44:4   instances 48:1 54:18       161:6 172:14,15
  86:20 87:24,25 90:1 humble 89:4               45:9 46:7 47:15,22   institutional 21:20        178:22 179:3 180:4
  90:2 94:20 125:7    hunch 47:24 64:22         48:1,6 64:11 83:5    instruct 49:10             180:6,10
  171:22,22,23        hundred 159:6             85:17 111:5 154:8    instructed 5:3 25:1     issue 20:18,20,22
  172:20,24,25        husband 13:5 22:25        154:13 161:9,12        32:5 77:6 109:5,9        21:24 49:20 93:15
happening 88:4          23:4 27:1,10,14       informed 24:1 27:13    instructing 31:24          103:24 104:3,7
happens 143:11          29:11,14 30:13          45:15 54:14,16       instructions 170:18        106:23 149:8
  146:8                 31:14 50:3 66:19        62:12                intended 143:16,23         175:22 179:5
happy 38:15,18,19       80:5 158:7            initial 35:23 80:19    intention 152:12,22     issues 7:16 18:21
  164:13              husband's 26:17,19        112:16 123:18          153:14                   19:1,3,5 49:21
hard 96:17                                      147:2                interested 52:20           62:10 79:7 168:12
Hayes 16:14,16 17:3              I            initialed 115:17         62:22 183:16          item 51:24 150:5


                                      United Reporting, Inc.
                                          (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 192 of
                                      203
                                                                                                    Page 192

items 51:5                159:13,16,23          57:19,25 59:11 60:9     174:21 175:2,8,9,19 Lawson 23:1,5,7,9
iteration 59:22 60:19     163:17                62:8,9,18 63:20,21      176:1,1,9,10,15,23    27:11,15 28:7 29:16
   62:24 92:25 113:2    John 5:13 27:11 30:4    63:22,24 64:1,5,12      178:22 179:16,20      29:23 30:4,16 77:9
   117:19 122:2           77:8 78:14            64:13,14 65:20,23     knowing 69:21 114:8     78:14,24
   129:17 132:24        JR 1:5 2:19 184:5       65:25 66:2,7,11,12    knowledge 36:23       lawsuit 4:10 6:22
   137:19 155:12        July 89:14 90:14        68:21 69:1 73:24        47:3                  113:13,15 157:7
   159:19                 106:18 108:23         74:3,13,18 75:14,14                           171:14,15
iterations 50:18 72:8     114:18 125:20         75:15,24 76:14                   L          lawsuits 6:17 7:3,15
   75:11 76:2 77:3        157:8,12,17 158:10    77:25 78:4,11 80:10   La 1:9 7:4 8:4,4,20   lawyer 4:13 6:23 7:14
   112:21 147:24          159:3,15 168:22       81:20 82:2 83:1         10:6,11 11:2,12,17    29:11 49:8,13 53:17
   148:8,13,16 149:8      169:4,5,6,23          84:11,21 85:2,3,5,7     12:8,22 14:1,3        54:23,23 56:13
   149:17,23 150:17     June 184:21             85:12,24 86:1,15,18     34:23 56:24,25        65:13 66:4 76:24
   160:16 169:14,19                             86:20,21 87:8 88:5      58:13 59:2 60:16      83:14,14,21 85:21
                                   K            88:6,8 89:18,21,25      65:10 66:24 107:19    86:2,5,16 89:1,17
          J             keep 25:2 131:9         90:2,25 91:8 94:7       107:19 115:14         89:18,21,22 90:23
JAMES 2:7               keeping 62:22           94:22 95:2,7,8          120:7 129:7 136:17    90:24 103:8 178:23
January 22:9,10,11      keeps 127:10            96:25 98:4,9 99:14      140:15 145:10,13      178:24
  27:12,15 31:3,5,7     kept 23:11 81:21 88:4   99:23 100:6 102:11      157:25 158:9,13,20 lawyers 5:2 84:25
  31:10,19,22 35:6,6      105:14 113:16         103:16 104:11           158:25 160:7 184:9 lawyers' 64:15
  42:2 44:1,3,7 50:2      127:4 138:13          106:9,12,17,17        laid 168:18           lay 46:22
  55:14,22,25 56:2      key 74:21 105:19        108:5,7,18,20,20,21   Lakes 2:3 184:16      layperson 37:21
  58:7,15,21,24 60:15     152:23                108:22,24 109:7       landlady 71:17        learned 45:4 66:10
  60:20,21,24,24        keys 151:17 164:6       111:21 112:1          landlord 33:20 39:22    83:16
  66:18,25,25 67:1,20   Kill 174:7              113:25 114:3 115:7      51:15,22 52:6 60:16 lease 15:17 17:14,15
  69:4 72:20,25 74:23   kind 5:16 9:7 52:8      115:17 116:16           64:21 71:24 72:1      17:16,18,23 18:1,6
  74:23 75:9 79:24        132:8 146:19 151:1    117:13 118:2            73:6 142:13 151:16    31:9 32:15,16,20,22
  82:4,11,13,18 84:19     157:10                120:19 121:12,20        165:10,10,16,17       35:5,10,14 37:25
  85:14 86:6 88:13      kinds 64:14             122:24 123:1 124:5      175:15 176:5          39:25 43:2 50:8,22
  93:12,17 94:5,11      kitchen 92:21,23        125:17 129:10,11      landlord's 118:13       52:9 56:2,4,17,24
  96:4,7,15 97:2 99:8   knew 9:6 22:17 23:11    129:21 130:3,6,20     landlord/tenant 7:8,9   57:6,15,18 58:2,8,9
  99:9 101:9,22 102:7     30:14 53:19 62:4,5    131:7 132:6,7,22        7:13                  59:19,22 60:3,13,23
  104:13 106:4,19         73:24,25 79:3         133:8,13,23,25        Landon 10:25 11:12      61:22 62:15 63:8,18
  109:21,22,25 110:7      163:24 171:18,20      134:3 135:19 136:2      11:14 24:2 77:16      64:9,10 69:6,15
  114:18 115:13         know 4:12,23 11:23      136:13 137:24         language 52:8           70:1,9,14,22 71:10
  122:5,8,18 125:19       13:23 14:2,9 16:3,3   139:23,23 140:21      largely 7:20            72:5,10,11,12,16
  127:6 129:4,13          16:5 17:21,25 21:10   141:2 144:23,24       late 38:22              73:20,25 74:7,12,14
  133:4 135:16            21:11,12,14,18,20     145:5,21,22 146:23    latest 39:22            74:18,24 75:5,10,12
  136:12,14 137:17        22:4,15 23:14,14,25   147:2,20 150:21       latitude 24:20          75:12,16 76:3,17
  137:17 140:14           24:12,20,22 25:3,9    151:1,2,7 152:18,20   Lauderdale 1:24 2:8     77:3 78:10 80:4,9
  141:9,9 143:3,11        25:14,15,18,18 27:8   153:14,17 154:18        183:18 184:23         80:24 81:6 82:5,6,8
  144:4,6,14,19           28:2,8,8 31:15 33:7   155:24 156:5,11       Laurie 1:23 182:7,16    82:19 93:9,17,18,20
  150:17,17 151:12        33:14 34:1,17,17      157:13,18 158:1,4       183:6,22 184:25       93:25 94:5 96:9,19
  153:8 154:24            36:7 38:9,10,20       159:11,18 160:24      law 2:2 5:12,13,17      96:24,25 97:17,25
  155:11,21,25 159:2      39:25 40:3,16,17,21   161:8,8,13,22           8:1 54:1 66:11        98:1,3,5,6,12,23
  162:20                  41:16 42:4,18 43:4    163:25 164:3,9,9,20     168:16 173:23         99:2,5,9,11 101:13
JoAnn 90:21,22,24         43:18 44:22 45:9,13   164:22 165:21           174:4,14,17,22        101:18,24 102:7,17
  157:7                   45:21 46:3,6,13,16    166:22,24,25 167:6      175:13 177:22         103:11 104:2,10
job 5:24 43:4 98:2,10     47:22 48:3,7,8,9      167:22,24 168:5,17      184:15                105:2,4,7,8,9,18,22
  98:24 99:6 101:15       49:12 52:22 53:1,2    169:1,11,12,23,25     lawful 53:1 111:25      105:25 106:5,6,7,10
  108:2,4 109:7,12,13     53:4,9,12,14,18       170:4,24 171:17         112:1,3               106:14,15,15 107:3
  129:17,19 134:2         54:25 55:2 56:5       172:13 174:8,8,11     laws 32:5               107:8,11,25 108:8


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 193 of
                                      203
                                                                                                           Page 193

  108:16,18,23          Lepselter 12:14,15          88:14 89:3,3 107:14      95:22 126:24            124:17,24 125:21
  109:11,23 110:1          12:16,20,20 13:11        108:12 162:21            160:20 161:1            127:7,11,16 128:2
  113:19 114:17,20         13:16 17:5 20:1       likes 71:11               longer 15:8 69:20         128:21 129:14
  114:22 115:11            24:24 25:23,25 26:1   likewise 153:19             160:25                  131:3,7 132:16
  119:15 122:5,18,22       26:6 28:11,14,23      limitation 70:21 71:1     look 10:23 26:3 33:14     133:20 149:25
  123:3,9,11,12,13,13      31:13,23 32:14,19        72:8                     34:19 55:8 62:7,18      157:21,23 158:17
  123:16,22,22,24          32:24 33:9 34:15      limitations 43:1 73:2       62:19 86:16 99:10       165:20 166:9,25
  125:16,19 126:10         38:7,10 40:8,15          73:3                     99:11,14 110:2,4        167:5,10,16 168:13
  126:16 130:8,9,24        42:21 50:7 55:16      limited 1:11 51:12          112:18,19 132:23        169:16 170:17
  131:16 132:24            56:10,19 60:6 66:20      184:11                   139:4 175:1,20          171:7,8 172:4,12,19
  136:7 137:6,15,16        69:5 74:1,2 75:22     line 93:3 117:22          looked 11:20 12:25        173:7 174:1,10,20
  137:22,24 138:6,8        76:23 77:15 78:7         141:10 142:19            13:2,5 41:9 49:18       175:7,25 176:21
  138:10,17 139:17         82:13 87:11,21,22        145:25 146:24            73:10 131:5 152:21      177:9,25 178:10,12
  139:18,21,21,24          88:18,22 94:12 96:1      149:22 150:4,8           170:8                   178:19 179:1,8,13
  140:17 141:6,8           96:6 97:14 98:4          151:1,3 179:4          looking 12:21 25:2,7      179:18,25 180:5,7
  142:8,16,21 143:2        101:8,17,23 102:25    lined 120:16 142:12         33:7 39:2 48:20         184:15,16
  143:12,13 144:2          103:5 105:6,21        lines 146:22                59:9 62:21 86:2       Luchey 1:6 2:19 20:4
  146:6 147:24 149:1       106:4,20,20 107:3,9   Lipfavitz 16:14,16          89:6 108:23 126:22      20:7 31:4,6 35:1,4
  158:10 159:1,19          107:15 108:7             17:4,8 18:12,17,22       129:24,25 132:19        35:25 36:6 55:17
  160:9,14,16,22           109:21 130:12,15         19:4,13,23               159:15                  57:5,17 58:1,9,25
  161:5,7,17,18,22         157:24,25 162:19      Lipfavitz's 18:1          looks 10:24 28:6,6        60:17 62:10 68:13
  162:3,4,12,19,24,24      163:5,9 164:7         list 154:17                 30:12 31:21,21          68:24 85:13 88:9
  163:1,3,10,13,14      Lepselter's 3:11         listed 9:17,20 13:10        32:23 86:8 87:7         93:8,21 103:10,17
  164:1,20,23 165:2,2      26:20 34:8 38:6          17:6 18:16 20:1          94:25 95:3 117:21       104:1,14 115:15
  165:4,5,15,15,23,25      67:8,10 107:7         Listen 115:5                122:19 126:11           122:12 123:7 133:5
  165:25 166:5,8        let's 8:3 10:17 11:5     listened 176:23             136:16 140:10           136:23 140:15
  168:24,25 169:1,3,3      26:3,7 33:14 34:19       177:12                   148:12 152:7            156:2 157:23 184:6
  169:10,13,14,20          49:19 70:5 81:9       litigation 6:21,23          166:22                Luchey's 34:24 58:12
  170:1,5 172:6,8,21       93:3 96:3 100:12         7:16                   lose 88:5                 58:19 68:8 136:20
  173:6 174:24             112:18,19 125:9,9     little 5:11 8:3,9 11:5    lost 20:17 33:1         lunch 99:19
  175:11,13,22             127:14,15 132:23         17:21 18:2 19:6        lot 30:1,1 41:6,24      luncheon 100:21
  179:10,15,17             156:21 158:11            43:24 63:3 73:12         43:23 45:4 73:13,15
leases 35:16 50:24         168:21                   76:19 80:6 99:11       lots 83:17                        M
  51:3 61:21 62:7       letter 90:18,19 95:10       110:5 140:25 152:7     love 46:6               MAC 1:10,17 2:10
  71:2 110:4 112:22        112:18 157:7,12,14       160:22                 Lubliner 2:2,2 6:19      4:10 23:20 91:6,11
  139:4,20 157:9           157:22 158:11         live 6:4 52:2 71:12,14      6:25 7:5 8:11,13       91:12,17,22,24
  170:3                    162:2 166:17             168:6 175:16             9:24 10:13 12:11       158:22 184:10
leasing 158:12             170:12,16             living 19:5 43:2 75:2       21:17 22:13 28:10     Madam 10:17 12:2
leave 143:16,17         lettering 125:8             158:15 167:23            28:19,24 29:3 33:11    25:10 172:15
  175:11                letters 106:24 115:20       176:3,7                  35:8,12,21 36:18,22   mail 178:7
led 89:6                   141:17 155:5,6        LLC 1:11,17 2:10,14         37:13 39:9 41:7,15    mailing 9:16
left 14:12,24 53:18     letting 179:20              5:19 8:4,21 9:3 10:7     43:7,22 44:6,18       making 41:22 45:16
  82:16 105:6 112:5,9   level 55:2 165:23           11:12 14:1 34:23         45:12 46:11,20 47:7    45:18 77:24 80:8
  134:21 141:18,19         166:4 172:21             56:25 107:19             48:4,21 49:10,14,15    92:14 112:25
  146:19 147:3          Liability 1:11 184:11       115:14 129:7             59:25 62:17 63:14     man 114:25
left-hand 116:15        license 7:23                158:13 184:11            63:19 73:23 74:17     managed 158:13
legal 6:16 11:7,10      licensed 7:25 178:24     long 4:23 12:21 13:12       91:16 92:17 98:7      management 1:11,17
  57:10 112:8 165:6,9   lie 161:21                  14:8,16 17:7,20          99:17,22 100:6,10      2:10,14 24:16 30:13
  168:5,12 172:7        LIEBLER 2:15                19:8 25:3 51:21          100:15 104:5           30:20,23 48:11
legit 89:14             light 23:15 74:22,24        52:4 53:20 70:8          105:10 109:3,18        184:11
legitimate 55:3            80:18 86:21,22           81:8 88:11 95:13,17      113:1,6,10 114:23     manager 45:20 48:8


                                        United Reporting, Inc.
                                            (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 194 of
                                      203
                                                                                                    Page 194

 98:23 109:4 160:6      98:11,12,15,20,23      131:8 154:20           127:18 130:22         movement 105:3
managing 160:7          99:1,5 102:3 107:13   medical 65:11 66:7      131:24,25 134:10       163:21
Manzo 1:15 3:4 4:2,8    107:25 108:2,8,11      66:10 83:11            163:15                movements 155:15
 29:10 46:21 47:10      112:6,13,14 114:1,3   meet 12:15             mistaken 124:23        moving 16:2 18:18
 49:3 101:2,7 127:21    114:9,21 120:6        meeting 43:9 64:6      Mitch 173:11            21:25 104:17,18,20
 151:14 160:7,8         121:12,19 125:18       79:2 176:19           mmpfeiff 56:11          122:15
 179:3 181:6 182:9      143:24 159:19         meetings 45:9,13,25    mock-up 123:12         multiple 72:1 112:21
 183:9 184:15           166:13,16 177:2        45:25 79:9,13         model 139:25           murdered 174:2
March 5:14              178:13 184:10         Megan 1:6 2:19 82:19   modified 73:21         murdering 174:5,16
MARCHESE 2:7           Mary's 85:8 112:12      93:4,7 132:21 184:6    123:19                 174:18
 7:18 92:9,12,18,24     159:13 160:12         Megan's 81:14          money 35:19 56:23      mute 92:20
 113:14                material 144:18        member 9:20,23 10:4     111:2 152:22          mutual 12:16
margin 116:15          materialized 142:10     10:6 11:24,25 22:24   Mont 9:19              mutually 51:17
 141:19,20              142:11                 107:21 160:7          month 13:14 15:12       142:13 144:11
Marinis 158:7          matter 7:8,10,13       memorize 70:19          15:12 18:11,13        mystery 116:19
mark 10:18,22 12:1      61:20 115:25          memory 21:20            146:1,1,12,13,14
 26:3 28:21 113:11     matters 39:20          mentally 118:16         147:12                          N
marked 8:17 10:19      McFADDEN 1:10,17       mention 107:4,5        monthly 142:24,24      name 4:9 9:4 22:4
 12:3 26:16 28:17,22    2:10 4:9 19:15        mentioned 83:11         146:9,12 147:14,15      34:24 50:3,3 58:17
 113:22                 20:23 21:7 23:16       136:3                 months 12:23 17:10       58:23 80:21
market 19:24 24:25      24:3,4,8,17 27:9      mentioning 85:3         90:6 110:16 152:2     names 68:8
marks 117:12,13         28:1 29:6,7,15        met 12:16 63:24 64:4    168:25                NAUGHT 181:1
 118:2,23 119:11,14     39:16,17 42:16 43:5    111:12,13             morning 4:8 56:9       necessary 76:5 87:17
 119:18,19 148:15       45:2,6 46:8 51:2      Miami 2:17              96:7                  need 4:16,23 8:12
 148:17                 59:5 65:10,19 67:15   Michael 2:16 91:13     motion 138:15            52:1 54:17 65:12,24
MARSHALL 2:7            70:7,8 71:4 73:19      91:16,25               143:21                  77:22 83:16,22 84:2
Mary 1:10 4:9 19:1,3    74:7,23 75:4,10       middle 89:14 90:14     move 15:5,6,20,22        85:8,9,10,10 86:1,4
 19:11,11,15 20:16      76:6,9,16 77:2,8,14    139:12                 16:4,19 18:23 19:8      100:2 105:14,15,15
 20:23,23 22:8 23:11    77:17,21,24 78:2,9    midmorning 93:11        20:9,13,16,17,24        105:17 108:16,17
 24:3,8,9 26:13,14      82:24 83:25 84:6      mind 21:12 44:15        21:13 22:8,9,20         124:25 142:24
 27:17,21,25 28:6       85:15 87:16 90:20      47:11 53:19 94:25      24:24 30:19 31:2,5      166:20 170:14
 29:6 38:15 40:21,23    91:3,12,21 98:6        143:12 162:18          33:5 56:1 59:1,1      needed 15:3 20:11,25
 41:2 42:2,6,9 43:5     103:7 104:19           173:6,24 174:14        74:22,25 76:14,14       22:7 58:19 89:1
 43:15 44:12 46:15      106:16,21 108:8        179:17                 77:16 81:9 85:18        95:1 98:16 105:12
 48:6 50:25 53:15,16    114:1,3,9,14,17       mine 11:4 34:10         86:13,22 88:9,12        179:6
 54:3,4,5,14,15,25      115:10 120:6           126:15 130:1 133:9     89:7,11 94:2 104:12   needs 20:17 37:19
 55:6,9 65:10 66:3      158:22 160:6 161:4     133:22 141:21          105:16 108:13           51:22 66:10 94:21
 67:15,15 69:3 70:7     161:12 162:7           147:7 148:19           111:25 125:14           117:6
 70:7,18 73:19,25       163:25 168:23         minus 98:10             162:22 163:22         negative 118:5,21
 74:4,6,10,23 76:9      169:2,19 170:2,6      minute 8:12 63:22      move-in 23:6 30:9        119:24
 77:2,7,10,11,14,16     177:2 184:10           113:4                  86:13 153:5           negotiated 51:16,24
 77:21 78:2,2,5,13     McFadden's 23:18       minutes 48:25          moved 14:2,4,5,7,10      52:5 63:12,15 138:7
 78:15,25 80:10,12      26:13,14              mish-mosh 126:13        14:10,11,12,13,18       142:20 163:1
 80:13,13,20 81:19     mean 70:3,4,4 83:12    mishmash 127:12         14:20,21 15:3,4,5     negotiating 31:9 50:8
 82:6,17,21,24 83:13    93:5,5 99:23 126:25   missed 145:24           15:13,17,21 16:6,9      56:6,7 73:15 74:16
 83:20 84:9,24,24       129:19 146:10         missing 85:23 96:9      16:17,21,21,25          76:21 80:3 82:9,10
 85:9 86:19 87:9        162:4 167:2 174:2      97:10 98:5,10          17:11,13 18:12,14       139:1 145:1
 88:17,23 89:23,23      174:23,24              101:23 102:17          18:15 19:23 31:6      negotiation 50:10,11
 90:20 91:3,12,21      meaning 83:21           105:22 107:5           73:21 76:18 95:13       50:18 52:19 73:20
 94:19 95:4 96:11,19   means 116:22 180:8      108:13 123:18          95:16,17 104:14         110:22 137:20
 97:3,12,17,17,20      meant 54:20 67:14,15    124:12 126:24          110:10 111:7 117:8      138:18


                                      United Reporting, Inc.
                                          (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 195 of
                                      203
                                                                                                      Page 195

negotiations 34:21      notice 45:18 51:19      100:10,13 102:14        113:8,9,14              164:18 168:23
  55:20 58:8 61:5         52:1 118:14           103:18 105:6 106:3    originally 141:8        Pages 183:10
  76:7 77:3 137:11      noticed 46:1,25 79:5    108:13 110:7          outdated 49:22          paid 56:22 57:11
  138:10                  147:1                 111:14 112:23,24      outs 52:3                 60:23 68:21,22,23
neither 55:16           notices 45:25           114:7,12 115:3        owned 158:12              69:1,3 71:6 108:1,2
never 7:9,12 23:25      notifying 43:10         117:11 123:6          owner 36:10 45:14         110:14 146:7
  34:2,3 44:25 45:21    number 10:18 33:17      124:10 126:21           71:12,14,17,17        Palm 1:2 2:3,3 184:2
  50:22,25 57:13,14       44:8 50:12,17,17      130:16 133:10,25        107:23 109:14,16        184:16,17
  59:7 64:20,21 70:2      80:21 156:4,5,10      136:25 137:25           109:19 164:22         paperwork 40:7 89:1
  70:21 71:6,23 72:4    numbers 141:15          140:19,21,23 150:1    owners 43:10 167:8        89:4,10,15 93:16
  72:8,9 75:24,24         151:2                 153:5,23 156:22,22    owns 107:18 158:16        94:16
  76:2 77:5 78:6,7,13                           157:22 158:6 167:5                            paragraph 35:20
  81:9 90:13 98:1                  O            169:25 171:4                    P               63:5 64:17 120:6,21
  105:17,18,24          oath 4:5 182:1          176:14 177:14         P.A 2:11                  141:20 146:7
  112:13,14 114:19      object 16:1 46:20       180:5                 p.m 1:20,20,20 29:14      158:14,15,18,19
  114:19,20,21,24         53:21,22,25         okayed 128:1              100:22,22 157:2,3       161:23 162:1
  115:3,4 132:22        objected 147:10       old 159:25                180:13                paragraphs 64:13
  142:3,10,11 147:10    Objection 36:18       older 138:14            package 38:6,6          parameters 24:16
  157:16 159:20           109:18 128:2        once 7:6 18:16 19:25    page 3:3,9 11:13,15     pardon 18:5 99:16
  160:15,16 162:15      objections 5:1,2        20:2 25:22 54:1         11:17,21 26:8 31:12     144:5
  162:16,25 164:7,10    obligation 39:25 43:8   67:12 70:24 73:4        34:4 36:7 38:11       parking 57:12 104:23
  166:4,12 167:19         54:7 118:17 143:15    80:18 82:15,16          60:13 67:23 68:4      part 9:6 25:7 28:14
  171:20 172:10           143:15,24 173:15      87:23 90:9 123:9        96:9,10 97:10 98:5      35:1 48:17 70:24
  176:3                 obtained 10:8 21:8,16   135:2 158:5 164:15      98:10,18 101:11,24      95:2 99:6 110:22
new 7:22 9:17 13:8        66:19 67:2 111:19   one-year 17:18 18:6       102:17,19 105:17        123:24 131:15
  15:2 28:1 31:2          111:21                22:12 35:10,13          105:22 106:7            160:13 170:9
  38:15,18,19 39:1      obviously 16:18         69:21,22 71:9           108:17,19 115:18      part-time 32:12
  40:13 41:22 43:5,9      33:13                 160:22 165:2            116:9,19 117:15,20    participated 7:15,19
  43:11,16 46:9 48:8    occasion 56:18          168:25 169:3,11,15      117:20,22 119:1,2,2   particular 5:24 9:2
  48:11 52:2 61:18      occasionally 87:24      169:19                  119:2,6,16,20,23        12:10 29:17 35:2
  62:1 64:22,25 69:19   occupancy 35:19       ones 47:5,5 70:17,18      120:2,5,23 121:4,9      38:17 47:10 61:2
  70:17,18 92:4 116:2   occupied 27:12          121:18,19 140:5,11      123:18 124:1,2,2,10     62:3,23 92:1 117:19
  121:19 143:12,22      October 14:18,22        170:8                   124:12,20,21            136:1 138:16 140:4
  144:12,15 160:25        173:20              online 12:24              126:24 127:19,23      parties 45:7 125:25
  164:13 175:10         offer 34:22 35:7      opening 35:9              127:25 128:3,7,9,12     144:8,11 183:13
newly 20:10             offered 35:23 36:4,5  opinion 71:18,19,20       128:15,23,24 129:1    parties' 183:14
nine-year-old 20:10       63:6 110:19,20        72:3 89:4 103:17        129:4 130:19,22,23    parts 123:25
Nods 4:20               office 60:4 96:9,17     159:12 164:25           131:24,24 134:10      party 6:22 57:15,17
noise 92:15,19            178:6,9 184:19        165:6,7,8,11 167:12     134:17,25 135:5,11      170:6
nonparty 178:20         oh 38:8 62:5 63:4,22    168:5                   135:13,22 136:1,16    pass 57:12,12 87:11
nonpayment 179:19         81:12 87:15 90:6,15 opportunity 166:14        137:3,5 139:10,11     passed 47:2,12 48:3
nonsense 170:24           123:23 136:22         167:14 168:2,11         139:12 141:1,5,16       49:23
normal 118:14           okay 6:16 8:3,13,16   opposed 9:3 145:3         147:18,22 148:4,20    passes 74:25 104:23
Northeast 2:8             25:19 29:4,22 30:3 option 50:12 51:17         149:4,13 150:2,7,13   passing 87:13
Not-For- 1:9 184:9        32:13 33:8 39:2       63:6 69:12,19           150:23 151:2,6,11     pasted 132:8
Notary 181:13 182:8       48:15,18 50:5,6       137:21 142:13,14        152:3,25 153:11,23    pay 142:22,23,23,24
  182:17                  56:9 76:20 77:13      143:7                   153:25 154:2,2,5,8      146:9,9,11,12
notating 95:11            80:11 81:17 82:15   optional 69:12            154:12,14,16 155:7      147:16
note 52:11 83:9 95:10     82:20 84:9 85:23    options 143:25            155:19,20,20          paying 56:23 88:6
noted 81:22 148:21        90:6 91:23,25 92:2 order 53:10 160:24         159:11 162:3,4,20       147:12,14,15
notes 31:14 183:11        92:2 93:1 95:9      original 28:17 113:5      163:15 164:1,11,17    payment 56:25


                                        United Reporting, Inc.
                                            (954) 525-2221
 Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 196 of
                                       203
                                                                                                         Page 196

payments 56:20             80:21 83:24 84:16     position 48:16 72:12      18:18 21:1 22:12        42:3,4,13,17 45:3
pearls 92:14               164:10 166:17           72:14,19,20,23 73:7     35:15 39:16 58:13       45:10,10,13,19,22
pen 8:7                    178:7                   73:8 90:10 162:15       63:18 70:14 101:19      46:4 47:2,14,16,18
pending 4:24 25:12       photo 176:12              165:1,1 168:7,8         123:22 143:14           47:19 48:3 49:22
  172:17                 photograph 176:16       possession 114:6          145:11,14 148:8,12      79:5 162:22
Pensee 1:9 2:5 7:4 8:4   physically 130:14         160:1 164:2,5           148:13 149:8,17,23    property 9:3,9,11
  8:4,20 10:6,11 11:2    physician 83:15,21      possibility 143:6,9       150:17 157:13,17        11:14 12:10,12,22
  11:12,17 12:8,22         83:22                 possible 29:8 63:4,8      157:19 158:2            13:3,7,10,12,20
  14:1,3 34:23 56:24     picked 164:10             89:16 90:8 105:21       160:18 167:14           15:10 16:9,12 19:24
  56:25 58:13 59:2       picture 111:11            133:19,21 164:7,9       171:15                  20:5 24:25 25:5
  60:16 65:10 66:24        177:17,18               169:18,21             private 5:24,25 6:5,7     32:17 48:11 98:23
  107:19,19 115:14       pieces 126:14           possibly 81:20 86:10      6:10 30:11 81:1         148:10 173:25
  129:7 136:17           pile 170:23             practice 5:16,24,25       176:19 177:24           175:24 179:19,22
  140:15 145:10          pinpoint 47:10            6:5,7,10,12 8:1 9:8     178:1,4                 180:1
  157:25 158:9,13,20     place 1:21 17:21          98:13,13,14           privy 24:9 161:15       proposal 37:25
  158:25 160:7 184:9       20:11 44:9 52:2       practicing 64:12        probably 16:22 22:16    prosecutor 5:25 6:1,2
Pensee's 120:7             78:11 84:20 111:24    Predominantly 5:17        30:15 41:10 62:7        166:21
  145:13                   162:15,16 163:3       preferred 58:1            64:25 70:19 94:20     prospective 22:3
people 16:19 19:9          176:7                 premise 176:5             97:21 113:6,7           39:18,23 40:9,15
  48:20 75:21,22         places 115:25           premises 175:11           136:18 145:1,6          42:21,25 55:4 87:10
  92:20 118:21           plaintiff 7:12          prepare 49:6            problem 4:25 33:3       protect 153:15
  143:22 166:22          Plaintiffs 1:7 2:1      prepared 32:19 33:9       78:23 91:19 99:24     protective 153:11
  167:18,23 174:5,23       184:7                   59:23 60:4 138:2,12     140:19,24 146:17      protocol 166:11
  176:7                  plan 55:17 143:16         138:13,16,22 139:5      147:16 179:9          prove 118:21
percent 42:2 43:13       planning 5:17             139:7,22 140:2        problematic 47:6,12     provide 40:9,15
  159:6,8                play 123:10 173:21      presence 181:8          problems 165:17,18        42:21 48:2 87:7
Perfect 8:16             please 5:8 60:1 125:7   present 2:18 130:15     proceeding 112:20         102:2 106:24
perfectly 80:16            133:16 172:16           168:11                proceedings 6:17          107:24 109:10,12
performed 118:9,9          184:19,20             president 23:1 29:13    process 31:9 54:22        121:16 159:18
period 15:11 17:1        plus 60:24 110:16         30:7                    55:13,13 58:11 66:2     163:10,13
  22:12 51:12 152:1,2    point 12:25 25:6,16     presumably 74:3           84:9 85:4 93:16       provided 39:15 40:8
periods 160:19             25:17,20 30:15          137:4                   106:13 108:4            40:14 43:17 45:6
permissible 19:10          34:20 44:21 47:7,13   presume 4:17 6:12         112:14,15 166:14        62:24 65:11 66:7,15
permission 15:20,22        47:18 48:5 56:3         7:14 17:14 29:2       processed 89:11           80:23 98:6 104:22
  15:24 31:2 54:2          60:2 67:19,20 71:9      65:8 83:10 116:15     produced 27:7 28:13       106:15 107:25
  177:24                   74:22 75:3 76:16        125:18 141:1 145:8      55:9 74:11 103:4        108:8 121:12,13
permit 32:5                81:4 82:4 93:16         154:24 155:23         production 3:11           161:12 163:4,14
permitted 5:24 24:13       94:19 96:22 97:15       160:12                  28:15 55:10 67:8        164:10 173:14
  24:13 32:4 50:24         97:21 106:3 138:8     presumed 89:22            107:8                 provides 36:17 63:4
  51:3 64:23 155:15        158:1 165:22            105:7                 professional 1:23       providing 106:14
  174:22 175:10            170:13 171:6 172:2    pretty 43:13 79:4         134:8,8 182:7 183:6     121:15
perpetrator 175:19         172:24                  84:16 143:1           professionally 117:6    provision 61:8 62:15
person 20:6 71:8,16      points 106:1            prevent 104:17,18,20    Profit 1:10 184:10        64:8 65:5 175:12
  78:1 107:10 112:12     Poliakoff 157:8         previous 27:20 81:22    progress 82:10          provisions 75:12
  116:18,19 167:25       policy 103:20,23          101:22 105:11         prohibited 66:11        public 178:2,3,4
personal 72:3 168:7      polite 19:18              147:24 155:12         promised 134:9            181:13 182:8,17
  170:18,22              pool 57:12 74:25        previously 6:24 8:17    proof 86:3 112:10       publicly 10:11
perspective 99:18          104:23                  27:13                   118:5                 pulled 76:12
pet 128:13               portion 131:16,18       price 73:16             proper 45:17 47:25      punted 78:25
pets 39:19 128:6           152:18                prior 5:20,24 6:21        176:6 179:2           purchase 9:1,9 11:1
phone 54:21 55:8,11      PORTUONDO 2:15            7:2,21 8:25 12:22     properly 41:13,21,23      11:19 12:9 13:16


                                        United Reporting, Inc.
                                            (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 197 of
                                      203
                                                                                                      Page 197

  39:16 77:15,23      raises 44:4               54:11 67:6,23 68:19     46:9 179:6              45:8
purchased 9:3,11      ran 78:11                 68:21 70:23 73:9,12   registered 1:23 10:5    renter's 66:23
  13:7,10,12 24:1     rate 69:14,17,19          78:22 84:5 85:19        182:7 183:6           renting 9:7 25:4
  39:14 70:17 79:18   reach 78:18,21 95:1       99:9 119:14 121:1     registration 111:16     repair 64:24
purchasing 12:22        171:5                   158:5                   111:18 119:8          repairs 118:15
purported 43:25       reached 138:8           receipt 151:13,25       regs 39:23 41:10        repeat 25:8 91:14
  168:23              reaction 170:11,15      receive 41:11 42:6,9      43:24 44:8 70:16        133:16
purports 150:20         170:19,22 176:6         59:4,12 110:9 111:4     72:9 78:5 173:13      repeating 83:20,23
  156:14              read 23:25 24:12,19     received 15:18 28:4     regulation 47:11,14     rephrase 5:9
purpose 25:4            25:12 29:19 32:8        37:25 39:14 41:13     regulations 39:7        report 10:16 183:8
purposes 4:12 9:10      37:22 44:19 70:11       42:14 45:21 59:7        40:14 42:25 43:5,16   reported 54:25 55:1
  28:22 138:18          70:18 86:20 117:3       67:17 75:4 94:17        46:10 70:12 155:16    reporter 1:23 4:20
pursued 105:24          118:8 172:16,17         121:21 151:17,23        166:7 167:13 173:4      10:17 12:2 25:10,13
put 30:15 58:22       reader 37:19              169:2,2 170:1,6,11    relation 77:15            101:6 172:15,18
  59:15 61:20 62:2,4  reading 29:21 33:1      receiving 103:1,3       relationship 19:14        182:8 183:7
  62:6 64:9,16 65:4     37:21 140:17,18,22      157:14 169:8            24:7                  REPORTER'S 183:1
  66:1 86:5 118:5     ready 49:3 101:2          170:15                relative 183:12,14      Reporting 1:23
  126:10 127:2 132:7    184:18                recess 49:1 100:21      relayed 23:4              184:22
  142:19 144:20       real 5:18                 157:2                 relied 34:3 109:11      reports 54:24
  146:15,24 175:15    really 12:23 29:25      recognize 26:13         relist 143:18           represent 4:9 90:22
                        36:13 38:8 41:8         33:23,25 34:5 114:4   remain 69:14 143:16       91:3,6,11,12,17,21
          Q             83:1 95:20 114:7        114:5                 remained 16:24          representation 5:18
quarters 14:19 15:3     116:23 121:19         recollection 83:3       remember 8:20 18:21     represented 91:1
question 4:18,19,24     175:2 176:8           Reconfirming 27:18        33:12 36:13 38:3,9    representing 158:20
  10:2 14:15 22:14    realtor 12:12 24:2      record 28:10,12,25        39:3 42:18 62:20,23     158:22
  24:14 25:8,11,12      25:16 34:23 57:1        46:21 101:5 113:1       67:4,22 69:7 70:24    represents 90:25
  27:3 29:6,10 33:6     82:17,24 87:20          115:6 128:22 157:4      74:9 78:16 81:4         91:24
  38:16 39:10 41:12     88:19 94:16 97:8,9      164:17 177:23           84:22 88:12 90:19     request 21:9 48:10
  42:19 45:20 48:17     109:17 121:16,22        178:8 180:11            94:18 95:18 96:13     requested 57:20,21
  49:5,11 59:17 65:15 realtor's 98:24           183:11                  98:9 156:11 157:19      57:23 67:1 183:10
  65:16 76:19,20 92:4   101:15 109:13         recorded 25:13          Reminded 151:6          requesting 42:9 77:18
  94:10 111:24        realtors 32:21,24         172:18                remotely 1:21 4:3         164:1
  114:12,13 115:5,5,9   33:4,9 34:8 98:12     recording 176:18          182:9                 requests 19:21
  125:6 133:16          99:5 130:9,9,11         177:10,11,19          removal 175:5           require 47:16 96:11
  138:21 140:20,22      164:2                   178:17                remove 171:14             97:12 103:12
  149:25 165:13       Realty 8:4 10:12        records 65:11 66:7        173:25 175:24           118:20
  169:21 171:4,8        36:11 107:19            83:11 101:14 120:8    removed 172:2,23        required 62:1 87:23
  172:14,16,17        reason 9:2,5 15:1       reference 103:9         removing 172:7            103:22 104:1 108:3
  173:22                21:3,6 34:14 37:10    referenced 121:11       renew 69:13,19            173:1 174:22
questioning 48:22       38:17 39:5 41:4       referencing 83:9          142:13 144:1          requirement 64:22
  179:4                 58:19 61:15 65:17     referred 171:2          renewal 50:12 62:16       72:11 104:9
questions 4:12,16       80:17 98:14 103:16    referring 28:12 46:18     73:16 137:21 144:1    requires 120:12
  9:25 100:7 111:23     109:6 120:18 156:9    reflecting 146:7        rent 13:9,11,17,18      requiring 171:14
  112:22 157:5          164:13,18,24          reflection 126:16         16:9,12 17:4,5        reread 25:11
  169:24                175:10                regard 21:24 104:3        69:10,13 71:14        research 47:23 112:7
quickly 63:3          reasons 51:23 133:24    regarding 22:19 23:5      110:14 112:4          researched 76:13
quite 52:18           recall 8:23 13:19         32:15 58:8 69:5         144:11,13 151:22        172:23
                        15:14 16:17,24 17:7     70:1,23 73:16 74:7    rental 19:25 20:2       reserving 118:13
          R             18:11,13 19:10 23:3     78:9 83:6,15,22         69:14 151:12          residence 14:1 19:12
R.P.R 183:22 184:25     26:21 30:10,11 33:8     84:24 85:22           rentals 70:12             76:10
raise 69:13             37:24 38:2 51:4       regards 21:9 43:16      rented 13:20 16:16      resident 57:10,13


                                     United Reporting, Inc.
                                         (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 198 of
                                      203
                                                                                                       Page 198

  137:2                   65:20 68:10 69:7        41:5,10,12,19,25      124:12 134:25            88:19 97:6,7,14,17
Residential 1:10,17       70:1 71:1 74:19         42:3,6,9,17,20,24     139:10 141:10,23         98:23 102:16,19
  2:10,14 4:10 91:6       81:12 82:21 83:7        43:5,9,11,16,24       147:22 153:8             108:14 164:11
  91:13,22,25 158:22      84:20,21 90:23          44:8,15,20,22 45:2    154:19 158:24,25         166:19 169:4
  184:10                  93:17 103:8 104:4,8     45:5,10,16,21 46:3    160:5 161:3 166:15     sending 75:16,17
residing 58:2             104:10 106:22           46:9 47:25 49:20,22 scene 25:4,15,22           80:25 82:14,17,21
respect 33:20 46:23       108:24 109:20           52:15 65:10,19,21   schedule 80:22             103:7 107:2 169:8
  125:6                   110:6 115:8 117:3       70:11,16,19 72:9,17 scheduling 180:9         sends 96:6
respective 24:23          117:15,20 118:11        78:5 120:7 121:12   school 5:12,13           senior 29:12
  33:23                   118:12,13 119:9,12      121:15,17 155:15    screaming 177:2          sense 30:1,2
respond 31:22 42:16       120:15 121:11           163:23 166:7        screen 8:5 48:20         sent 26:23 32:25 60:6
  97:16 171:3,6,11        122:23 124:13           167:13 168:16       scroll 11:5 37:3 38:24     60:7 66:19 67:13
responded 29:7 96:16      125:16 126:19,22        173:4,10,13,16        62:25 81:25 113:7        72:9 77:5 82:23
responding 86:8           131:15 132:15           176:9                 127:1 140:25             86:24 87:7,8,9,11
  95:25                   134:22 135:10         run 32:11 79:13,15    scrolled 63:2              87:20 88:18 93:19
responds 92:10            136:8 140:6 141:17    running 127:10        scrolling 107:7            96:19 97:2,4,6,7,17
response 48:15 86:7       141:20 145:13         runs 77:10            search 77:19               98:19 99:3 101:13
  102:2                   146:16,17 147:12                            searching 12:24            101:18 102:3,18,21
responsibility 24:16      147:14 148:11                    S          second 8:9 11:13 33:2      102:22,23 116:2
  46:12                   149:6,14 150:19       S 2:2 184:16            74:19 81:1,2,2           164:12,15 166:16
responsible 39:22         152:6,25 153:10       S-I-G-L-O-C-H           108:2 110:21 125:7       168:23 169:10,12
responsive 19:20,22       156:15 166:23           13:22                 129:18 130:22            169:18,22 177:10
rest 124:14               167:6 180:4           SAITH 181:1             131:24 141:24            177:11,13,19
result 65:25 134:2      right-hand 144:6        satisfy 28:3            142:3,5,6 146:5,13     sentence 142:20
resumed 100:22            161:4                 saved 173:20            147:11 163:15            160:5 161:3
retain 171:6            rights 165:25 166:5     saw 38:8 69:2 70:21     176:11 179:4           separate 68:16,22
retained 158:5          rise 165:23               74:10 88:16 95:15   Secretary 10:9             115:25 137:1,3
retaliation 64:8        rises 166:24              111:11,15,16        Section 9:22             series 4:15
retaliatory 64:23       Road 2:12                 116:22 123:17       security 31:24 32:3,3    service 32:4,6 52:12
retire 9:11             Robert 11:22              131:11,13 140:5,11    32:5 35:24 36:3,5        52:13,15,19,20,22
retired 29:12           room 68:16 92:6           147:23 148:8          69:20 104:23             53:2,4,6,25 54:6,14
Return 100:19             116:5,8                 149:17 151:5,7        110:16 120:17            55:3 65:12 66:6
review 60:7 84:23       Rosati 11:22,23,24        152:13 155:12         149:22 150:4,8           81:12,15 82:23 83:6
  103:8 173:12 183:9      63:23,25 64:1 77:9      167:24 177:18         151:12                   83:16,22 84:2,7,8
reviewed 63:17 70:16      78:14                 saying 27:10,25,25    see 8:14,15 10:14          85:15 86:2,16 90:17
reviewing 54:6 85:22    rose 166:4 172:21         30:22 36:10 43:15     11:3 26:23 32:10         94:8,14 95:11,13,21
revision 127:25         routine 61:20             45:24 46:2 47:22      33:4,14 37:1,8,9         111:25 112:1,4,8,10
  128:23 134:14,20      Roy 25:17 36:10           80:9,10,10 90:13      43:1 46:6 48:19,20       118:20 120:8
  135:2 145:3             55:15 75:23 87:11       95:5 105:14 116:24    67:16 95:9,12,18         149:17
revisions 128:1 132:3     98:11 107:11,16         123:21 124:7,9        105:11,13 111:11       services 1:11,17 2:10
  134:6 135:8,9           122:3 170:10            126:12,13 128:18      113:7,20,21 116:24       2:14 4:10 64:19
revolved 19:8           RPR 182:16                131:22 138:6          124:2 133:18             91:7,13 118:16
Rich 180:4              rubbish 142:25            139:13 140:9          136:22 139:18,19         184:11
Richard 2:2 157:21      rule 41:20,22 45:16       153:21 157:19         145:2,9 147:6,6,7      SESSION 101:1
  184:16                  45:18 47:4,11,13        162:6,12 171:9        164:12 170:5           set 5:21 6:5 8:23,25
ridiculous 164:21         48:2 69:21,22 72:10   says 24:21 33:22 69:9   176:12,12,15             39:6 46:3 121:17
right 6:24 14:23 16:4     166:11 173:18           72:10 83:8 85:15    seeing 33:13 38:4        sets 44:8
  16:19 21:9 23:17      rules 4:14 5:5 9:22       88:18 93:4 94:15      70:23,25               setting 4:21 8:20 96:8
  27:6 38:13 39:2         13:17,18 39:7,12,12     96:7 102:16 103:22 seen 47:17 72:8 107:7       177:24 178:1
  42:1 44:9 51:6 56:3     39:13,19,22 40:1,2      113:24 116:11,23    sell 52:1                seven 17:9
  58:16 61:6 63:13        40:14,19,21,24 41:3     117:5 120:6,8       send 26:12 77:8          seventh 84:19


                                       United Reporting, Inc.
                                           (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 199 of
                                      203
                                                                                                        Page 199

share 8:5 39:17,18        56:2,4 61:3 68:15       117:8 133:11          spend 125:10             Stefan 13:22,25
shared 47:15              76:17 77:4 80:24        137:22 139:13         spoke 18:24 20:23        stenographic 183:11
sharing 8:10 176:13       82:5,8 93:17,18,20      146:1 149:2 159:15      27:2,11 28:7 49:8      stenographically
shocked 39:24             93:25 94:5,7,22         163:17 170:2 174:3      49:13,13,15 50:25        183:8
short 15:11               95:7 99:8,14 102:7      174:7,18 175:17         74:4 78:15,23          step 86:13
shorter 160:18            103:17 104:9 107:8      177:24 178:15           105:25                 steps 87:18 90:3
shortly 13:15 14:5        108:8 110:1 115:22    somebody's 137:12       spoken 157:16            stick 178:7
show 8:18 10:21           115:25 116:1,2,6      Someday 114:10          spring 14:14,21          sticks 71:8
  59:14,25 124:17         121:1,2 122:18,23     someplace 116:1         St 5:13                  Stirling 2:12
  125:4 127:19 131:3      123:3,19,23,25,25     son 20:10,11            stability 71:7,16 72:2   straight 123:15
  155:2                   126:1 127:5 129:5     song 112:15               164:24 165:11            125:10 142:20
showed 125:1              129:12 130:8          soon 84:7               staffers 32:12           Street 2:16 9:19
showing 102:23            132:22 150:18         sorry 7:11 10:1 13:17   standard 59:19 64:11     strictly 69:12
  147:1 151:5             151:16 152:14,19        14:10,15 25:8 27:3      64:17 113:19           study 44:21
shown 143:20 173:2        154:17 155:20,23        33:16 35:8 36:1         139:18,21,24 159:1     stuff 92:24 100:1
shows 10:3,16             156:2,19 163:3          38:22 39:11 42:11       165:6                    127:15
side 57:21,22 116:12      182:12 184:20           47:20 53:23 59:17     standing 98:17           style 170:3
  117:23 119:7 127:2    signer 37:4               61:25 62:19 71:25       152:20 177:17          styled 139:20
  127:2 129:25,25       signers 76:17             72:23 78:20 79:20       178:14                 subject 30:11 61:19
  134:21 144:6          signing 68:19 81:6        92:4 102:20 109:15    STARKS 2:16                93:20 102:12
  146:19 148:25           82:19 123:22            121:7 132:10          start 26:7 60:20 70:5      122:20 123:3
  168:11                  136:23,24 184:19        135:25 138:20,21        116:13 125:14            131:14 155:11
sides 52:5              similar 140:4 147:23      141:15 162:10           138:11                 Subjecting 136:7
Sigloch 13:22,25 16:8     149:1,16                167:2 172:11          started 25:7 89:15       submit 65:11,21
  16:25 17:14           sir 18:5 135:21 145:7     177:16 178:11         starting 34:20 56:1        120:7
Siglochs 17:16 19:4       149:6 153:1             180:6                 starts 26:8 96:3         submitted 53:13,14
  19:12                 sit 47:20,24 108:5      sort 24:20 85:3 94:9      117:19 137:6,15          57:11 87:3 159:10
sign 35:3,4 43:2        situation 29:24           167:21                  138:17 141:5             162:19
  57:23 58:1 67:23      six 90:6 168:25         sorts 7:16                142:12 145:25          subscribed 181:8
  69:15 72:17 80:19     six-month 114:20,22     sounds 92:21 94:24      state 7:23 10:9 37:10    subsequent 16:8
  93:7,9 94:21 95:6       115:11 125:19         source 111:22             46:5 61:18 88:22         126:4
  95:10 103:11 104:2      159:1 160:9,14,16     South 13:8                103:18 112:20          substantially 139:3
  104:2 122:12,22         161:5,17,23 162:3     Southeast 1:24            181:13 182:3,8,17      sudden 89:13 90:5,17
  130:4 152:12            162:12                  184:23                  183:3                  sue 171:18,23
  184:19                sixth 84:19             SOUTHERN 1:1            stated 40:13 41:2        sued 7:2,6 124:5
signature 11:13 34:5    slapped 137:23            184:1                   93:14 114:22           sufficient 173:5,24
  34:6,7,10,11,12         139:13                space 58:23 178:2,3,4     138:23 161:11            174:15 175:4
  36:16 37:12,20 68:4   slot 178:7                178:4                 statement 34:21          Suffolk 6:2
  68:10,11,13,17        slowly 62:25            Sparks 91:16,25           36:21 41:1 72:6,7      suggest 30:3
  122:8,10 125:12,13    small 5:18 6:11 7:6       92:16,21 156:24         76:8 95:24 123:10      suggestion 51:11
  129:10 130:20           135:2                 speak 21:11,23 22:1       159:4,5,12 161:20      Suit 2:3 184:16
  131:11 135:17,18      Smithtown 5:23 6:4        54:15,23 70:7         statements 112:16,16     Suite 2:8,12
  135:19 136:12,13        7:20 9:16               157:20                states 1:1 106:23        summer 14:6,11
  136:19,20 137:4       smoke 31:25 32:1,2      speaking 9:7 21:14        107:8 137:18 184:1     SunBiz 3:10
  150:20 152:5,8,11       55:18                   32:14 84:1,25         stating 30:21            supply 118:15
  155:19,20,24          smokers 55:17           special 52:15           stay 14:8,16 15:8        supposed 90:11 112:6
  184:18,21             snowbird 9:12,15        specific 9:5 18:11        69:10 73:7 143:8,10      112:7 121:13 142:7
signatures 34:9 83:8    sole 9:23 10:6            47:13 48:1,2,5 74:9     143:23                   163:18 165:19,22
  132:2                 solid 109:6               154:9,13 156:9        stayed 14:17,18,22         169:24
signed 11:22 34:16      somebody 5:3 44:21      specifically 46:18        15:14,15 17:8,9        supposedly 30:17
  37:6 38:1 39:25         72:15 92:6 109:11     speculating 108:25        160:18                   177:15


                                        United Reporting, Inc.
                                            (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 200 of
                                      203
                                                                                                       Page 200

sure 4:13 5:13 32:9    TBC 154:19 155:4          138:17 141:6,8          101:10 102:10,11         61:24 62:4 67:17
  33:3 42:8 43:13,13   Tdemarinis 26:19          142:16 143:3,17         115:23,24 122:24         69:24 70:18 74:21
  54:9 67:25 84:16     telephone 15:18           146:13 159:2 160:8      127:13 132:13            76:25 78:22 82:3
  98:22 101:10 105:7   tell 11:3 20:8 21:18      161:17,18,22 162:5      166:3 168:19             85:13 88:11 93:15
  109:25 110:2 115:6     26:5 29:19 31:25        162:17,24 165:15        171:21                   95:15 98:2 108:15
  117:3 121:14,18,20     33:5 36:15 37:2         168:24 169:3,11,15    think 14:5,11,14 17:9      109:8,10 111:7
  123:15 129:20          39:4 40:12 45:18      terminate 51:19           28:16 31:19 40:17        125:5,10 130:4
  138:11,23 143:1        46:12 49:16 55:3      terminated 14:19          43:8 49:19 61:18,20      140:19,24 147:15
  144:25 146:20          63:1 64:9 67:9,21     termination 51:9,17       61:23 62:1 63:2,23       160:19 173:17
  148:17,19 159:9        69:8 74:19 80:6         61:8,12,16 142:16       64:11 66:13 69:2      timely 86:12
  168:17 174:6           85:10,10 86:19        terms 22:15 31:9          70:10 71:1,5,7        times 51:16 80:17
surprises 39:19          108:11 112:24           32:15 35:9 50:8         72:14,15,15 74:10        85:4 109:8 116:24
suspected 62:4           116:12,23 117:16        63:17 73:21 74:7        76:5 79:4 82:11          127:8 131:6 143:21
suspicion 44:5 45:5      118:6 127:3 133:13      109:22 137:15           84:14 91:1 93:18      timetable 20:13
suspicions 44:2          170:14                  144:17,18               94:1,6,17 95:4,5      timing 20:18
suspicious 41:9 44:1   teller 178:15           terrific 20:12            98:15 99:10,13,13     tiny 34:1
  44:16,24 45:16 47:4  telling 19:11,11 21:8   test 118:5,11 119:24      100:8 101:9 102:6,9   title 140:11
  47:23                  44:12 66:1 89:15        120:13 128:8 148:9      113:3 117:5,18        today 6:13 28:22
Susskind 1:23 182:7      97:9 101:23 130:16      149:7                   118:9 121:17             47:20,24 75:23
  182:16 183:6,22      tells 158:19 177:6      testified 4:4 44:25       124:14 126:10            108:5 176:4
  184:25               temporary 14:19           50:21 98:8 102:6        127:9 131:5 144:16    Todd 177:3
sworn 4:4 181:8          15:3                    125:12 127:16           145:1 146:3,24,25     told 13:16 20:15,16
  182:10               tenancy 82:22 96:23       129:2 169:7             148:14,18 151:4          21:12,21,21 22:8
                         104:4 145:14          testify 167:25 178:16     154:19 166:10            27:11,15 40:21 53:9
           T             162:18 163:16,19      testifying 46:23          170:8 173:19             53:15,16 54:11
take 4:21 17:21 48:23 tenant 20:21 21:2,24       178:17                  174:25 176:17,22         55:12 65:18,19,21
  99:19,24,25 100:3      22:3,12,20 24:23      testimony 47:9 49:20      176:22 177:12,18         67:25 69:2 76:9
  100:12,12 126:21       30:19 31:2 33:23        101:12 115:2,3        thinking 89:16             77:11,13,16,20,25
  140:19,24 156:21       39:19,23 40:9,15        123:14 138:4,5        thinks 95:1,3              78:7 83:23 84:9
  160:25 168:9 177:7     42:21 43:1 51:9,22      139:7 159:18          third 73:25 82:3 98:2      86:3,5 87:3,24
  179:6                  51:24,25 53:25 55:4   testing 149:20            170:6                    88:11,25 89:13,23
taken 1:17,19,22 49:1    55:4 57:5,9,10,14     Thank 11:9 18:10        third-party 46:22          89:23 90:3 101:9
  55:20 84:20 100:21     58:9,11,22,23 61:18     29:1 48:25 100:20     thorough 30:14             108:6 112:14
  110:20 157:2           62:23 65:11 73:4,5      156:25                thought 52:4 58:21         114:17 115:10
  167:15 172:22          73:6,7 77:4 85:6,13   thanking 87:17            58:22 59:15 74:12        168:21 177:13
  184:18                 87:10 88:6 97:8,21    thanks 88:22              79:19,21 91:1 94:24   Tom 29:22 31:23
talk 8:3 70:5 78:1,2,5   142:14 165:16,17      Thanksgiving 15:19        111:2 147:5 161:11       32:11,12 38:22 50:3
  78:12 83:21 88:25      165:18 166:20         theme 157:10            thoughts 32:7,10           50:4,5,7 52:14
  160:21                 167:12 173:25         thing 5:7 36:1 37:1     thousands 88:7             66:19,22 67:5 78:23
talked 18:25 70:2        175:6 179:7             48:5 62:12 64:25      threatening 178:15         80:8 96:8 158:6
  112:13,13 147:5      tenant's 51:16 66:18      65:7 71:18 78:5       three 50:12,17             163:21
talking 6:22 77:2      tenants 13:19,21 20:4     97:20 98:19 102:18      107:12 109:6 131:6    top 27:5 113:24
  80:7 83:10 85:25       35:15 60:17 61:16       102:21,22,23 125:1      143:21 165:14            115:20,23 116:15
  89:17,20 94:14         75:1 77:7 101:19        128:17 130:2          thrilled 164:23            124:1 140:6,8
  101:7 127:4 137:20     106:2 159:22            133:14 140:10         throwing 171:19            141:15,20 161:4
  138:13 146:5 157:9     160:18 165:12           153:23 155:11         time 1:20 4:22 15:11    total 60:23 168:25
  170:22,25 174:16       167:7,11                165:12 178:17           15:14 16:12,15 17:1   Totally 114:24
  174:16 179:23,23     tend 174:25             things 5:19 41:24         20:3 22:20 31:8       town 5:23 6:4,6 7:14
talks 61:12 118:10     term 35:5 63:9,10         44:3,13,13 46:13,18     36:17 37:5 38:20         7:20
  122:14 158:12          69:21 70:8 73:5,16      47:2 51:19 64:24        41:16,17,20,22 46:3   training 53:10
tax 13:18                74:11 137:6,16          76:18 83:18,19 94:3     50:14,16 51:12,16     transaction 56:16


                                      United Reporting, Inc.
                                          (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 201 of
                                      203
                                                                                                        Page 201

transcript 183:9,10     underneath 146:4          108:16,16                       W              28:20 84:10 89:24
transfer 11:14          understand 23:16        Valerie 1:15 3:4 4:2    wait 40:11 63:22 82:1    99:11 110:4 114:10
transferring 142:7        24:4,7 27:8 36:20       164:11 181:6 182:9     90:4 93:24 124:17      we've 131:5
transgressions            42:8,25 94:9 98:22      183:9 184:15           125:7 149:25           weekend 155:15
  171:19 172:2            105:5 108:12 117:1    validity 44:17          waiting 76:10 81:8,21    163:22
transient 71:15           124:9,12 127:18       valmanzo@aol.com         140:20                 weekly 85:3
transients 71:9,11,13     138:24 168:4            26:9,10               waive 184:19            went 5:12,13 12:25
  72:3                    178:23                Value 36:11             waived 184:21            15:7,10 20:25 22:5
transpired 44:3 45:7    understanding 23:18     various 106:1           walk-through 130:2       22:7 121:20 124:19
tried 16:19               23:20 24:15 82:13     verified 72:4 105:8     want 4:13 8:18 26:4      124:20 125:11
trouble 8:10              168:7                 verify 99:12             42:8 43:11 48:22        128:17 131:7
true 23:8 95:3,7        understood 4:17 21:5    version 39:18 60:3       49:12 69:21 71:13       143:21 160:15
  127:16 145:4            21:7 37:23 49:20        62:15 64:1 66:23       78:3,3,3,4,8 81:8       174:2
  154:21 159:8 162:8      92:2 101:12 173:10      113:17 120:16          86:10 99:18 112:22     weren't 15:6 41:9
  170:24 183:11         uninvolved 81:21          122:2 129:21 130:5     138:23 142:23           64:6,18 95:20
truly 30:10             unit 7:3 11:1 12:9,22     130:13 134:11          157:5 164:19,22         106:13 121:15
truthful 33:12            14:2 16:24 17:4,8       137:23 138:7,14,18     170:23 180:5,7         West 1:2 2:3,16 184:2
trying 47:4 115:2         18:23 27:11 45:8        138:25 140:4          wanted 17:20 20:9        184:17
  171:18                  55:18 58:3 59:23        152:14 153:12          28:24 32:2 40:3        whichever 122:1,2
Twelve 110:16             70:15 79:1,18           156:17,18,18,19        56:21 69:10,20,20       173:4
two 8:12 32:11 61:17      101:19 104:15,24        159:25                 72:16 86:10 101:10     wife 12:20
  62:7 69:23 71:15,16     107:18,23 109:16      versions 149:2           118:17 130:6 143:8     Wilcox 1:5,5 2:19
  75:1 77:7 80:16         109:19 117:6            166:17                 157:10                  20:4,7 25:3,14,22
  94:3 98:14 106:2        118:18 152:20         versus 147:12           wants 69:11,14,17        26:1 31:4,6,9 34:15
  109:8 110:18,19,20      158:12 167:7,8        vetted 72:17             128:22                  34:23 35:23 37:17
  110:25 111:15           171:15 180:2          vice 29:12              WARNER 2:7               42:22 45:8 50:8
  146:8 156:4,5,10      United 1:1,23 184:1     victim 61:22 175:9,14   warning 166:13           52:17 53:3,11,12
  159:22 165:14           184:22                  175:18 176:3          warranty 3:10 10:22      54:13,18 55:17 56:1
two-year 50:22,23       units 117:5 176:4       VIDEOCONFERE...         wasn't 23:7 34:15,17     56:23 57:7 58:25
  51:3 69:15 70:1,22    unlawful 53:22,24         1:15                   44:1,10 47:14 55:1      59:10,24 60:7,11,16
  71:2 72:10 80:9         83:14                 view 71:21,22 72:1       61:25 62:3 64:7,15      62:10 63:24 64:4
  137:22 138:8          unsigned 60:3             82:18                  75:17,19 86:18          65:4,22 66:5 68:7
  142:20 143:3 146:6    unsure 93:8             viewed 15:16             89:14 90:20 93:14       68:11,24 69:9 70:15
  146:13 162:24         unusual 51:20           violated 166:6,11        103:14 104:8 109:7      73:22 74:4,8,15
  163:1,16,18 164:20    up-front 110:18,20        172:6 173:3 174:24     109:12 110:22           76:7,22,24 80:4
  164:23 165:2,5          110:25 111:2,3        violates 167:13          114:2 118:19            82:24 85:12 86:25
type 30:19 123:22         142:22,23 146:9       violation 54:1 168:20    139:15 152:19,20        86:25 88:2,8,20
  140:11                updated 40:19,21,23       172:21 174:11,13       159:16,22,23            89:7 90:4,12 93:21
                          41:3,5 42:9           violations 173:23        160:13 167:23           95:1,22 103:6 104:4
          U             updates 40:4,6,13         174:4,17                                       104:13 110:10
                                                                         169:13 170:9
uh-huh 27:22 55:21        42:10 90:11           violence 61:13,14,15    wasting 85:13            111:7 115:14 116:1
  94:13 96:14 121:11    use 9:10 13:8 32:21       61:19,22 62:10        way 28:6 29:10 31:21     118:16 121:2,24
  122:11,19 143:5         33:9 34:9 86:12         175:4,9,12,14,18,22    37:21 69:18 83:1,8      123:7,19,20 126:17
  152:4 160:4             175:10                  176:3                  86:12,25 117:21         129:13 130:4,12,15
ultimately 86:15        usually 146:23          violent 176:8            122:19 132:21           133:5 136:24
  98:11 108:7 162:17    utilities 64:24         virtual 4:21             133:18 139:24           140:15 141:18,19
unblemished 164:16                              visit 13:8               146:10 154:6,12         142:2,8 143:19
underline 146:23                 V              volunteer 79:15                                  146:16 148:18
                                                                         158:4 168:15 171:6
  155:4                 Val 32:13 38:14 39:9    vs 1:8 184:8            we'll 11:5 100:17,18     153:24 154:17
underlined 146:24        49:10 84:9 85:8        VSM 116:14 141:16        103:21 125:14           155:17,24 158:12
underlining 146:23       89:24 96:8 108:12                              we're 10:21 12:1 26:3    158:25 162:18,21


                                        United Reporting, Inc.
                                            (954) 525-2221
 Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 202 of
                                       203
                                                                                                       Page 202

 163:2 166:6 168:10       164:21                 175:10                1979 5:14                 144:14
 171:15 172:1 173:2      wound 160:23          you-all 99:20 102:24    1980 5:15 6:1,2         21 42:3 44:7 159:3
 176:19 177:5,6          write 115:7 126:12                            1983 5:22 6:3           211 2:12
 184:5,5                  145:17                        Z              1985 64:21              22 26:8 137:13
Wilcox's 33:24 34:5      writing 27:9 116:11   Zeus 111:5,11,12        19th 106:6,14 162:20    22nd 110:7
 36:16 37:11 52:22        116:16 117:23                                                        23 141:17
 57:22 80:21 84:1,25      119:7 124:1 137:6             0                        2             24 35:6 141:17 144:6
 94:8 117:16 119:3        144:10 145:18,19     003132 182:18           2 3:10 10:22 11:15        158:10 159:3
 119:21 120:3,24          145:21                                         12:2,3 96:9 97:10       184:21
                                                         1               98:5,18 101:24
 121:10 122:10           written 17:15,16                                                      24th 60:21 114:18
 124:15 125:13,15         114:8,14             1 3:10 10:18,19 35:20     105:17,22 106:7         125:20 137:17
 129:9 130:20 132:3      wrong 46:9 65:20        115:18 116:9,19         108:17,19 123:18        141:9 143:3,11
 135:19 136:13           wrote 29:15 50:7        117:20 119:2 124:1      124:2,2,12 126:24       144:4,14 182:12
 137:3 141:2 143:15       90:18,19 113:25        141:1 183:10            127:19 134:10           183:17
 145:2,10 147:8,20        114:11 115:4         1/25/2021 113:24          139:10,12 147:18      25 144:22
 148:5,21 149:5,10        116:18,19,25           151:17                  159:11 162:3,4        25th 2:16 22:9,10,11
 149:13 150:3,14,21       125:18,18 142:4      1:00 100:22               164:1,11,17,18          27:12,15 30:25 31:1
 150:24 151:5 152:8       144:3 145:15 146:2   10 3:10 102:7 129:4       168:23                  31:3,5,7 35:6 56:2
 152:10 153:2,13          149:2 157:12,21        135:22 150:23         2:13 157:2                60:15,20 74:23 75:4
 154:3,9,13 155:8,24      161:4,7 166:16       10/31 9:6               2:20 156:25               85:6 86:12 88:3,9
 156:14                                        10:48 49:1              2:21 157:2                89:12 104:13
WILLIAM 1:5 2:19                   X           10:57 49:1              20 157:13,17              114:18 122:15
 184:5                                         100 2:8 42:2 43:13      2015 39:15                125:19 133:4
wish 184:19                        Y             159:8                 2018 8:25 12:6,18,19      137:17 141:9
wished 38:19 164:13      yeah 19:19 27:1,8     100,000 111:2             14:7 39:14 40:4         144:20 151:12
wishing 38:15,18           39:3 49:14 56:21    1031 9:22                 77:12 79:2 82:7         153:8 154:24 159:2
witness 1:22 3:3 4:3,6     67:4,5,19 72:14     10th 94:12 96:4,7,15    2019 16:10,22             162:21
 10:1 46:22,23 91:20       82:20 89:13 95:18     97:2 99:8,9 101:9     2020 20:24 26:22        26 1:19 3:11
 92:14,23 99:20            112:12 120:22         101:22 106:4            154:24                26th 173:18 182:10
 100:5,11,16,19            131:12 134:11         109:21,22,25          2021 31:10,19,22        27 31:12
 150:1 178:20 179:2        137:8 145:4 148:1,3 11 152:3                  35:6 44:3 55:22,25
WOLF 1:12 2:5,20           154:19 155:1,3      1100 2:8                  58:7 60:15,20,24                3
 184:12                    159:8 174:19        113 3:11                  72:22,25 75:9 93:12   3 3:11 26:4,15 28:21
WOLFF 1:12 184:12        year 8:24 14:6 17:19 12 3:10 152:2,25           101:9 114:18,18         117:15,20 119:2
wonderful 96:11            17:22,23 18:1,3,4   12-month 152:1,1          115:14 122:5,8          128:3 148:4
word 93:4 118:7,8          20:21 21:1 35:23    12:20 1:20 100:21         125:19,20 129:4,13    3,900 60:25
words 118:6 122:21         38:15,18,19 45:4    12:45 100:19              133:4 135:16          3:00 179:4 180:4
work 5:2 22:5 32:12        70:24 110:17        12:55 1:20                136:13,14 137:17      3:10 1:20 180:13
 51:21 82:10 146:25        142:15,22,23 146:5 1200 2:3 184:16            140:14 141:9          3:30 100:2
worked 26:1 163:21         146:8,8,11,13       1218 1:24 184:23          150:17 151:12         30 36:7
 163:21,22                 147:11,17 162:19    14 43:10 153:25           153:9 154:25          303 8:20,25 10:6 11:1
working 6:6 25:15,16       164:13 165:14       14-page 53:12 87:4        155:11,21,25 157:8      11:12 12:22 14:1,2
 25:25 38:22 118:14      year's 39:1 110:14    15 28:20 60:24,24         157:13,17 158:10        34:23 52:21 56:24
works 12:20 23:16,21     years 19:15,19 64:12    144:19 154:2            159:2 168:22            59:23 60:16 107:18
 23:21                     69:23 71:16,17      150 57:11 137:2         2022 1:19 35:6 60:21      115:14 129:7
worried 159:21             72:13 109:6 110:18 16 154:5                   137:17 141:9            157:25 158:12,13
worry 125:4                110:19,20,25        1645 2:3 184:16           142:19 181:9            158:25 160:7
worth 110:14               165:11 176:2        16th 173:19               182:10,12 183:17      30th 12:5,7
wouldn't 16:3 39:23      York 7:22 9:17 13:8   17 154:14                 184:21                33 38:11
 63:20 65:3 86:1           61:18 62:1 64:23,25 18 154:16 155:7         2023 141:10,14,16       33130 2:17
 98:15 146:25              116:2 160:25        183 183:11                143:4,7,11 144:4,7    33301 2:8
                                               19 5:14 106:19


                                        United Reporting, Inc.
                                            (954) 525-2221
Case 9:21-cv-81565-DMM Document 150-3 Entered on FLSD Docket 08/17/2022 Page 203 of
                                      203
                                                                         Page 203

33314 2:13               136:12 155:21
33316 1:24 184:23
33401 2:3 184:17                  8
3900 35:24 36:3         8 33:17 120:5,23
  146:9,12 147:11         135:11 150:2
3rd 1:24 2:8 184:23       168:22
                        8:45 96:7
          4             8th 26:22 27:10 29:5
4 3:5,11 113:12,22        29:7,14 67:20 85:14
  119:1,2 128:9           93:12,17 94:5
  134:17 148:20
4,000 146:1,1,2,12,14             9
  146:15 147:12,12      9 121:9 135:13
42 64:12                  150:13
44 2:16                 9/22/24 182:19
46,800 60:24            9:21-CV-81565-D...
48,600 151:22             1:3 184:3
4th 31:19,22 50:2       9:30 1:20
                        9:31 27:21 29:5
          5             9:47 27:7,10 29:6
5 119:20 128:15         9:48 56:10
  134:25 149:4          9:49 26:22 27:16
50 111:3                90 51:19,25 52:1
50,000 115:1            90-day 52:3 69:16
50,700 35:20,22         954 184:24
  110:10 111:3          954-525-2221 1:25
525-2221 184:24
5th 55:14,22,25 58:7
  58:15,21,24 66:25
  72:25 74:23 75:3
  88:3 115:13 140:14
  155:11

          6
6 66:18 67:1 69:4
  119:23 128:23,24
  136:14 155:25
6:46 29:14
6099 2:12
6th 67:20 72:25 93:19

          7
7 79:24 82:13 120:2
  122:8,18 129:4,13
  135:5,16 149:13
  150:17,17
7/24/2021 113:25
72 118:6 119:24
  149:20
72-hour 120:13
7th 67:20 82:4,11,18
  86:6 122:5 127:6


                                         United Reporting, Inc.
                                             (954) 525-2221
